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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )       Civil Action No. 18-cv-5587
                                                 )
        v.                                       )       Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )       Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

          RECEIVER’S TWELFTH INTERIM APPLICATION AND MOTION
          FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
           OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Twelfth Interim Application

(“Application”) for the Second Quarter 2021, and moves this Court for an order approving

payment of the fees and expenses of the Receiver, the Receiver’s counsel, Rachlis Duff & Peel,

LLC (“RDP”), the Receiver’s accountants BrookWeiner, LLC (“BrookWeiner”), and the

Receiver’s forensic IT consultant, Prometheum, from the Receivership Estate operating account.

In support of his Application and Motion, the Receiver states as follows:




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I.     BACKGROUND

       On August 15, 2018, the United States Securities and Exchange Commission (“SEC”) filed

a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and EquityBuild Finance

LLC (collectively the “Defendants”) alleging violations of federal securities laws, along with a

motion for entry of an asset freeze, permanent injunction, and other ancillary relief. (Dkt. Nos. 1

& 3, respectively)

       In their Complaint against the Defendants, the SEC alleged violations of Section 10(b) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a)q. (Dkt. No. 1)

       The Complaint further alleged that the Defendants operated a Ponzi-scheme that raised at

least $135 million from more than 900 investors by, among other things, making untrue statements

of material fact in connection with the sale of promissory notes allegedly secured by residential

real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

       On August 28, 2018, the Court entered a judgment against defendants Jerome Cohen and

Shaun Cohen which, among other things, enjoined future violations of federal securities laws.

(Dkt. No. 40)

       In connection with its civil action, the SEC sought and obtained Court approval for the

appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Dkt. No. 16)




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         Under the Order Appointing Receiver, the Receiver was authorized to engage and employ

persons and entities in his discretion to assist him in carrying out the duties and responsibilities set

forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

         Accordingly, the Receiver retained Rachlis Duff Adler Peel & Kaplan, LLC (“RDAPK”)1

as special counsel, and, on August 20, 2018, the Court entered an Order approving RDAPK’s rates.

(Dkt. No. 19) On August 23, 2018, the Receiver retained BrookWeiner to provide accounting

services and to perform tax and related work regarding the assets of the Receivership Defendants.

(Dkt. No. 32) On August 28, 2018, the Court entered an Order approving BrookWeiner’s rates.

(Dkt. Nos. 39 & 45) On August 31, 2018, the Receiver retained Prometheum to access and

preserve data within EquityBuild’s cloud-based storage systems and provide related IT services,

and, on September 6, 2018, the Court entered an order approving Prometheum’s rates. (Dkt. No.

56)

         Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel are

entitled to “reasonable compensation and expense reimbursement” from the Receivership Estate,

as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.

Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Dkt. No. 16, ¶ 69)

II.      TWELFTH INTERIM APPLICATION

         Pursuant to the Billing Instructions, the Receiver provides the following information

regarding this Application:

         a.     The Application covers the period from April 1, 2021 through June 30, 2021.




1
    As of October 1, 2019, the firm changed its name to Rachlis Duff & Peel, LLC (“RDP”).
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       b.      The names and hourly rates of all professionals for RDP and BrookWeiner, as well

as Prometheum’s hourly rates, are attached as Exhibit A.

       c.      This is the Receiver’s Twelfth Interim Application. The dates and amounts of the

Receiver’s prior interim fee applications, the orders and amounts allowed, and the amounts paid

and unpaid, are attached hereto as Exhibit B.

III.   CASE STATUS

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding the status of the case, and activities performed specifically for the period covered by this

Application. See also Receiver’s Twelfth Status Report (Second Quarter 2021) for additional

information. (Dkt. No. 1017)

       a.      Cash on Hand and Funds Received and Disbursed During the Quarter

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Second Quarter

2021 is attached as Exhibit C. The SFAR sets forth the funds received and disbursed from the

Receivership estate during this reporting period. As reported in the SFAR, the amount of cash on

hand as of June 30, 2021 was $988,227.84. The information reflected in the SFAR was based on

records and information currently available to the Receiver. The Receiver and his advisors are

continuing with their evaluation and analysis.

       b.      Receiver’s Administration of the Case

       Upon his appointment, the Receiver began making efforts to determine the nature, location,

and value of all property interests of the Receivership Defendants, including monies, funds,

securities, credits, effects, goods, chattels, lands, premises, leases, claims, choses in action, rights

and other assets, together with all profits, interest, or other income attributable thereto, which the

Receivership Defendants owned, possessed, retained a beneficial interest in, or controlled directly



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or indirectly, and to preserve and maintain those assets. In furtherance of such, the Receiver took,

inter alia, the following actions:

              i.       Identification and Preservation of Assets

       During the Second Quarter 2021, one of the Receiver’s primary focuses continued to be

the preservation, operation, maintenance, and sale of the 49 real estate properties remaining in the

Receivership Estate at the beginning of the quarter. The Receiver, in connection with his counsel,

asset manager/real estate broker, and property managers, continued working to improve

understanding and planning for cash flow needs for underperforming properties, and controlling

expenditures where possible. To that end, the Receiver and his counsel communicated regularly

with property managers relating to necessary expenditures for properties requiring approval by the

Receiver (and in some cases, requiring funds from the Receiver), and other operational questions.

The Receiver and his retained professionals also reviewed monthly financial reporting, analyzed

the cash position of the Estate, and communicated regularly with the real estate broker regarding

prioritization of expenses and repairs on the properties.

       During the Second Quarter 2021, the Receiver worked closely with the two existing

property management companies to ensure that all health, life, and safety issues at the properties

were addressed expeditiously, which included the emergency repair of a burst underground water

pipe at the property located at 7244 S Euclid Avenue in April, and to monitor repairs, inspections,

expenses, and property finances designed to preserve the properties and protect their financial

position.

       Additionally, the Receiver, with the assistance of counsel and the property managers,

worked to address open building code violations of widely varying levels of severity. The

Receiver’s counsel favorably resolved a total of 12 administrative matters during the quarter. Only



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2 of these required a court appearance (resulting in findings of no liability in each) and the other

10 were dismissed, 1 pursuant to the City’s ownership dispute procedures and nine pursuant to

negotiations with counsel for the City. During the quarter, 1 administrative matter (involving 7656

S Kingston) was reduced to judgment following a hearing, and two default judgments were entered

(against 7024 S Paxton and 4750 S Indiana) on violations for which the City did not issue notices

until after the Receiver had sold the properties.2 During the quarter, the Receiver’s counsel

received eleven new notices of violations

       As of June 30, 2021, there remained 10 known open City of Chicago matters involving

code violations, including 3 pending City of Chicago municipal housing court matters, 1 pending

City of Chicago administrative proceedings filed by the Buildings Department and 6 pending

administrative proceeding filed by the Department of Sanitation.3


             ii.     Property Sales

       The Receiver and his retained professionals closed the sales of 45 properties during the

Second Quarter 2021, leaving just four properties in the estate at the end of the quarter: 6217-27 S

Dorchester Avenue, 638-40 North Avers Avenue, 7109-19 South Calumet Avenue, and 1102

Bingham (in Houston, TX).4

       During the quarter, briefing was completed on the Receiver’s Eleventh, Twelfth, and

Thirteenth motions to confirm sales, and as of the date of this Report, the Court has granted each

of the motions and all of the properties involved have been sold.



2
  The Receiver has referred the City to the claims process established by the Court for these claims.
3
  As of the date of this Report, the Receiver has obtained the dismissal of four of these pending
matters leaving a total of six known matters pending.
4
  Since June 30, 2021, the sale of 6217-27 S Dorchester Avenue closed on July 6, leaving three
properties remaining in the Estate at the time of this report (638-40 North Avers and 7109-19 South
Calumet in Chicago, and 1102 Bingham in Houston TX).
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             iii.       Financial Reporting and Funds Restoration

        During the quarter, the Receiver’s counsel has been working with third parties to obtain

the complete information needed to allocate insurance expenses and refunds to sold properties and

provide final accounting reports to the Court and the claimants. Once this process is completed,

the Receiver will seek the Court’s approval to reimburse the Receiver’s Account for any funds that

the Receiver expended on the sold properties.

        During the quarter, the Court granted the Receiver’s Motion to Approve Use of Sales

Proceeds to pay property manager expenses, an administrative judgment, and an insurance

deductible (Dkt. Nos. 902, 983 & 984), and the Receiver paid the approved expenses.

             iv.        Open Litigation

        During the Second Quarter 2021, discovery closed in the matter captioned Byrd v.

EquityBuild, Inc., et al., Case No. 18 L 1993, Circuit Court of Cook County, and the parties

continue to await a trial setting in the case.

              v.        Notice of Appointment of Receiver

        During the Second Quarter 2021, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, as they are identified, the Receiver continues to deliver

notices to individuals or entities which have been identified as potentially having possession of the

property, business, books, records, or accounts of the Receivership Defendants, or who may have

retained, managed, held, insured, or encumbered, or had otherwise been involved with any of the

assets of the Receivership Defendants.




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            vi.       Control of Receivership Property and Records

       During the Second Quarter 2021, the Receiver continued efforts to locate and preserve all

EquityBuild property and records. The Receiver maintained two platforms of records and data

during the Second Quarter 2021, and the EquityBuild records relating to business conducted prior

to the establishment of the Receivership have been loaded to a document review database for use

by claimants in discovery.

           vii.       Factual Investigation

       During the Second Quarter 2021, the Receiver and his retained professionals continued to

review and analyze the following: (i) documents and correspondence sent to or received from the

EquityBuild principals, to whose email accounts the Receiver has access; (ii) bank records from

EquityBuild and its affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based

and other electronic media, plus a limited number of hard copy records); (iv) available underlying

transaction documents received to date from former Chicago-based EquityBuild counsel; and (v)

files produced by former EquityBuild counsel, accountants, and employees.

       During the Second Quarter 2021, the Receiver and his retained counsel devoted efforts to

prosecuting claims asserted in state court against former EquityBuild professionals: (1) the law

firm Rock Fusco & Connelly LLC (“Rock Fusco”), (2) Ioana Salajanu, a lawyer formerly at Rock

Fusco, and (3) the law firm Bregman, Berbert, Schwartz & Gilday, LLC. These claims are for

professional malpractice and aiding and abetting the Cohen’s breaches of their fiduciary duties.

During the quarter, the Receiver responded to written discovery, produced documents, and served

multiple third-party subpoenas for records related to his claims and potential claims.




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       The Receiver also engaged in settlement negotiations with third parties Coventry First LLC

and LST III LLC regarding the insurance proceeds from a policy on the life of Defendant Jerome

H Cohen, who passed away in November 2020.5

            viii.      Tax Issues

       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters.

             ix.       Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking accounts are used

by the Receiver to collect liquid assets of the estate and to pay the portfolio-related and

administrative expenses. For each property encumbered by secured debt that has sold, the Receiver

also has established a separate interest-bearing account for the purpose of depositing and holding

funds until such time as the Court orders otherwise and for ultimate distribution, following a claims

process and upon Court approval, to the creditors of the Estate, including the defrauded investors.

(Dkt. Nos. 230, 311, 344 & 346)

       c.       Creditors and Claims Against the Receivership Estate

       During the Second Quarter 2021, the Receiver and his retained professionals continued to

improve the accuracy and completeness of the “Master Claims Exhibit,” preliminarily identifying

on a property-by-property basis for each of the nearly 2400 claims the following: (i) claimant




5
  The parties entered into a settlement agreement subject to the Court’s approval and the Receiver
filed a motion to approve this settlement on July 19, 2021. (Dkt. No. 1011)
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name, (ii) total amount claimed, (iii) claimant category, and (iv) the amount loaned or invested in

the particular property (where it could be determined from the face of the claim form). The

Receiver has encouraged claimants to review this exhibit and bring any discrepancies to the

attention of the Receiver, and the Receiver and his retained professionals have updated the exhibit

where appropriate. The most recent version of the Master Claims Exhibit was submitted with the

Second Quarter 2021 Status Report filed on July 30, 2021 (Dkt. No. 1017 at Ex. 7) This work was

reasonable, necessary, and beneficial to the Receivership estate, and has allowed the Receiver’s

claims vendors (1) to organize, on a property-by-property basis, the claim forms and supporting

documentation that claimants have submitted to the Receiver, and (2) to provide each claimant

who did not opt out of the Confidentiality Order with digital links for the transfer of the claim

forms and supporting documentation of other claimants asserting claims against the same property

or properties in the receivership estate, consistent with Court orders. The Receiver also worked to

update and confirm the accuracy of claimants’ email, address, and counsel records, both for the

preparation of framing reports, and for use in the creation of email distribution lists for claimants

to use in discovery and the claims process.

       The identification and compilation of claims submitted in this matter has been complex

and time-consuming due to the unique circumstances and facts in this case. For example, it appears

that in some instances anticipated proceeds of investor-lender loans rolled into new offerings rather

than being paid off at maturity. It also appears that in some circumstances the mortgages securing

loans may have been released without investor-lenders’ knowledge or consent, allowing the

Defendants to refinance the properties with new loans without retiring the existing loans.

Moreover, some investor-lenders may have been induced to exchange secured loans for unsecured




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loans or equity positions through false representations.         Additionally, claims against many

properties are complicated by cross-collateralized mortgages.

       The claims process has been further complicated by, among other things: (i) improperly

completed proofs of claim, (ii) claims relating to properties that were conveyed to third parties

prior to the establishment of the Receivership; and (iii) claims lacking reference to properties, or

relating solely to what appear to be equity investment vehicles.

       During the Second Quarter 2021, the Receiver and his counsel continued to work with

counsel for institutional lenders and investor-lenders in furtherance of the claims resolution

process. The parties held several extended conference calls and exchanged multiple rounds of

drafts of Joint Status Reports filed on April 19, 2021 (Dkt. No. 972), May 18, 2021 (Dkt. No. 996),

and June 18, 2021. (Dkt. No. 1001) These joint reports updated the Court on the parties’ progress

relating to the establishment of a database of EquityBuild documents that was ultimately made

available to claimants on July 1, 2021, and provided input regarding the commencement date of

the disputed claims process for the first group of properties.

       During the quarter, the Receiver also participated in a number of discussions with database

vendors CloudNine and TeamWerks, and counsel for the institutional lenders, regarding the

creation of the database to host EquityBuild’s internal documents, to which all claimants have been

given the opportunity to access from July 1, 2021 through December 31, 2021.

       During the Second Quarter 2021, the Receiver worked with counsel for certain institutional

lenders regarding the establishment of an abbreviated process for the resolution of claims against

properties with only institutional debt. To that end, the Receiver and his counsel engaged in

extensive analysis of recorder of deeds records, evaluated and considered which properties ought

to be included in a single claim process, participated in a number of conferences with counsel for



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these institutional lenders, and prepared and exchanged several drafts of a proposed process (which

remains under discussion and review).

         The Receiver is continuously updating all claimants on the developments in this matter,

and responding in a timely manner to the hundreds of emails and voicemails from investors and

others, many if not most of which related to the claims submitted against the Estate and the status

of the Court’s process for resolving those claims and distributing the Estate’s assets. To ease the

burden        and    provide   basic   information,        the   Receiver   established   a   web   page

(http://rdaplaw.net/receivership-for-equitybuild) for claimants and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in

place today and continues to be best and most cost-effective mean of providing information

regarding the status of this action.

         d.         Assets in Receivership Estate

         All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit D. The Master Asset List identifies 56 checking accounts in the names

of the affiliates and affiliate entities included as Receivership Defendants, reflecting a total amount

transferred to the Receiver’s account of $213,249.56 and a balance as of June 30, 2021 of

$988,227.84. (See also Dkt. No. 258 at 21, and Dkt. No. 348 at 23-24, for additional information

relating to these funds) Additionally, 103 separate interest-bearing accounts established by the

Receiver to hold the proceeds from sold real estate are identified on Exhibit E, which collectively

contained $63,776,121.97 as of June 30, 2021.

         The Master Asset List does not include funds received or recovered after June 30, 2021.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the

value, potential value, and/or ownership interests. The Receiver is in the process of evaluating



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certain other types of assets that may be recoverable by the Receivership Estate, including, but not

limited to, charitable donations, loans, gifts, settlements for which payment has not yet been

received, and other property transferred to family members, former employees, and others.

IV.    BILLING ADDRESSED IN THIS APPLICATION

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding current billing:

       a.       Total Compensation and Expenses Requested.

              i.       In connection with his duties, the Receiver respectfully requests

                       compensation for services rendered, totaling $52,143.00 for the period of

                       this Application. Copies of the Receiver’s invoices for April, May and June,

                       2021 are attached as Exhibit F.

             ii.       In connection with the legal services provided to the Receiver by RDP, the

                       Receiver respectfully requests compensation for services rendered, along

                       with reimbursement of expenses, totaling $204,086.16 for the period of this

                       Application. Copies of RDP’s invoices for April, May and June, 2021 are

                       attached as Exhibit G. Additionally, Receiver’s counsel Andrew Porter

                       received $74,670.62 as agency fees for the title examination work

                       performed in connection with the closing of properties during the Second

                       Quarter 2021. The Receiver will reduce the amount due to RDP for the

                       Second Quarter 2021 by this amount.

            iii.       In connection with the accounting provided to the Receiver by

                       BrookWeiner, the Receiver respectfully requests compensation for services

                       rendered, along with reimbursement of expenses, totaling $3,474.50 for the



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                         period of this Application. Copies of BrookWeiner’s invoices for April,

                         May and June, 2021, are attached as Exhibit H.

            iv.          In connection with the IT services provided to the Receiver by Prometheum,

                         the Receiver respectfully requests compensation for services rendered,

                         along with reimbursement of expenses, totaling $495.00 for the period of

                         this Application. A copy of Prometheum’s invoice is attached as Exhibit I.

       b.         Source of Funds for Requested Compensation and Expenses.

       The Receiver requests that the above compensation and expenses be paid from the

Receiver’s operating account to the extent there are sufficient funds now or in the future. To the

extent funds are insufficient, Receiver requests that the above compensation and expenses be paid

pursuant to the receiver’s lien that the Court established in order that receivership property may be

used to compensate the Receiver and his counsel for their work. (See Court’s 10/26/20 Order

granting Receiver’s lien (Dkt. 824)) See also discussion in Section V, infra.

       c.         Twelfth Application for Payment of Professional Fees and Expenses.

       This is the Receiver’s Twelfth Interim Application.

       d.         Summary of Activity.

       A “Summary of Activity,” providing the total hours billed and the amount of billing for

each person who billed time during the Application period (April 1, 2021 through June 30, 2021)

can be found at the end of the Receiver’s invoices (Exhibit F) and RDP’s invoices (Exhibit G) and

on the first page of the BrookWeiner invoices (Exhibit H).

V.     REQUEST FOR RECEIVER’S LIEN

       This Court has previously granted a receiver’s lien and its previous ruling is equally

applicable here. (Dkt. No. 824) During the quarter, the Receiver responded to Objections to his



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Motion for Approval to Pay Certain Previously Approved Fees and Costs and for Interim Payment

of Continuing Claims Process Fees and Costs Pursuant to Receiver’s Lien. (Dkt. No. 947) The

Receiver submitted with his reply schedules that allocate previously-approved fees to specific

properties in accordance with the approved allocation methodology to the Court. (Dkt. Nos. 981-

1 to 981-6) Consistent with the reasons set forth in the briefing on that motion (which remains

pending, following the completion of briefing in April 2021), and in the Receiver’s prior fee

applications and the Court’s prior ruling, a receiver’s lien on the estate assets and their proceeds

to pay costs of the Receiver and his retained professionals that were incurred for the benefit of

those properties and their competing claimants is necessary and appropriate at this time for

numerous reasons including, inter alia, that there has been no payment to the Receiver since the

beginning of 2019. (See, e.g., Dkt. No. 778, at 18-25; Dkt. No. 638, ¶¶ 53-57; Dkt. No. 720, at 14-

20; Dkt. Nos. 755, 824, 885, 945 & 993) The Receiver believes that the receiver’s lien and the

allocation methodology previously approved by the Court is reasonable and equitable given the

facts, circumstances, and practical challenges of the Receivership. Consistent with this approach,

the Receiver requests a lien against each property to be paid on a first priority basis before all other

liens on the properties to ensure that all Court-approved fees and expenses of the Receiver and the

Retained Professionals are paid in accordance with the foregoing approved methodology.

VI.     CONCLUSION

        WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Twelfth Interim Fee Application and enter an Order as follows:

        a.      Finding the fees and expenses of the Receiver and Receiver’s retained

professionals, Rachlis Duff & Peel LLC, BrookWeiner, LLC, and Prometheum, as described in

Exhibits F-I, respectively, to be reasonable and necessary to the Receivership;



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        b.      granting the Receiver and his retained professional a first priority administrative

lien against each of the real estate properties in the Receivership Estate and their sales proceeds

for payment of fees and costs;

        c.      approve the proposed allocation and payment methodology with respect to a

Receiver’s lien for all fees and expenses of the Receivership Estate as described and recommended

in this fee application;

        d.      approving the Receiver’s payment of such fees and expenses to the Receiver and to

Receiver’s retained professionals from sales proceeds for each of the properties in the Receivership

Estate as described and recommended in this fee application; and

        e.      granting the Receiver all other relief which this Court deems just and proper.

Dated: August 16, 2021                                Kevin B. Duff, Receiver

                                              By:     /s/    Michael Rachlis

                                                      Michael Rachlis
                                                      Jodi Rosen Wine
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                                RECEIVER’S CERTIFICATION
         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Twelfth Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion;

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.      The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein); and

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On August 6, 2021, the Receiver provided to Mr. Benjamin Hanauer, of the SEC,

 a complete draft copy of this Application and Motion, together with all exhibits and relevant billing

 statements in a format specified by the SEC.

 Dated: August 16, 2021                                /s/ Kevin B. Duff
                                                Kevin B. Duff, Receiver
                                                EquityBuild, Inc., et al.
                                                c/o Rachlis Duff & Peel, LLC
                                                542 S. Dearborn Street, Suite 900
                                                Chicago, IL 60605
                                                (312) 733-3390 - kduff@rdaplaw.net


                                                  17
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                Exhibit A
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Rachlis Duff & Peel, LLC Rates

      Professional/        Position              2021           2021
      Paraprofessional                           Standard       Discounted
                                                 Hourly Rates   Hourly Rates
      Michael Rachlis      Member                $625           $390
      Drew G.A. Peel       Member                $625           $390
      Ellen Duff           Of Counsel            $585           $390
      Andrew E. Porter     Of Counsel            $585           $390
      Jodi Rosen Wine      Of Counsel            $585           $260
      Kathleen Pritchard   Paralegal             $205           $140
      Ania Watychowicz     Paralegal             $205           $140
      Justyna Rak          Paralegal             $205           $140
      Stoja Zjalic         Legal Assistant       $170           $110
      Julia Porter         Legal Assistant       $170           $95
      Natalie Gastevich    Legal Assistant       $170           $95
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 BrookWeiner Billing Rates
                               20% discount from
                               current standard rates

 Staff Accountant                            $110/hour
 Manager                                     $210/hour
 Partner                                    $275/hour
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Prometheum’s Hourly Rate

     Position                        Hourly Rate
     Senior Technical Consultant     $110
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                Exhibit B
                           Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 23 of 202 PageID #:32938


                                                                                Docket                                                                 Approved
                          Docket No.                      Amount of
Interim Fee Application               Date Filed                                No.      Date of Order      Amount Approved      Amount Paid          Amount Unpaid
                          Application                     Application
                                                                                Order                                                                 (as of 3/31/21)
First (3d Q 2018)         411         June 12, 2019       $        413,298.44   546      October 15, 2019   $      413,298.44    $      413,298.44    $             -
Second (4th Q 2018)       487         August 21, 2019     $        553,968.43   547      October 15, 2019   $      553,968.43    $      553,968.43    $             -
Third (1st Q 2019)        569         November 1, 2019    $        547,711.44   614      January 7, 2020    $      547,711.04    $      547,711.04    $             -
Fourth (2d Q 2019)        576         November 15, 2019   $        499,214.42   614      January 7, 2020    $      510,056.64    $       23,006.88    $    487,049.76
Fifth (3d Q 2019)         608         December 20, 2019   $        485,094.92   710      June 9, 2020       $      485,094.92    $        5,290.00    $    479,804.92
Sixth (4th Q 2019)        626         February 14, 2020   $        297,791.41   710      June 9, 2020       $      297,791.41    $        3,965.00    $    293,826.41
Seventh (1st Q 2020)      755         July 28, 2020       $        362,102.16   824      October 26, 2020   $      362,102.16    $        4,658.75     $    357,443.41
Eighth (2d Q 2020)        778         August 28, 2020     $        451,944.97   824      October 25, 2020   $      451,944.97    $        5,085.00     $    446,859.97
Ninth (3d Q 2020)         885         November 30, 2020   $        403,064.48   n/a      n/a                               n/a                  n/a
Tenth (4Q2020)            945         February 23, 2021   $        379,388.01   n/a      n/a                               n/a                  n/a
Eleventh (1Q2021)         993         May 17, 2021        $        261,601.20   n/a      n/a                               n/a                  n/a
                                                                                                                                                      $ 2,064,984.47
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                Exhibit C
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 4/1/2021 to 6/30/2021

Fund Accounting (See Instructions):
                                                                             Detail         Subtotal       Grand Total
Line 1        Beginning Balance (As of 4/1/2021):                         $1,102,611.53                    $1,102,611.53
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $650.68
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other¹                                        $64,017.72
                Total Funds Available (Line 1‐8):                                                          $1,167,279.93
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                       ($179,052.09)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                               $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($179,052.09)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                    $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 4/1/2021 to 6/30/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐12):                                                 ($179,052.09)
Line 13         Ending Balance (As of 6/30/2021):                                                 $988,227.84
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $988,227.84
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                          $988,227.84




           ¹ Refund of 2020‐21 insurance premium financing payments
           for sold properties ($34,065.40); refund of 2021‐22 insurance
           premium payment for sold properties ($11,035.00); refund of
           deposit from original sale of 6160 S MLK to EB ($18,917.32).
           TOTAL: $64,017.72
           ² Insurance premiums ($158,214.91); property utilities and
           management expenses ($6,713.26); installment payments
           on past due taxes ($3,836.77); payments to vendors for
           services related to claims document repository ($10,033.15);
           payment on administrative property citation ($254.00).
           TOTAL $179 052 09
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       STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                      Receivership; Civil Court Docket No. 18‐cv‐05587
                         Reporting Period 4/1/2021 to 6/30/2021

                                           Receiver:
                                                                         /s/ Kevin B. Duff
                                                           (Signature)

                                                       Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                           (Printed Name)

                                               Date:                     July 30, 2021
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                Exhibit D
     Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 29 of 202 PageID #:32944



                                                    Master Asset List
                                        Receiver’s Account (as of 6/30/2021)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $861,337.45
AXOS Fiduciary Services                      Checking #0348                                                       $126,890.39
                                                                                                                        Total:
                                                                                                                  $988,227.84

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,828.73³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 6 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                Exhibit E
       Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 31 of 202 PageID #:32946
                                                            SEC v. EquityBuild, Inc., et al.
                                                                   No. 18‐cv‐5587
                                         Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                    Account Balance                                              Reason for Change (if any)
 Account Number          Account Name                                       Date of Settlement
                                                  (as of June 30, 2021)                                               4/1/21 ‐ 6/30/21
0025              7301 S Stewart Ave                         $303,050.27               11/4/2019   Interest earned, $188.83
0033              5001‐05 S Drexel                         $2,722,696.75               5/22/2019   Interest earned, $1,696.49
0041              7927‐49 S Essex                            $643,666.25                5/1/2019   Interest earned, $401.06
0058              8100‐14 S Essex                            $927,749.04               4/30/2019   Interest earned, $578.07
0066              6160‐6212 S King                           $429,388.60               4/30/2019   Interest earned, $267.55
0108              8047 S. Manistee                           $804,947.49                2/5/2020   Payment to property manager of property expenses
                                                                                                   per Court Order (#984) ($3,000.00); interest earned,
                                                                                                   $502.27
0116              5955 S. Sacramento                        $449,543.92                11/5/2019   Interest earned, $280.10
0124              6001‐05 S. Sacramento                     $328,742.64                11/5/2019   Refund of closing costs, $1,300.00; interest earned,
                                                                                                   $204.42
0132              7026‐42 S. Cornell                        $867,062.79                11/6/2019   Deposits of utility refunds, $13.49; interest earned,
                                                                                                   $540.25
0157              7834‐44 S. Ellis                        $1,634,557.33                11/4/2019   Interest earned, $1,018.47
0165              701‐13 S. 5th Avenue                      $615,672.71                3/31/2020   Interest earned, $383.62
0199              7625 S. East End                        $1,240,198.90               12/20/2019   Interest earned, $772.76
0207              7635 S. East End                        $1,047,568.27               12/20/2019   Interest earned, $652.73
0215              7748 S. Essex                           $1,185,074.94               12/18/2019   Interest earned, $738.41
0223              7750 S. Muskegon                          $409,045.31               12/18/2019   Interest earned, $254.87
0231              7749‐59 S. Yates                         $638,290.63                 4/22/2020   Payment of property expenses per Order (#984),
                                                                                                   ($10,052.68); Interest earned, $400.12
0249              7450 S. Luella                            $198,131.65                 5/7/2020   Interest earned, $123.45
0256              4520‐26 S. Drexel                       $6,196,738.59                5/21/2020   Payment for insurance deductible, ($25,000.00);
                                                                                                   interest earned, $3,868.16
0264              6749‐59 S. Merrill                      $1,408,252.31                4/28/2020   Interest earned, $886.47
0272              7110 S. Cornell                         $1,168,649.27                8/13/2020   Interest earned, $728.17
0280              7109 S. Calumet                               $223.87                      n/a   Utility refund, $223.84; interest earned, $0.03
0298              7600 S. Kingston                        $1,379,189.04                12/3/2020   Interest earned, $859.36
0306              7656 S. Kingston                          $231,123.73                12/2/2020   Interest earned, $144.01
0314              8201 S. Kingston                          $274,716.58                5/21/2020   Payment of property expenses per Order (#984),
                                                                                                   ($4,832.14); interest earned, $172.36
0322              8326‐58 S. Ellis                        $1,332,027.75                6/11/2020   Interest earned, $829.98
0330              6949‐59 S. Merrill                      $1,540,830.82                12/1/2020   Interest earned, $960.08
0355              7546 S. Saginaw                          $522,573.34                 5/13/2020   Interest earned, $325.61
0363              638 N. Avers                             $314,717.54                       n/a   Payment of property taxes, ($7,099.97); payment of
                                                                                                   property management expenses, ($1,695.90);
                                                                                                   payment for security installation, ($3,871.03);
                                                                                                   interest earned, $197.58
0371              5450 S. Indiana                         $1,791,107.17                6/25/2020   Interest earned, $1,116.03
0389              6437 S. Kenwood                         $1,341,419.52                6/25/2020   Interest earned, $835.83
0397              7300 S. St. Lawrence                      $309,983.20                7/27/2020   Interest earned, $193.15
0405              7760 S. Coles                            $122,994.61                 6/26/2020   Interest earned, $76.63
0413              8000 S. Justine                           $193,177.23                6/26/2020   Interest earned, $120.37
0421              8107‐09 S. Ellis                          $111,009.32                6/30/2020   Interest earned, $69.17
0439              8209 S. Ellis                             $263,633.53                 7/1/2020   Interest earned, $164.27
0447              8214‐16 S. Ingleside                      $208,518.29                6/30/2020   Interest earned, $129.93
0454              11117 S. Longwood                       $1,691,715.21                 7/8/2020   Utility refund, $4.85; interest earned, $1,054.09

0462              1700 Juneway                            $2,771,791.80               10/20/2020   Interest earned, $1,727.08
0470              1131‐41 E. 79th                         $1,178,752.29               12/22/2020   Interest earned, $734.47
0488              2736 W. 64th                              $379,972.83                9/29/2020   Interest earned, $236.76
0496              3074 Cheltenham                         $1,014,087.67                9/24/2020   Interest earned, $631.87
0504              5618 S. Martin Luther King                $626,617.60                9/29/2020   Interest earned, $390.44
0512              6250 S. Mozart                            $864,171.07               12/22/2020   Interest earned, $538.46
0520              6355 S. Talman                           $478,876.44                 9/29/2020   Interest earned, $298.38
0538              6356 S. California                       $315,410.42                 9/29/2020   Interest earned, $196.53
0546              6554‐58 S. Vernon                         $529,603.54               10/15/2020   Interest earned, $329.99
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                          Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                     Account Balance                                           Reason for Change (if any)
 Account Number          Account Name                                        Date of Settlement
                                                   (as of June 30, 2021)                                           4/1/21 ‐ 6/30/21
0553              7051 S. Bennett                             $476,533.44               9/23/2020 Payment of property expenses per Order (#984),
                                                                                                  ($8,690.47); reimbursement of security deposit,
                                                                                                  $1,500.00; interest earned, $298.16
0561              7201 S. Constance                          $961,193.25                9/30/2020    Interest earned, $598.91
0579              7201‐07 S. Dorchester                      $421,137.18               10/20/2020    Interest earned, $262.41
0587              7508 S. Essex                              $747,881.53               10/28/2020    Interest earned, $466.00
0595              7957 S. Marquette                          $284,660.54                9/21/2020    Interest earned, $177.37
0603              4533 S. Calumet                          $2,196,562.49                12/1/2020    Interest earned, $1,368.66
0611              1017 W. 102nd                               $91,112.23                5/26/2021    Proceeds from sale of property, $86,590.77; interest
                                                                                                     earned, $22.38
0629              1516 E. 85th                                $88,920.00                5/26/2021    Proceeds from sale of property, $85,993.20; interest
                                                                                                     earned, $21.26
0637              417 Oglesby                                  $86,071.10               5/26/2021    Proceeds from sale of property, $85,681.31; interest
                                                                                                     earned, $19.60
0645              7922 S. Luella                             $120,906.53                5/26/2021    Proceeds from sale of property, $120,678.34;
                                                                                                     interest earned, $27.41
0652              7925 S. Kingston                             $73,434.97               5/26/2021    Proceeds from sale of property, $71,360.20; interest
                                                                                                     earned, $17.42
0660              8030 S. Marquette                            $64,451.15               5/26/2021    Proceeds from sale of property, $63,021.04; interest
                                                                                                     earned, $15.13
0678              8104 S. Kingston                           $131,850.98                5/26/2021    Proceeds from sale of property, $129,170.70;
                                                                                                     interest earned, $30.86
0686              8403 S. Aberdeen                           $100,866.78                5/26/2021    Proceeds from sale of property, $98,487.01; interest
                                                                                                     earned, $23.73
0694              8405 S. Marquette                          $100,333.29                5/26/2021    Proceeds from sale of property, $98,362.87; interest
                                                                                                     earned, $23.44
0702              8529 S. Rhodes                             $123,345.20                5/26/2021    Proceeds from sale of property, $122,380.68;
                                                                                                     interest earned, $28.25
0710              9212 S. Parnell                              $87,418.07               5/26/2021    Proceeds from sale of property, $84,934.06; Interest
                                                                                                     earned, $20.74
0728              10012 S. LaSalle                             $81,147.57               5/26/2021    Proceeds from sale of property, $79,102.26; interest
                                                                                                     earned, $19.15
0736              11318 S. Church                            $116,166.43                5/26/2021    Proceeds from sale of property, $114,979.02;
                                                                                                     interest earned, $26.71
0744              6554 S. Rhodes                               $76,958.77               5/26/2021    Proceeds from sale of property, $75,853.34; interest
                                                                                                     earned, $17.83
0751              6825 S. Indiana                            $121,013.09                5/26/2021    Proceeds from sale of property, $119,930.56;
                                                                                                     interest earned, $27.77
0769              7210 S. Vernon                               $57,904.67               5/26/2021    Proceeds from sale of property, $57,667.13; interest
                                                                                                     earned, $13.18
0777              7712 S. Euclid                             $120,606.02                5/26/2021    Proceeds from sale of property, $118,934.85;
                                                                                                     interest earned, $27.91
0785              8107 S. Kingston                             $90,213.52               5/26/2021    Proceeds from sale of property, $89,825,21; interest
                                                                                                     earned, $20.53
0793              8346 S. Constance                          $129,087.25                5/26/2021    Proceeds from sale of property, $127,584.75;
                                                                                                     interest earned, $29.76
0801              8432 S. Essex                              $129,465.45                5/26/2021    Proceeds from sale of property, $129,042.27;
                                                                                                     interest earned, $29.42
0819              8517 S. Vernon                             $122,040.19                5/26/2021    Proceeds from sale of property, $120,836.94;
                                                                                                     interest earned, $28.04
0827              2129 W. 71st                                $58,337.17                5/26/2021    Proceeds from sale of property, $57,320.28; interest
                                                                                                     earned, $13.58
0835              9610 S. Woodlawn                             $77,201.13               5/26/2021    Proceeds from sale of property, $74,850.80; interest
                                                                                                     earned, $18.37
0843              1401 W. 109th                               $56,363.63                5/26/2021    Proceeds from sale of property, $53,979,74; interest
                                                                                                     earned, $13.68
0850              1139 E. 79th                                  $3,710.64                      n/a   Interest earned, $2.31
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                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                        Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                   Account Balance                                              Reason for Change (if any)
 Account Number          Account Name                                      Date of Settlement
                                                 (as of June 30, 2021)                                               4/1/21 ‐ 6/30/21
0868              4611 S. Drexel                          $4,710,852.75               5/14/2021   Proceeds from sale of property, $4,665,443.83;
                                                                                                  interest earned, $1,561.43
0876              6217 S. Dorchester                        $12,842.56                      n/a   Interest earned, $8.00
0884              7255 S. Euclid                           $913,968.69                6/29/2021   Proceeds from sale of property, $887,498.04;
                                                                                                  interest earned, $28.65
0892              7024 S. Paxton                         $1,703,418.56                4/22/2021   Proceeds from sale of property, $1,657,501.17;
                                                                                                  interest earned, $732.19
0900              4317 S. Michigan                         $792,793.46                12/2/2020   Interest earned, $493.99
0918              7701 S. Essex                            $731,915.69               11/16/2020   Utility refund, $25.77; interest earned, $456.05
0926              816 E. Marquette                         $821,973.52               11/18/2020 Interest earned, $512.16
0934              1422 E. 68th                             $407,220.35                6/23/2021 Proceeds from sale of property, $365,372.11;
                                                                                                redemption of earnest money, $40,000.00; interest
                                                                                                earned, $23.90
0942              2800 E. 81st                             $399,864.19                4/30/2021 Proceeds from sale of property, $394,288.84;
                                                                                                interest earned, $170.84
0959              4750 S. Indiana                          $666,202.32                4/21/2021 Proceeds from sale of property, $652,011.16; refund
                                                                                                of overpyament of utility fees at closing, $724.44;
                                                                                                interest earned, $325.56
0967              7840 S. Yates                            $327,615.01                4/23/2021 Proceeds from sale of property, $318,695.95;
                                                                                                interest earned, $149.57
0975              7442‐48 S. Calumet                       $540,850.78               11/16/2020 Utility refund, $365.56; interest earned, $336.95

0983              431 E. 42nd Place                         $64,866.03                11/5/2020 Payment of administrative fines per Order (#984),
                                                                                                ($660.00); interest earned, $40.70
0991              1414 E. 62nd Place                        $35,090.45                5/26/2021 Proceeds from sale of property, $35,058.23; interest
                                                                                                earned, $32.22
1007              2136 W. 83rd Street                        $86,191.40               5/26/2021 Proceeds from sale of property, $86,171.93; interest
                                                                                                earned, $19.47
1015              7933 S. Kingston                           $80,988.65               5/26/2021 Proceeds from sale of property, $80,970.35; interest
                                                                                                earned, $18.30
1023              8800 S. Ada                              $119,632.80                5/26/2021 Proceeds from sale of property, $119,605.76;
                                                                                                interest earned, $27.04
1031              3213 S. Throop                           $117,861.25                5/26/2021 Proceeds from sale of property, $117,834.62;
                                                                                                interest earned, $26.63
1049              3723 W. 68th Place                       $116,241.71                5/26/2021 Proceeds from sale of property, $116,215.45;
                                                                                                interest earned, $26.26
1056              406 E. 87th Place                         $92,576.30                5/26/2021 Proceeds from sale of property, $92,555.28; interest
                                                                                                earned, $20.92
1064              61 E. 92nd Street                          $96,227.31               5/26/2021 Proceeds from sale of property, $96,205.56; interest
                                                                                                earned, $21.75
1072              7953 S. Woodlawn                         $116,735.69                5/26/2021 Proceeds from sale of property, $116,709.31;
                                                                                                interest earned, $26.38
1080              5437 S. Laflin                             $35,669.12               5/26/2021 Proceeds from sale of property, $35,661.07; interest
                                                                                                earned, $8.05
1098              6759 S Indiana                             $87,626.07               5/26/2021 Proceeds from sale of property, $87,606.27; interest
                                                                                                earned, $19.80
1106              310 E 50th Street                        $182,252.75                5/26/2021 Proceeds from sale of property, $182,211.56;
                                                                                                interest earned, $41.19
1114              6807 S. Indiana                          $110,478.23                5/26/2021 Proceeds from sale of property, $110,453.26;
                                                                                                interest earned, $24.97

                  TOTAL FUNDS HELD:                     $63,776,121.97
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                Exhibit F
Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 35 of 202 PageID #:32950
                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                               Suite 900                                  fax (312) 733-3952
                                        Chicago, Illinois 60605




August 5, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No.6621133
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




Legal Fees for the period April 2021                                     $17,043.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                          $17,043.00
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    Kevin B. Duff, Receiver                                                                                  Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         4/5/2021   KBD       0.60 Confer with M. Rachlis, A. Porter, and government representatives.

                                   Asset Analysis & Recovery

         4/6/2021   KBD       0.40 Confer with M. Rachlis, A. Porter, and government representatives.

                                   Asset Analysis & Recovery

         4/7/2021   KBD       1.70 Confer with J. Wine regarding call with counsel for third party relating to
                                   potential asset (.1); review documents from third party relating to potential
                                   asset (1.2); call with counsel for third party relating to potential asset and
                                   J. Wine (.3); follow up call with J. Wine (.1).

                                   Asset Analysis & Recovery

         4/14/2021 KBD        0.30 Exchange correspondence with J. Wine and K. Pritchard regarding
                                   potential asset and communications with third party's counsel and related
                                   subpoena.

                                   Asset Analysis & Recovery

         4/15/2021 KBD        0.70 Meet with counsel for third party and J. Wine regarding recovery of potential
                                   asset (.5);review draft subpoena (.2).

                                   Asset Analysis & Recovery

         4/30/2021 KBD        0.30 Telephone conference with counsel for third party regarding potential asset
                                   (.1); telephone conference with and draft correspondence to J. Wine
                                   regarding potential asset and communication with counsel for third party (.2).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                     [ 4.00          1560.00]

Asset Disposition

         4/1/2021   KBD       0.20 Exchange correspondence with A. Porter regarding estimated damage to
                                   property (7210 S Vernon Avenue).

                                   Asset Disposition

         4/2/2021   KBD       0.20 Study allocations of value, costs, and commission and various related
                                   correspondence (single family).

                                   Asset Disposition
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Kevin B. Duff, Receiver                                                                                  Page 3



    Date        Indiv Hours Description

    4/5/2021    KBD       0.30 Work on motion to approve sale and exchange related correspondence
                               (single family) and exchange related correspondence with A. Porter.

                               Asset Disposition

    4/6/2021    KBD       0.70 Exchange correspondence with A. Porter regarding closing costs and efforts
                               to reduce (single family) (.2); study and revise motion to approve sale and
                               exchange various related correspondence (single family) (.5).

                               Asset Disposition

    4/7/2021    KBD       0.40 Telephone conference with A. Porter regarding draft motion to approve sale
                               of single family residence portfolio, communications with lender's counsel,
                               property values, closing credits, and allocations (single family) (.2); study draft
                               motion to approve sale of single family residence portfolio (single family) (.2).

                               Asset Disposition

    4/8/2021    KBD       0.20 Work on motion to approve sale of properties (single family).

                               Asset Disposition

    4/9/2021    KBD       0.20 Exchange correspondence with A. Porter regarding revision to and filing of
                               motion to approve sale of properties (single family).

                               Asset Disposition

    4/10/2021 KBD         0.20 Exchange correspondence regarding filing and service of motion to approve
                               sale of properties (single family).

                               Asset Disposition

    4/12/2021 KBD         0.20 Exchange various correspondence regarding filing of motion to approve sale
                               of properties (single family).

                               Asset Disposition

    4/13/2021 KBD         0.20 Exchange correspondence with A. Porter regarding earnest money dispute
                               (7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 6949-59 S Merrill
                               Avenue) (.1); exchange correspondence with J. Rak regarding closing of
                               property sale (4611-17 S Drexel Boulevard) (.1).

                               Asset Disposition

    4/15/2021 KBD         0.20 Exchange correspondence with J. Rak regarding property value allocation
                               (single family).

                               Asset Disposition

    4/21/2021 KBD         1.50 Work on closing documents with A. Porter and J. Rak (4750-52 S Indiana
                               Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E
                               81st Street) (1.4); further attention to closing documents (7024-32 S Paxton
                               Avenue) (.1).

                               Asset Disposition
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    Kevin B. Duff, Receiver                                                                               Page 4



        Date          Indiv Hours Description

        4/22/2021 KBD         0.20 Study claimant response to motion to sell property (638-40 N Avers
                                   Avenue).

                                   Asset Disposition

        4/26/2021 KBD         0.40 Work on closing document (7024-32 S Paxton Avenue) (.2); exchange
                                   correspondence regarding single family residence motion and plans for entry
                                   of order (single family) (.2).

                                   Asset Disposition

        4/27/2021 KBD         0.20 Work on single family residence motion and entry of order (single family) (.1);
                                   attention to issues on properties relating to sale (6554 S Rhodes Avenue;
                                   2129 W 71st Street; 417 Oglesby Avenue) (.1).

                                   Asset Disposition

        4/29/2021 KBD         0.20 Attention to wiring of funds and communication with title company
                                   representative (7024-32 S Paxton Avenue).

                                   Asset Disposition

        4/30/2021 KBD         0.20 Attention to closing of property (2800-06 E 81st Street).

                                   Asset Disposition


SUBTOTAL:                                                                                      [ 5.70       2223.00]

Business Operations

        4/6/2021      KBD     0.20 Study correspondence from E. Duff regarding accounting reports for lender
                                   (single family).

                                   Business Operations

        4/8/2021      KBD     0.20 Exchange correspondence with insurance broker regarding credits for sold
                                   properties (.1); attention to property issues and exchange related
                                   correspondence with A. Porter (1414-18 East 62nd Place; 7210 S Vernon
                                   Avenue) (.1).

                                   Business Operations

        4/9/2021      KBD     0.80 Confer with J. Wine and A. Porter regarding violation notices against property
                                   (7051 S Bennett Avenue) (.2); conference with J. Wine, A. Porter, and M.
                                   Rachlis regarding action relating to personal injury (7110 S Cornell Avenue)
                                   (.2); study property manager reports (6250 S Mozart Street; 9610 S
                                   Woodlawn Avenue; 638-40 N Avers Avenue; 7109-19 S Calumet Avenue;
                                   7237-43 S Bennett Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S
                                   Indiana Avenue; 7255-57 S Euclid Avenue; 4315-19 S Michigan Avenue;
                                   7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 416-24 E 66th
                                   Street) (.3); exchange correspondence with property manager regarding
                                   sale of properties and reimbursement of expenses (1414-18 East 62nd
                                   Place) (.1).


                                   Business Operations
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    Date      Indiv Hours Description




    4/12/2021 KBD         0.40 Review various mail forwarded by property manager.

                               Business Operations

    4/13/2021 KBD         0.70 Telephone conference with S. Zjalic regarding restoration of funds and
                               property managers' documentation (.1); exchange correspondence with J.
                               Rak regarding real estate tax planning (7024-32 S Paxton Avenue; 7840-42 S
                               Yates Avenue; 2800-06 E 81st Street; 4611-17 S Drexel Boulevard; 1414-18
                               East 62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd
                               Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 7933 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529
                               S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 10012 S
                               LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th
                               Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                               Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                               8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                               Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W
                               109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett
                               Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S
                               Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102
                               Bingham (Houston, TX)) (.2); exchange correspondence with J. Rak
                               regarding planning for and payment of real estate taxes and related
                               communications with property manager (.3); exchange correspondence with
                               claimant's counsel regarding payment of real estate taxes (4611-17 S Drexel
                               Boulevard; 6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue; 638-40
                               N Avers Avenue) (.1); continued...

                               Business Operations

                KBD       0.70 …continued; study property manager reporting (8047-55 S Manistee Avenue;
                               7749-59 S Yates Boulevard; 7450 S Luella Avenue; 8201 S KingstonAvenue;
                               5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7051 S Bennett
                               Avenue; 7508 S Essex Avenue; 7701-03 S Essex Avenue; 1017 W 102nd
                               Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                               Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                               S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S VernonAvenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S KingstonAvenue; 8346 S
                               Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                               71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue; 6217-27 S
                               Dorchester Avenue; 7024-32 S Paxton Avenue; 1422-24 East 68thStreet;
                               1414-18 East 62nd Place) (.3); study property manager financial reporting
                               (7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09S Ellis Avenue;
                               8214-16 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood
                               Drive; 7300-04 S St Lawrence Avenue; 7957-59 SMarquette Road; 2736-44
                               W 64th Street; 6355-59 S Talman Avenue; 6356 SCalifornia Avenue; 5618-20
                               S Martin Luther King Drive; 7201 S Constance Avenue; 6554-58 S Vernon
                               Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue;
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    Date        Indiv Hours Description

                               4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                               Kingston Avenue; 6250 S Mozart Street; 7109-19 S Calumet Avenue;
                               9610 S Woodlawn Avenue; 1401 W 109th Place; 310 E 50th Street; 6807
                               S Indiana Avenue; 7237-43 S Bennett Avenue; 638-40 N Avers Avenue;
                               7255-57 S Euclid Avenue) (.4).

                               Business Operations

    4/14/2021 KBD         0.50 Exchange correspondence with property manager and A. Porter regarding
                               burst underground pipe (7255-57 S Euclid Avenue) (.2); exchange
                               correspondence with J. Rak regarding payment of real estate taxes (638-40 N
                               Avers Avenue; 7237-43 S Bennett Avenue) (.2); exchange correspondence
                               with property manager regarding disposal bill (2736-44 W 64th Street)(.1).


                               Business Operations

    4/15/2021 KBD         1.40 Work on renewal of property insurance and communications with insurance
                               broker and property managers regarding to same (1.0); special attention to
                               insurance and safety issues at property (4611-17 SDrexel Boulevard) (.4).


                               Business Operations

    4/16/2021 KBD         0.30 Exchange various correspondence regarding renewal of insurance (7024-32
                               S Paxton Avenue; 7840-42S Yates Avenue; 2800-06 E 81st Street; 4611-17
                               S Drexel Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516
                               E 85th Place; 2136 W83rd Street; 417 Oglesby Avenue; 7922 S Luella
                               Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                               S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68thPlace; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 SIndiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346
                               S Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129
                               W 71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S
                               Indiana Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana
                               Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40
                               N Avers Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-
                               19 S Calumet Avenue; 1102 Bingham (Houston, TX)).


                               Business Operations

    4/19/2021 KBD         0.70 Exchange correspondence with J. Rak regarding real estate tax planning and
                               reporting (2800-06 E 81st Street; 4611-17 S Drexel Boulevard; 1414-18 East
                               62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street;
                               417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933
                               S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                               8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue;
                               8800 S Ada Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318
                               S Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                               Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue;
                               7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue;
                               8107 S Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue;
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    Date        Indiv Hours Description

                               8517 S Vernon Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue;
                               5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E
                               50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 6217-27 S
                               Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue;
                               1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102 Bingham
                               (Houston, TX)) (.3); attention to property expense issues (1401 W 109th
                               Place; 638-40 N Avers Avenue) (.2); exchange correspondence with S. Zjalic
                               regarding property expense analysis and restoration (.2).

                               Business Operations

    4/21/2021 KBD         0.20 Exchange correspondence with property manager regarding property
                               expenses (7442-54 S Calumet Avenue; 7701-03 S Essex Avenue) (.1);
                               attention to correspondence with property manager regarding property
                               expenses (1401 W 109th Place) (.1).

                               Business Operations

    4/23/2021 KBD         0.20 Exchange correspondence with S. Zjalic regarding property expenses and
                               third restoration motion.

                               Business Operations

    4/27/2021 KBD         1.10 Exchange correspondence with J. Rak and E. Duff regarding properties,
                               closing planning, and insurance renewal (2800-06 E 81st Street; 4611-17 S
                               Drexel Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E
                               85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                               Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
                               Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                               Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                               71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                               Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                               7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                               Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                               Calumet Avenue; 1102 Bingham (Houston, TX)) (.8); study information from
                               S. Zjalic regarding property expenses and restoration issues (.2); review
                               correspondence from property manager regarding insurance renewaland
                               safety procedures (4611-17 S Drexel Boulevard) (.1).

                               Business Operations

    4/28/2021 KBD         0.20 Exchange correspondence with insurance broker regarding renewal (4611-17
                               S Drexel Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E
                               85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                               Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
                               Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
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    Kevin B. Duff, Receiver                                                                            Page 8



         Date       Indiv Hours Description

                                   Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                   71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                                   Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                                   7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                                   Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                                   Calumet Avenue; 1102 Bingham (Houston, TX)).

                                   Business Operations

         4/29/2021 KBD        0.70 Exchange correspondence with insurance broker regarding renewal and work
                                   on same with J. Rak (4611-17 S Drexel Boulevard; 1414-18 East 62nd Place;
                                   1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                   Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                   Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S
                                   Ada Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S
                                   Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                                   61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                   Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                                   Vernon Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue; 5437 S
                                   Laflin Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E 50th Street;
                                   6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester
                                   Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 1422-24 East
                                   68th Street; 7109-19 S Calumet Avenue; 1102 Bingham (Houston, TX)) (.5);
                                   exchange correspondence with property manager regarding maintenance
                                   and taxes (1102 Bingham (Houston, TX)) (.2).

                                   Business Operations

         4/30/2021 KBD        0.30 Exchange correspondence with insurance broker regarding renewal (4611-17
                                   S Drexel Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E
                                   85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                                   7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                                   Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
                                   Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                   Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                   Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                   S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                   Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                                   Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                   71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                                   Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                                   7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                                   Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                                   Calumet Avenue; 1102 Bingham (Houston, TX)) (.2); exchange
                                   correspondence with S. Zjalic regarding property expenses (.1).

                                   Business Operations


SUBTOTAL:                                                                                [ 8.60         3354.00]

Claims Administration & Objections

         4/1/2021    KBD      1.30 Telephone conference with claimants' counsel regarding request for claims
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Kevin B. Duff, Receiver                                                                              Page 9



    Date        Indiv Hours Description

                               documentation (.5); exchange correspondence with J. Wine regarding
                               claimants' counsel's request forclaims documentation (.1); telephone
                               conference with M. Rachlis regarding recovery and inspection of EB
                               documents (.2); exchange correspondence with J. Rak and J. Wine
                               regarding vendor and license issuesfor records for EB database (.3); review
                               and address email from claimant regarding claims documentation link issue
                               and exchange related correspondence with J. Wine (.2).


                               Claims Administration & Objections

    4/2/2021    KBD       0.20 Review vendor invoice and exchange related correspondence with J.Wine
                               (.1); study correspondence from J. Wine regarding analysis of claims (8403 S
                               Aberdeen Street; 8432 S Essex Avenue) (.1).

                               Claims Administration & Objections

    4/3/2021    KBD       0.20 Study vendor agreement and relatedcorrespondence.


                               Claims Administration & Objections

    4/5/2021    KBD       0.90 Exchange correspondence regarding emails relating to claimant (.1); study
                               vendor agreement and exchange related correspondence with J. Wine
                               regarding revisions (.3); attention to correspondence with potential claimant
                               who did not submit claim (.1); exchange correspondence with J. Wine and J.
                               Rak regarding records fordocuments database (.2); exchange
                               correspondence with J. Wine regarding single claim process (1017 W 102nd
                               Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 8403 S Aberdeen Street; 9212 S Parnell Avenue; 10012 S LaSalle
                               Avenue; 3213 S Throop Street; 406 E 87thPlace; 6825 S Indiana Avenue;
                               7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107 S Kingston Avenue;
                               8346 S Constance Avenue; 8432 S EssexAvenue; 8517 S Vernon Avenue;
                               2129 W 71st Street; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue)
                               (.1); attention to claim relating to property (7110 S Cornell) (.1).


                               Claims Administration & Objections

    4/7/2021    KBD       0.60 Confer with J. Wine regarding single claims properties and process (1017 W
                               102nd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 8403 S Aberdeen Street; 9212 S Parnell Avenue; 10012 S LaSalle
                               Avenue; 3213 S Throop Street; 406 E 87th Place; 6825 S Indiana Avenue;
                               7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107 S Kingston Avenue;
                               8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue;
                               2129 W 71st Street; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue).

                               Claims Administration & Objections

    4/8/2021    KBD       1.20 Telephone conference with J. Wine regarding interim status report (.1);
                               attention to communications from claimant and A. Porter relating to
                               property sales, proceeds, and claims process (.1); study chart,
                               spreadsheet, and mortgage record regarding single claim properties and
                               process and exchange related correspondence (.3); study and revised draft
                               joint status report and exchange related correspondence (.5); telephone
                               conference with SEC (.2).
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    Date        Indiv Hours Description



                               Claims Administration & Objections

    4/9/2021    KBD       2.80 Study and revise draft status report on claims and exchange related
                               correspondence (.5); telephone conference with SEC (.2); confer with J.
                               Wine, A. Porter, M. Rachlis regarding scope of properties for single claim
                               process (1017 W 102nd Street;417 Oglesby Avenue; 7922 S Luella Avenue;
                               7925 S Kingston Avenue; 8403S Aberdeen Street; 9212 S Parnell Avenue;
                               10012 S LaSalle Avenue; 3213 SThroop Street; 406 E 87th Place; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107 S
                               Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                               Vernon Avenue; 2129 W 71st Street;9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue) (1.9); exchange correspondence with J. Wine regarding
                               potential claim (7110 S Cornell Avenue) (.1); exchange correspondence with
                               claimant's request for information regarding sales (1422-24 East 68th Street;
                               2800-06 E 81st Street; 4750-52 S Indiana Avenue; 7840-42 S Yates Avenue)
                               (.1).

                               Claims Administration & Objections

    4/11/2021 KBD         0.20 Work on claims processing issues.

                               Claims Administration & Objections

    4/12/2021 KBD         0.50 Study correspondence from vendor regarding claims documentation
                               distribution project status (.1); review status of vendor agreement and
                               revisions and exchange related correspondence with J. Wine and further
                               attention to joint status report and impact of document database on timing
                               (.2); exchange correspondence with claimant regarding claims
                               documentation and confidentiality issue (.2).

                               Claims Administration & Objections

    4/13/2021 KBD         2.10 Draft correspondence to lenders counsel regarding single claim process and
                               exchange correspondence with J. Wine relating to same (7110 SCornell
                               Avenue; 6749-59 S Merrill Avenue) (.8); study analysis of lender properties
                               potentially subject to single claim process and exchangerelated
                               correspondence with J. Wine (1017 W 102nd Street; 417 Oglesby Avenue;
                               7922 S Luella Avenue; 7925 S Kingston Avenue; 8403 S Aberdeen Street;
                               9212 S Parnell Avenue; 10012 S LaSalle Avenue; 3213 S Throop Street; 406
                               E 87th Place; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8432 S
                               Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue) (.6); work on correspondence
                               with claimant regarding claims process timing (.3); exchange correspondence
                               with J. Wine regarding EB document database agreement and
                               communications with claimants' counsel regarding initiation ofclaims process
                               (.2); exchange correspondence with J. Rak regarding planning for payment
                               of real estate taxes (7109-19 S Calumet Avenue) (.2).

                               Claims Administration & Objections

    4/14/2021 KBD         1.50 Telephone conference with SEC (.8); draft correspondence to E. Duff
                               regarding restoration and claims issues (3074 E Cheltenham Place; 7201 S
                               Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End
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    Date      Indiv Hours Description

                               Avenue; 7750-58 S Muskegon Avenue; 7110 SCornell Avenue; 6749-59 S
                               Merrill Avenue) (.1); revise joint status report on claims and exchange
                               related correspondence with J. Wine (.3); exchange correspondence with J.
                               Wine regarding vendor agreement (.1); study correspondence from
                               claimants' counsel regarding potential subpoena for records (.2).

                               Claims Administration & Objections

    4/15/2021 KBD         1.20 Revise joint status report and exchange related correspondence with J. Wine
                               (.7); telephone conference with J. Wine regarding joint status report (.2);
                               study correspondence from J. Wine regarding single claim process (.3).

                               Claims Administration & Objections

    4/16/2021 KBD         0.90 Exchange correspondence with J. Wine and M. Rachlis regarding joint status
                               report and review drafts of joint status report (.2); exchange correspondence
                               with J. Wine and A. Watychowicz regarding access to accounting records for
                               document database (.2); further work on joint status report and attempt to
                               reconcile differences in positions of claims process participants (.5).

                               Claims Administration & Objections

    4/17/2021 KBD         0.30 Exchange correspondence with J. Wine regarding joint status report (.1);
                               exchange correspondence relating to vendor access of EBonline records
                               (.2).

                               Claims Administration & Objections

    4/18/2021 KBD         0.40 Draft correspondence to claimants' counsel and SEC regarding joint status
                               report (.2); exchange correspondence relating to vendor access of EB online
                               records (.2).

                               Claims Administration & Objections

    4/19/2021 KBD         1.30 Exchange correspondence with claimants' counsel and SEC regarding joint
                               status report (.2); attention to and exchange correspondence with K. Pritchard
                               regarding filing of joint status report (.3); review correspondence regarding
                               vendor access of EB online records and exchange correspondence with
                               claimants' counsel relating to same (.2); draft correspondence to J. Wine
                               regarding electronic records issues (.2); exchange correspondence with
                               vendor regarding distribution of claims documentation to claimants (.1);
                               attention to claimant inquiries and communications (.3).

                               Claims Administration & Objections

    4/20/2021 KBD         0.50 Attention to communication with claimants regarding claims process (.3);
                               study correspondence relating to electronic records for database and
                               exchange related correspondence with A. Watychowicz (.2).

                               Claims Administration & Objections

    4/21/2021 KBD         0.60 Telephone conference with claimant's counsel regarding claims process (.3);
                               attention to customer support emails for claimsvendor (.2); study
                               correspondence from claimant's counsel regarding single claim
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    Date        Indiv Hours Description

                               properties (.1).

                               Claims Administration & Objections

    4/22/2021 KBD         0.20 Work on response to claimant communication relating to claims process.


                               Claims Administration & Objections

    4/23/2021 KBD         0.20 Study correspondence from J. Wine regarding discovery for claims process.

                               Claims Administration & Objections

    4/26/2021 KBD         1.00 Work on response to claimant (.1); work on single claim process (1017 W
                               102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                               7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                               8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue;
                               9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street;
                               3213 S Throop Street; 406 E 87th Place; 6554 S Rhodes Avenue; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107S
                               Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517S
                               Vernon Avenue;2129 W 71st Street; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue) (.3); study correspondence regarding claimants' request for
                               records (.4); attention to vendor expense and document assembly efforts
                               (.2).

                               Claims Administration & Objections

    4/27/2021 KBD         0.40 Exchange correspondence regarding communication with claimants (.2);
                               attention to communications with database vendorregarding login information
                               and expense issues (.2).

                               Claims Administration & Objections

    4/28/2021 KBD         0.70 Telephone conference with J. Wine in preparation for call with claimants'
                               counsel regarding process for single claim properties (.1); telephone
                               conference with J. Wine regarding preparation forcall with claimants'
                               counsel (.1); exchange correspondence regarding document database
                               expense issues (.4); draft correspondence to claimants' counsel regarding
                               call and planning for process for single claim properties and exchange
                               related correspondence (.1).


                               Claims Administration & Objections

    4/29/2021 KBD         2.10 Study correspondence and documents from claimants' counsel and J. Wine
                               regarding request for claims and other documentation (.4); telephone
                               conference with J. Wineregarding claimants' request for claims and other
                               documentation (.2); telephone conference with claimants' counsel and J.
                               Wine regarding request for claims and other documentation (.5); telephone
                               conference with lenders counsel and J.Wine relating to potential properties
                               for single claim process (8403 S Aberdeen Street; 8517 S Vernon Avenue;
                               8107 S Kingston Avenue; 6554 S Rhodes Avenue; 7925 S Kingston
                               Avenue; 7110 S Cornell Avenue; 6749-59 S Merrill Avenue) (.5); work on
                               issue and exchange correspondence relating to records for document
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       Date      Indiv Hours Description

                                  database and expenses (.2); exchange various correspondence relating to
                                  potential properties for single claim process (8403 S Aberdeen Street; 8517 S
                                  Vernon Avenue; 8107 S Kingston Avenue; 6554 SRhodes Avenue; 7925 S
                                  Kingston Avenue; 7110 S Cornell Avenue; 6749-59 S Merrill Avenue) (.2);
                                  attention to claims issue, master spreadsheet, and communications with
                                  claimants (8405 S Marquette Avenue; 8403 S Aberdeen Street) (.1);
                                  continued...

                                  Claims Administration & Objections

       4/29/2021 KBD         0.90 ...continued; telephone conference with J. Wine regarding potential lender
                                   properties to be included in single claim process (1017 W 102nd Street; 1516
                                   E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 SLuella
                                   Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                                   Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 9212 S
                                   Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                   Throop Street; 406 E 87th Place; 6554 S Rhodes Avenue; 6825 S Indiana
                                   Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107 S Kingston
                                   Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon
                                   Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue; 6759 S Indiana
                                   Avenue) (.4); review spreadsheets, property and claims information, and
                                   various correspondence relating to potential lender properties to beincluded
                                   in single claim process (1017 W 102nd Street; 1516 E 85th Place; 2136 W
                                   83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403S
                                   Aberdeen Street; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 10012 S
                                   LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 406 E 87th
                                   Place; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                   Avenue; 7712 S Euclid Avenue; 8107 S Kingston Avenue; 8346 S Constance
                                   Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street;
                                   9610 S Woodlawn Avenue; 6759 S Indiana Avenue) (.5).

                                  Claims Administration & Objections

       4/30/2021 KBD         1.30 Study information and correspondence regarding claims (.2); attention to
                                  document database, expense issues, and related communications (.4);
                                  study correspondence and information regarding single claim properties
                                  (1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                  Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette
                                  Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes
                                  Avenue; 11318 S Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell
                                  Avenue) (.2); study document vendor master service agreement and draft
                                  related correspondence to J. Wine (.5).

                                  Claims Administration & Objections


SUBTOTAL:                                                                                [ 23.50        9165.00]
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         Date       Indiv Hours Description

Status Reports

         4/3/2021    KBD      0.20 Study correspondence from J. Wine regarding status report.

                                   Status Reports

         4/5/2021    KBD      0.20 Study correspondence regarding preparation of status report.

                                   Status Reports

         4/8/2021    KBD      0.20 Study draft status report exhibits.

                                   Status Reports

         4/20/2021 KBD        0.30 Study draft for status report and exchange related correspondence.

                                   Status Reports

         4/23/2021 KBD        0.50 Study, revise, and draft correspondence to J. Wine regarding draft status
                                   report.

                                   Status Reports

         4/30/2021 KBD        0.30 Review status report and attention to completion and filing.

                                   Status Reports


SUBTOTAL:                                                                                   [ 1.70           663.00]

Tax Issues

         4/12/2021 KBD        0.20 Attention to tax form and communication with tax administrator and K.
                                   Pritchard relating to same.

                                   Tax Issues


SUBTOTAL:                                                                                   [ 0.20             78.00]




                                                                                            43.70       $17,043.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       43.70     390.00    $17,043.00
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                                   SUMMARY


              Legal Services                                  $17,043.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $17,043.00
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




August 5, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No.6621134
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




Legal Fees for the period May 2021                                       $23,283.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                          $23,283.00
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    Kevin B. Duff, Receiver                                                                                Page 2




        Date Indiv Hours Description

Asset Analysis & Recovery

        5/19/2021 KBD         0.40 Draft correspondence to counsel for third-party regarding potential asset (.3);
                                   telephone conference with J. Wine regarding communication with counsel for
                                   third party relating to potential asset (.1).

                                   Asset Analysis & Recovery

        5/20/2021 KBD         2.40 Draft correspondence to counsel for third-party regarding potential asset and
                                   related legal research (2.2); telephone conference with J. Wine regarding
                                   potential asset and related communications (.2).

                                   Asset Analysis & Recovery

        5/22/2021 KBD         1.30 Draft correspondence to counsel for third-party regarding potential asset (.5);
                                   legal research regarding same (.4); study related documents and exchange
                                   related correspondence with J. Wine (.4).

                                   Asset Analysis & Recovery

        5/23/2021 KBD         4.30 Draft and revise correspondence to counsel for third-party regarding potential
                                   asset (2.5); legal research regarding same (.8); study related documents from
                                   third-party regarding potential asset (.6); exchange variouscorrespondence
                                   regarding documents from third-party regarding potential asset (.4).

                                   Asset Analysis & Recovery

        5/24/2021 KBD         1.80 Draft and revise correspondence to counsel for third-party regarding potential
                                   asset (.5); legal research regarding potential asset (.4); exchange various
                                   correspondence regarding correspondence to counsel for third-party
                                   regarding potential asset (.6); telephone conferences with J. Wine regarding
                                   analysis of potential asset (.3).

                                   Asset Analysis & Recovery

        5/25/2021 KBD         1.40 Draft and revise correspondence to counsel for third-party regarding potential
                                   asset (.5); legal research regarding issues relating to potential asset and
                                   correspondence to third party (.3); exchange various correspondence
                                   regarding correspondence to counsel for third-party regarding potential asset
                                   (.5); telephone conferences with J. Wine regarding communication with
                                   counsel for holder of asset (.1).

                                   Asset Analysis & Recovery

        5/26/2021 KBD         0.80 Draft, revise, and study revisions to correspondence to counsel for third-party
                                   regarding potential asset (.7); telephone conferences with J. Wine regarding
                                   communication with counsel for holder of asset (.1).

                                   Asset Analysis & Recovery

        5/27/2021 KBD         1.50 Draft and revise correspondence to counsel for third-party regarding potential
                                   asset.
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    Kevin B. Duff, Receiver                                                                                Page 3



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         5/28/2021 KBD        0.50 Exchange correspondence with J. Wine regarding communication with third
                                   party counsel relating to demand (.2); exchange correspondence with J. Wine
                                   regarding additional subpoenas, requests, and investigation (.3).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 14.40         5616.00]

Asset Disposition

         5/6/2021    KBD      0.50 Exchange various correspondence with J. Rak and claimants counsel
                                   regarding closings for properties (4611-17 S Drexel Boulevard;6217-27 S
                                   Dorchester Avenue; 7255-57 S Euclid Avenue) (.3); exchange
                                   correspondence with J. Rak regarding sale of properties and segregated
                                   accounts (single family) (.2).

                                   Asset Disposition

         5/12/2021 KBD        1.00 Draft reply in support of motion to approve sale (638-40 N Avers Avenue).

                                   Asset Disposition

         5/13/2021 KBD        1.00 Telephone conference with real estate broker regarding efforts to sell
                                   remaining properties (1414-18 East 62nd Place; 1017 W 102nd Street; 1516
                                   E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                   Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                                   Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                                   S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                   Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                   Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                   S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                   Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                                   Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                   71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                                   Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                                   7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                                   Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                                   Calumet Avenue; 1102 Bingham (Houston, TX)) (.2); draft reply in support of
                                   motion to approve sale (638-40 N Avers Avenue) (.8).

                                   Asset Disposition

         5/14/2021 KBD        1.10 Work with A. Porter and J. Rak on review and execution of closing
                                   documents (4611-17 S Drexel Boulevard; 1422-24 E 68th Street) (.5); draft
                                   reply in support of 12th motion to approve sale (638-40 N Avers Avenue) (.6).

                                   Asset Disposition

         5/16/2021 KBD        2.50 Draft reply in support of twelfth motion to confirm sale of property (638-40 N
                                   Avers Avenue).
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    Date      Indiv Hours Description


                               Asset Disposition

    5/17/2021 KBD         2.00 Draft reply in support of twelfth motion to confirm sale of property (638-40 N
                               Avers Avenue) (1.5); exchange correspondence with A. Porter regarding
                               review of analysis of offers to purchase property (638-40 N Avers Avenue)
                               (.2); study revisions to draft reply brief and study related correspondence from
                               M. Rachlis (.2); review update of closings from J. Rak (single family; 7255 S
                               Euclid Avenue; 6217-27 S Dorchester Avenue; 7237-43 S Bennett Avenue)
                               (.1).

                               Asset Disposition

    5/18/2021 KBD         2.30 Revise reply in support of twelfth motion to confirm sale of property and
                               exchange various related correspondence (638-40 N Avers Avenue) (2.2);
                               attention to closing of property (1422 E 68th Street) (.1).

                               Asset Disposition

    5/20/2021 KBD         0.40 Exchange correspondence with J. Rak and K. Pritchard regarding water
                               payment and transfer tax payments and logistics for closing (single family)
                               (.2); telephone conference with J. Rak regarding problems with purchaser
                               and obtaining necessary documents for closing, including relating to unique
                               municipality issues (single family) (.2).

                               Asset Disposition

    5/21/2021 KBD         0.30 Exchange correspondence with J. Rak and real estate broker regarding
                               closings for sales of properties (4611-17 S. Drexel Boulevard; 7255 S Euclid
                               Avenue; 6217-27 S Dorchester Avenue) (.2); attention to closing costs and
                               related correspondence (single family) (.1).

                               Asset Disposition

    5/24/2021 KBD         0.20 Exchange correspondence with J. Rak regarding closing proceeds and
                               allocation issues (single family).

                               Asset Disposition

    5/25/2021 KBD         3.00 Work with Andrew Porter and Justyna Rak on closing documents (single
                               family) (1.5); attention to various issues relating to attempt to close sale of
                               property and communications with A. Porter, and broker (1422 E 68th Street)
                               (1.5).

                               Asset Disposition

    5/26/2021 KBD         0.30 Communications with A. Porter and broker relating to sale of property (1422 E
                               68th Street) (.2); exchange correspondence regarding sale proceeds,
                               segregated accounts, and allocations (single family) (.1).

                               Asset Disposition

    5/27/2021 KBD         0.50 Exchange correspondence regarding deposit of sale proceeds and allocation
                               (single family) (.2); telephone conference with and study correspondence
                               from title company representative and exchange correspondence with bank
                               representative regarding transfer of closing proceeds (single family) (.3).
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                                   Asset Disposition

        5/28/2021 KBD         0.90 Telephone conference and exchange correspondence with A. Porter and J.
                                   Rak regarding closing and disbursement of funds for sale of portfolio of
                                   properties (single family) (.6); telephone conference with and study
                                   correspondence from A. Porter and J. Rak regarding closing and negotiation
                                   with buyer relating to default (1422 E 68th Street) (.2); telephone conference
                                   with A. Porter and J. Rak regarding efforts to close additional property (1102
                                   Bingham (Houston, TX)) (.1).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 16.00        6240.00]

Business Operations

        5/3/2021      KBD     0.60 Work on real estate tax issue (1102 Bingham (Houston, TX)) (.3); work on
                                   insurance renewal (4611-17 S Drexel Boulevard; 1414-18 East 62nd Place;
                                   1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                   Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                   Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S
                                   Ada Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S
                                   Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                                   61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                   Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                                   Vernon Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue; 5437 S
                                   Laflin Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E 50th Street;
                                   6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester
                                   Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 1422-24 East
                                   68th Street; 7109-19 S Calumet Avenue; 1102 Bingham (Houston, TX)) (.3).

                                   Business Operations

        5/4/2021      KBD     0.50 Work on insurance renewal and draft correspondence to broker regarding
                                   updated information (10012 S LaSalle Avenue; 1017 W 102nd Street; 1102
                                   Bingham (Houston, TX); 11318 S Church Street; 1401 W 109th Place;
                                   1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W
                                   83rd Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                                   417 Oglesby Avenue; 4611-17 S. Drexel Boulevard; 61 E 92nd Street;
                                   6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7024 S Paxton
                                   Avenue; 7109-7119 S Calumet Avenue; 7201 S Constance Avenue; 7237-43
                                   S Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S
                                   Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S
                                   Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                   8107 S Kingston Avenue; 8346 S Constance Avenue; 8405 S Marquette
                                   Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes
                                   Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn
                                   Avenue; 2800-06 E 81st Street; 6759 S Indiana Avenue; 5437 S Laflin Street;
                                   7210 S Vernon Avenue; 6825 S Indiana Avenue; 6554 S Rhodes Avenue;
                                   7110 S Cornell Avenue; 310 E 50th Street; 6807 S Indiana Avenue) (.3);
                                   attention to property expenses (7109-19 S Calumet Avenue; 1401 W 109th
                                   Place; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue) (.2).
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Kevin B. Duff, Receiver                                                                           Page 6



    Date       Indiv Hours Description


                               Business Operations

    5/5/2021    KBD       0.60 Work on insurance renewal and exchange correspondence with broker
                               regarding comparison of rates (10012 S LaSalle Avenue; 1017 W 102nd
                               Street; 1102 Bingham (Houston, TX); 11318 S Church Street; 1401 W 109th
                               Place; 1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street;
                               2136 W 83rd Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                               Place; 417 Oglesby Avenue; 4611-17 S. Drexel Boulevard; 61 E 92nd Street;
                               6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7024 S Paxton
                               Avenue; 7109-7119 S Calumet Avenue; 7201 S Constance Avenue; 7237-43
                               S Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S
                               Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S
                               Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                               8107 S Kingston Avenue; 8346 S Constance Avenue; 8405 S Marquette
                               Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes
                               Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn
                               Avenue; 2800-06 E 81st Street; 6759 S Indiana Avenue; 5437 S Laflin Street;
                               7210 S Vernon Avenue; 6825 S Indiana Avenue; 6554 S Rhodes Avenue;
                               7110 S Cornell Avenue; 310 E 50th Street; 6807 S Indiana Avenue) (.2); work
                               on payment of approved expenses and exchange related correspondence
                               with J. Wine (7051 S Bennett Avenue; 8201 S Kingston Avenue; 8047-55 S
                               Manistee Avenue; 7749-59 S Yates Boulevard) (.2); exchange
                               correspondence with property manager and work on property expenses
                               (1401 W 109th Place; 638-40 N Avers Avenue; 7237-43 S BennettAvenue)
                               (.2).

                               Business Operations

    5/6/2021    KBD       0.40 Work on property expenses and funds transfers (638-40 N Avers Avenue;
                               1401 W 109th Place; 7237-43 S Bennett Avenue; 7051 S Bennett Avenue;
                               8201 S Kingston Avenue; 8047-55 S Manistee Avenue; 7749-59 S Yates
                               Boulevard).

                               Business Operations

    5/7/2021    KBD       0.70 Work on insurance renewal and exchange correspondence with broker
                               regarding renewal, quotes, and potential finance terms (4611-17 S Drexel
                               Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E 85th
                               Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                               Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
                               Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                               Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                               71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                               Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                               7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                               Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                               Calumet Avenue; 1102 Bingham (Houston, TX)) (.5); study property
                               expenses for restoration (.2).
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Kevin B. Duff, Receiver                                                                          Page 7



    Date      Indiv Hours Description


                               Business Operations

    5/10/2021 KBD         0.80 Work on insurance renewal and terms (1414-18 East 62nd Place; 1017 W
                               102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                               7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue;
                               8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen
                               Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada
                               Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church
                               Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                               92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                               Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon
                               Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin
                               Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E 50th Street; 6807
                               S Indiana Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester
                               Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 1422-24 East
                               68th Street; 7109-19 S Calumet Avenue; 1102 Bingham (Houston, TX)) (.5);
                               work on corporate issue for housing renewals (7109-19 S Calumet Avenue)
                               (.3).

                               Business Operations

    5/11/2021 KBD         0.30 Study insurance renewal quote and exchange correspondence with broker
                               (1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W
                               83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 7933 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529
                               S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 10012 S
                               LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th
                               Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                               Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                               8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                               Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W
                               109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett
                               Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S
                               Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102
                               Bingham (Houston, TX)).

                               Business Operations

    5/12/2021 KBD         0.20 Exchange correspondence with broker regarding insurance renewal (1414-18
                               East 62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd
                               Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 7933 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529
                               S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 10012 S
                               LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th
                               Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                               Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                               8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                               Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W
                               109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett
                               Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S
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    Date        Indiv Hours Description

                               Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102
                               Bingham (Houston, TX)).

                               Business Operations

    5/13/2021 KBD         0.20 Study correspondence from S. Zjalic regarding property expenses.

                               Business Operations

    5/18/2021 KBD         0.20 Exchange correspondence with K. Pritchard regarding utility expense (7201 S
                               Constance) (.1); exchange correspondence with insurance agent regarding
                               coverage issue (8403 S Aberdeen Avenue) (.1).

                               Business Operations

    5/19/2021 KBD         0.30 Exchange correspondence with insurance broker regarding coverage renewal
                               (1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W
                               83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                               Avenue; 7933 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529
                               S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 10012 S
                               LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th
                               Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S
                               Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                               Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                               8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                               Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W
                               109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett
                               Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S
                               Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102
                               Bingham (Houston, TX)) (.3); continued...

                               Business Operations

                KBD       0.20 ...continued; exchange correspondence with J. Rak regarding insurance
                               renewal and remaining properties (1414-18 East 62nd Place; 1017 W 102nd
                               Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                               Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                               S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                               Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                               71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                               Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                               7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                               Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                               Calumet Avenue; 1102 Bingham (Houston, TX)) (.1); attention to claimant's
                               request for insurance coverage information (638-40 N Avers Avenue) (.1).


                               Business Operations
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         Date       Indiv Hours Description

         5/21/2021 KBD        0.50 Exchange correspondence with property manager regarding rental assistance
                                   program (7255 S Euclid Avenue) (.2); review and execute application
                                   documents for renewal of insurance (1414-18 East 62nd Place; 1017 W
                                   102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                                   7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue;
                                   8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403S Aberdeen
                                   Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800S Ada
                                   Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church
                                   Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                                   92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                   Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                                   Vernon Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue; 5437 S
                                   Laflin Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E 50th Street;
                                   6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester
                                   Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 1422-24 East
                                   68th Street; 7109-19 S Calumet Avenue; 1102 Bingham (Houston, TX)) (.3).

                                   Business Operations

         5/27/2021 KBD        2.20 Exchange various correspondence with insurance broker and others
                                   regarding supplemental applications (638-40 N Avers Avenue; 7237-43 S
                                   Bennett Avenue) (1.2); work on supplemental applications (638-40 N Avers
                                   Avenue; 7237-43 S Bennett Avenue) (1.0).

                                   Business Operations

         5/28/2021 KBD        0.50 Exchange correspondence with insurance broker and E. Duff regarding
                                   supplemental applications (638-40 N Avers Avenue; 7237-43 S Bennett
                                   Avenue).

                                   Business Operations


SUBTOTAL:                                                                                [ 8.20         3198.00]

Claims Administration & Objections

         5/3/2021   KBD       1.10 Exchange correspondence and telephone conference with J. Wine regarding
                                   efforts to retrieve records from EquityBuild vendors, service agreements,
                                   and cost (.4); work on responses claimants' communications relating to
                                   claims issues (.5); exchange correspondence with A. Porter regarding
                                   analysis of issue relating to claimants' claims (.2).

                                   Claims Administration & Objections

         5/4/2021   KBD       0.20 Exchange correspondence with J. Wine regarding document database and
                                   vendor expense issues.

                                   Claims Administration & Objections
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    Date        Indiv Hours Description

    5/5/2021    KBD       0.30 Work on document vendor expense and service agreement issues.

                               Claims Administration & Objections

    5/6/2021    KBD       0.90 Attention to document vendor issues relating to documents to be included in
                               EB documents database and vendor agreement (.6); exchange
                               correspondence with J. Wine regarding single claim process (1017 W 102nd
                               Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                               Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                               Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W
                               71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                               Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (.1);
                               attention to claimant communication issue (.2).

                               Claims Administration & Objections

    5/7/2021    KBD       0.20 Work on single claim process (1017 W 102nd Street; 1516 E 85th Place;
                               2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                               S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                               Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                               Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                               Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue).

                               Claims Administration & Objections

    5/10/2021 KBD         4.20 Work on single claim process (1017 W 102nd Street; 1516 E 85th Place;
                               2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                               S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                               Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                               Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                               Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue) (4.0); review information and
                               correspondence from claimants (.2).

                               Claims Administration & Objections

    5/11/2021 KBD         5.20 Work on single claim process (1017 W 102nd Street; 1516 E 85th Place;
                               2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                               S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                               Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                               Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                               Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
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    Date        Indiv Hours Description

                               Indiana Avenue; 8517 S Vernon Avenue) (3.5); confer with M. Rachlis and J.
                               Wine regarding single claim process (1017 W 102nd Street; 1516 E 85th
                               Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen
                               Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street;
                               6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue;
                               9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406
                               E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue) (1.7); continued...

                               Claims Administration & Objections

    5/11/2021 KBD         0.40 ...continued; telephone conferences with J. Wine regarding single claim
                               process (1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417
                               Oglesby Avenue; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S
                               Church Street; 2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell
                               Avenue; 7925 S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon
                               Avenue; 6825 S Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue;
                               7712 S Euclid Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S
                               Kingston Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610
                               S Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (.3);
                               review correspondence from claimant's counsel regarding evaluationof
                               properties and single claim process (7933 S Kingston Avenue; 8800 S Ada
                               Street; 8405 S Marquette Avenue) (.1).

                               Claims Administration & Objections

    5/12/2021 KBD         0.30 Work on single claim process (1017 W 102nd Street; 1516 E 85th Place;
                               2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                               S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                               Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                               Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                               Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue).

                               Claims Administration & Objections

    5/13/2021 KBD         0.50 Attention to vendor invoice and exchange correspondence with J. Wine
                               regarding document database vendor invoice (.1); work on
                               communication with claimants relating to claims process (.4).


                               Claims Administration & Objections

    5/17/2021 KBD         1.70 Exchange correspondence regarding potential claimants regarding potential
                               claim and communications (.2); communicate with vendor and A.
                               Watychowicz regarding accessto claims EB documents (.2); study draft joint
                               status report and related correspondence (.4); telephone conference with
                               and draft correspondence to M. Rachlis and J. Wine regarding joint status
                               report (.7); exchange correspondence with A. Watychowicz regarding
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       Date      Indiv Hours Description

                                  communications with claimants relating to claims process (.1); review
                                  vendor invoice and exchange related correspondence with J. Wine (.1).

                                  Claims Administration & Objections

       5/18/2021 KBD         2.20 Study and revise joint status report, review other revisions, and exchange
                                  various related correspondence with J. Wine and M. Rachlis (1.5); telephone
                                  conference and exchange correspondence with SEC (.2); work on
                                  communications with claimants regarding claims process (.2); attention to
                                  claims vendor progress invoice issues and exchange correspondence with J.
                                  Wine regarding same (.3).

                                  Claims Administration & Objections

       5/19/2021 KBD         0.40 Work on communications with claimants (.2); work on issues relatingto
                                  documents for database (.2).

                                  Claims Administration & Objections

       5/20/2021 KBD         0.50 Work on response to claimant regarding claim process and legal
                                  representation (.3); exchange correspondence with M. Rachlis regarding
                                  claimant's request for information regarding segregation of funds relating to
                                  property (638-40 N Avers Avenue) (.2).

                                  Claims Administration & Objections

       5/24/2021 KBD         0.70 Telephone conference with J. Wine regarding communications with database
                                  vendors and various issues relating to document culling and database
                                  population (.4); exchange correspondence with A. Watychowicz regarding
                                  communications with claimants regarding claim and master claim
                                  spreadsheet (.3).

                                  Claims Administration & Objections

       5/26/2021 KBD         0.40 Work on document culling issues and exchange correspondence with J. Wine
                                  and A. Watychowicz regarding vendor reports and various related issues.

                                  Claims Administration & Objections

       5/27/2021 KBD         1.00 Telephone conference with J. Wine and A. Watychowicz regarding claims
                                  database documents, culling considerations, and potential exclusions and
                                  inclusions (.8); attention to claim (7836 S Shore Drive) (.2).

                                  Claims Administration & Objections

       5/28/2021 KBD         0.30 Exchange correspondence relating to claim (7836 S Shore Drive).

                                  Claims Administration & Objections


SUBTOTAL:                                                                                  [ 20.50         7995.00]
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         Date       Indiv Hours Description

Tax Issues

         5/7/2021    KBD      0.20 Draft correspondence to K. Pritchard regarding tax authority notice (4533-47
                                   S Calumet Avenue).

                                   Tax Issues

         5/13/2021 KBD        0.40 Draft correspondence to tax administrator regarding property valuation
                                   information.

                                   Tax Issues


SUBTOTAL:                                                                                  [ 0.60           234.00]




                                                                                           59.70       $23,283.00



                                                Summary of Activity
                                                                                   Hours       Rate
Kevin B. Duff                                                                      59.70     390.00    $23,283.00
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                                   SUMMARY


              Legal Services                                  $23,283.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $23,283.00
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                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                               Suite 900                                  fax (312) 733-3952
                                        Chicago, Illinois 60605




August 5, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No.6621135
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period June 2021                                       $11,817.00

 Expenses Disbursed                                                            $0.00


 Due this Invoice                                                         $11,817.00
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        Date        Indiv Hours Description

Asset Analysis & Recovery

        6/2/2021    KBD       0.20 Exchange correspondence with claimant regarding theory as to
                                   potential asset.

                                   Asset Analysis & Recovery

        6/8/2021    KBD       0.40 Study correspondence from counsel for third party and with J. Wine regarding
                                   disputed asset.

                                   Asset Analysis & Recovery

        6/9/2021    KBD       0.20 Exchange correspondence with K. Pritchard regarding subpoena for
                                   records.

                                   Asset Analysis & Recovery

        6/10/2021 KBD         0.20 Telephone conferences and exchange correspondence with J. Wine
                                   regarding recovery of disputed asset and communications with third party
                                   counsel.

                                   Asset Analysis & Recovery

        6/11/2021 KBD         0.40 Draft demand letter to third party counsel and exchange related
                                   correspondence with J. Wine.

                                   Asset Analysis & Recovery

        6/15/2021 KBD         0.20 Exchange correspondence with J. Wine regarding negotiation relating to
                                   disputed asset.

                                   Asset Analysis & Recovery

        6/16/2021 KBD         1.40 Confer with A. Porter regarding potential claims and theories of liability and
                                   damages.

                                   Asset Analysis & Recovery

        6/22/2021 KBD         0.30 Exchange correspondence with J. Wine regarding settlement of asset dispute
                                   and work on agreement.

                                   Asset Analysis & Recovery

        6/23/2021 KBD         0.20 Exchange correspondence with J. Wine regarding settlement for disputed
                                   asset.

                                   Asset Analysis & Recovery

        6/24/2021 KBD         0.20 Study draft settlement agreement.

                                   Asset Analysis & Recovery

        6/25/2021 KBD         0.80 Study and revise draft settlement agreement and attention to related
                                   correspondence.
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         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         6/28/2021 KBD        1.20 Telephone conference with government representatives.


                                   Asset Analysis & Recovery

         6/29/2021 KBD        0.60 Study and revise draft settlement agreement relating to recovery of asset.


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 6.30           2457.00]

Asset Disposition

         6/1/2021    KBD      0.40 Exchange correspondence with J. Rak and K. Pritchard regarding allocation
                                   of sales proceeds and interest and study related information (single family).

                                   Asset Disposition

         6/2/2021    KBD      0.50 Telephone conferences and exchange correspondence with real estate
                                   broker regarding buyer default and potential remarking plan (1422 E
                                   68th Street) (.3); telephone conferences with A. Porter regarding buyer
                                   default and communications and negotiations with buyer's counsel (1422
                                   E 68th Street) (.2).

                                   Asset Disposition

         6/10/2021 KBD        0.50 Work on efforts to sell property (1422-24 East 68th Street) and address
                                   various issues relating to purchaser and closing and exchange related
                                   correspondence with A. Porter.

                                   Asset Disposition

         6/11/2021 KBD        0.20 Exchange correspondence with A. Porter regarding planning for sale of
                                   property (1102 Bingham (Houston, TX)).

                                   Asset Disposition

         6/14/2021 KBD        0.20 Study publication notice and exchange related correspondence with A. Porter
                                   (1102 Bingham (Houston, TX)).

                                   Asset Disposition

         6/15/2021 KBD        0.60 Confer with real estate broker and A. Porter regarding efforts to sell
                                   property (1422 E 68th Street) (.5); draft correspondence to J. Wine
                                   regarding publication for sale of property (1422 E 68th Street) (.1).

                                   Asset Disposition

         6/16/2021 KBD        0.40 Exchange correspondence with real estate broker and A. Porter regarding
                                   issues relating to sale of property (1422 E 68th Street) (.2); study
                                   correspondence from J. Rak regarding post-sale reconciliation of funds (.2).

                                   Asset Disposition
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    Kevin B. Duff, Receiver                                                                               Page 4



        Date       Indiv Hours Description




        6/17/2021 KBD         0.70 Telephone conference and exchange correspondence with A. Porter and real
                                   estate broker regarding efforts to sale property (1422-24 East 68th Street)
                                   (.5); telephone conference and exchange correspondence regarding
                                   publication of notice (1422-24 East 68th Street) (.2).

                                   Asset Disposition

        6/18/2021 KBD         0.30 Exchange correspondence with A. Porter and J. Rak regarding closing and
                                   related documents (1422-24 East 68th Street).

                                   Asset Disposition

        6/21/2021 KBD         0.30 Work on closing issues for sale of property (1422-24 E 68th Street) (.2); study
                                   marketing activities declaration (1102 Bingham (Houston, TX)) (.1).

                                   Asset Disposition

        6/23/2021 KBD         1.00 Work on closing documents (1422-24 E 68th Street; 7255-57 S Euclid
                                   Avenue; 6217-27 S Dorchester Avenue).

                                   Asset Disposition

        6/28/2021 KBD         0.20 Study correspondence from real estate broker regarding marketing efforts.

                                   Asset Disposition

        6/30/2021 KBD         0.20 Work on closing issues (7237-43 S Bennett Avenue).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 5.50          2145.00]

Business Operations

        6/1/2021      KBD     0.30 Attention to payment of insurance premium for policy renewal (7237-43 S
                                   Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue;
                                   7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet
                                   Avenue; 1102 Bingham (Houston, TX)).

                                   Business Operations

        6/3/2021      KBD     0.20 Attention to building security, evaluate same, and draft correspondence to
                                   property manager (7237-43 S Bennett Avenue).

                                   Business Operations

        6/7/2021      KBD     0.30 Study correspondence from J. Wine regarding administrative court
                                   proceedings (7051 S Bennett Avenue; 7210 S Vernon Avenue) (.2); study
                                   correspondence from property manager regarding property expenses (1401
                                   W 109th Place) (.1).
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Kevin B. Duff, Receiver                                                                             Page 5



    Date       Indiv Hours Description


                               Business Operations

    6/8/2021     KBD      0.30 Exchange correspondence regarding property expenses (1401 W 109th
                               Place) (.2); exchange correspondence with J. Wine regarding administrative
                               actions and property expenses (7051 S Bennett Avenue; 7210 S Vernon
                               Avenue; 6250 S Mozart Street; 7656-58 S Kingston Avenue) (.1).

                               Business Operations

    6/9/2021     KBD      0.30 Work with J. Wine on response to vendor expense and service issue (.1);
                               address utility expense issue (7109-19 S Calumet Avenue) (.1); attention to
                               administrative action involving property (7656-58 S Kingston Avenue) (.1).


                               Business Operations

    6/10/2021 KBD         0.30 Work on insurance renewal and exchange various related correspondence
                               (7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                               Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                               Calumet Avenue; 1102 Bingham (Houston, TX)).

                               Business Operations

    6/11/2021 KBD         1.10 Work on insurance renewal applications (1102 Bingham (Houston, TX);
                               6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7109-19 S Calumet
                               Avenue; 7237 S. Bennett Avenue; 7255 S Euclid Avenue; 1422 E 68th Street)
                               (.4); attention to property expense issue (7237 S. Bennett Avenue) (.1); work
                               on real estate tax issues (1102 Bingham (Houston, TX)) (.4); exchange
                               correspondence regarding administrative actions and various related
                               documents, correspondence, and expense issue (7656-58 S Kingston
                               Avenue) (.2).

                               Business Operations

    6/14/2021 KBD         0.50 Work on agreement to pay real estate taxes (1102 Bingham (Houston, TX))
                               (.2); review correspondence regarding property expenses analysis and
                               backup (.1); work on insurance renewal and exchange related
                               correspondence with broker (7237-43 S Bennett Avenue; 6217-27 S
                               Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue;
                               1422-24 E 68th Street; 7109-19 S Calumet Avenue; 1102 Bingham (Houston,
                               TX)) (.2).

                               Business Operations

    6/15/2021 KBD         1.00 Work on insurance renewal applications (1102 Bingham (Houston, TX);
                               6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7109-19 S Calumet
                               Avenue; 7237 S. Bennett Avenue; 7255 S Euclid Avenue; 1422 E 68th Street)
                               (.7); exchange correspondence with K. Pritchard and J. Rak regarding
                               payment of real estate taxes and related agreement (1102 Bingham
                               (Houston, TX)) (.2); attention to and exchange correspondence regarding City
                               notices and administrative proceedings (7051 S Bennett Avenue; 7210 S
                               Vernon Avenue) (.1).

                               Business Operations
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    Kevin B. Duff, Receiver                                                                              Page 6


         Date       Indiv Hours Description

         6/18/2021 KBD        0.60 Attention to communication from insurer's inspector (7109-19 S Calumet
                                   Avenue) (.1); attention to notice of violation and exchange correspondence
                                   with K. Pritchard and J. Rak (1102 Bingham (Houston, TX)) (.3); work on
                                   insurance renewal and related communications (7237-43 S Bennett Avenue;
                                   6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid
                                   Avenue; 1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102
                                   Bingham (Houston, TX)) (.2).

                                   Business Operations

         6/21/2021 KBD        0.30 Attention to property maintenance, insurance, and exchange related
                                   correspondence with property manager and J. Rak (1102 Bingham
                                   (Houston, TX)).

                                   Business Operations

         6/22/2021 KBD        0.60 Work with J. Rak on insurance renewal and exchange related
                                   correspondence with insurance broker (638-40 N Avers Avenue; 7237-43 S
                                   Bennett Avenue) (.5); attention to property maintenance and exchange
                                   correspondence with K. Pritchard regarding expense payment (1102 Bingham
                                   (Houston, TX)) (.1).

                                   Business Operations

         6/23/2021 KBD        0.70 Work on insurance renewal, revisions, and related issues and
                                   communications (638-40 N Avers Avenue; 7237 S Bennett) (.4); telephone
                                   conference with J. Wine and A. Porter regarding administrative court matter,
                                   communications with City, and potential claim (4750 S Indiana Avenue) (.2);
                                   attention to property expense (1102 Bingham (Houston, TX)) (.1).

                                   Business Operations

         6/24/2021 KBD        0.90 Attention to insurance premium refund (.1); work on insurance renewal and
                                   communications with insurance broker and exchange various related
                                   correspondence with E. Duff and J. Rak (.6); exchange correspondence with
                                   J. Wine regarding service of City notices (.2).

                                   Business Operations


SUBTOTAL:                                                                                  [ 7.40         2886.00]

Claims Administration & Objections

         6/1/2021   KBD       0.50 Exchange correspondence with A. Watychowicz and J. Wine regarding
                                   invoicing from vendor in connection with EB document database (.1);
                                   studycorrespondence from document database vendor and exchange
                                   related correspondence with J. Wine (.1); attention to claimant
                                   communication relating claim reporting (.1); work on communication with
                                   claimants regarding claims documentation (.1); exchange
                                   correspondence with J. Wine regarding EB documents for records
                                   database (.1).

                                   Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                             Page 7


    Date        Indiv Hours Description

    6/2/2021    KBD       0.40 Exchange correspondence with J. Wine regarding documents in records
                               database (.2); attention to claims documentation vendor invoice and
                               exchange related correspondence with J. Wine (.2).

                               Claims Administration & Objections

    6/3/2021    KBD       0.40 Study and exchange correspondence regarding records for EB documents
                               database (.2); attention to payment of claims vendor invoice (.2).


                               Claims Administration & Objections

    6/8/2021    KBD       0.20 Exchange correspondence with J. Wine regarding costs of maintaining
                               records and database.

                               Claims Administration & Objections

    6/9/2021    KBD       0.20 Work on response to claimants' counsel regarding claims process and EB
                               documents database.

                               Claims Administration & Objections

    6/10/2021 KBD         0.40 Study accounting records from database vendor.

                               Claims Administration & Objections

    6/11/2021 KBD         0.30 Review revised proposal for single claim process (1017 W 102nd Street;
                               1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                               Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                               Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W
                               71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                               Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue).

                               Claims Administration & Objections

    6/14/2021 KBD         0.40 Exchange correspondence regarding communication with claimant
                               regarding issue involving other claimants (.2); study correspondence from J.
                               Wine and work on single claim process (1017 W 102nd Street; 1516 E 85th
                               Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen
                               Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street;
                               6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue;
                               9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue;
                               406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S
                               Essex Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S
                               Constance Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue;
                               6759 S Indiana Avenue; 8517 S Vernon Avenue) (.2).
                               Claims Administration & Objections
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    Date      Indiv Hours Description

    6/16/2021 KBD          0.30 Study draft joint status report, related correspondence, and revision to same.

                                Claims Administration & Objections

    6/17/2021 KBD          1.20 Confer with M. Rachlis and J. Wine regarding claimants’ request for EB
                                records (.5); telephone conference with counsel for claimants regarding
                                subpoena for EB records (.3); study correspondence regarding joint
                                statusreport and potential third party discovery and related conference
                                with M. Rachlis and J. Wine (.4).

                                Claims Administration & Objections

    6/21/2021 KBD         0.50 Work on responses to claimants about EB documents database and disputes
                               claims process (.4); study vendor status report regarding document
                               databaseand related correspondence (.1).

                                Claims Administration & Objections

    6/22/2021 KBD          0.80 Study and revise document relating to claimants' request for records and
                                exchange related correspondence with J. Wine (.5); review and revise
                                responses to claimants about EB documents database and disputes claims
                                process (.3).

                                Claims Administration & Objections

    6/23/2021 KBD          0.60 Work on communication with claimants relating to claims process and
                                exchange related correspondence with J. Wine, A. Watychowicz, and M.
                                Rachlis (.4); exchange correspondence with J. Wine regarding documents in
                                EB database and production to claimant (.2).

                                Claims Administration & Objections

    6/24/2021 KBD          0.50 Exchange correspondence with J. Wine regarding issues relating to
                                documents in EB database and production to claimant (.4);
                                exchange correspondence with J. Wine regarding single claim
                                process (.1).

                                Claims Administration & Objections

    6/25/2021 KBD          1.10 Exchange correspondence with J. Wine regarding potential claims relating to
                                alleged property violations (.2); exchange correspondence with J. Wine
                                regarding claimants' request for records (.3); attention to communication
                                from claimant regarding claims process (.1); revise framing report (3074
                                Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.5).

                                Claims Administration & Objections

    6/28/2021 KBD          0.70 Exchange correspondence regarding production of documents and protective
                                order issue (.2); attention to communication from claimant regarding claims
                                document and document database (.1); work on framing report and related
                                communication and exhibits (.4).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                           Page 9



         Date     Indiv Hours Description

         6/29/2021 KBD        1.90 Study and revise process for single claim properties and draft related
                                   correspondence to J. Wine (1017 W 102nd Street; 1516 E 85th Place; 2136
                                   W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                                   Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                                   S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                                   Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                                   Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                                   Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                                   Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                                   Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                                   Indiana Avenue; 8517 S Vernon Avenue) (1.2); work on responses to
                                   claimant communications relating to claims process (.4); study framing
                                   report and exchange related correspondence with J. Wine and M. Rachlis
                                   (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                   Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.3).

                                   Claims Administration & Objections

         6/30/2021 KBD        0.70 Work on communications with claimants regarding claims process (.2); study
                                   and exchange correspondence regarding claimant login landing page for
                                   document database (.2); work on single claim process and study related
                                   correspondence from J. Wine (1017 W 102nd Street; 1516 E 85th Place;
                                   2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                                   Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                                   S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                                   Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                                   Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E
                                   87th Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                                   Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                                   Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                                   Indiana Avenue; 8517 S Vernon Avenue) (.3).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                [ 11.10       4329.00]




                                                                                         30.30      $11,817.00



                                               Summary of Activity
                                                                                 Hours       Rate
Kevin B. Duff                                                                    30.30     390.00   $11,817.00
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Kevin B. Duff, Receiver                                                      Page 10




                                   SUMMARY


              Legal Services                                  $11,817.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $11,817.00
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                Exhibit G
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                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                               Suite 900                                   fax (312) 733-3952
                                        Chicago, Illinois 60605




August 2, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No.6622133
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period April 2021                                     $77,074.00

Expenses Disbursed                                                            $763.01


Due this Invoice                                                          $77,837.01
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    Kevin B. Duff, Receiver                                                                               Page 2




        Date          Indiv Hours Description

Accounting/Auditing

         4/20/2021 KMP        0.30 Update fund ledgers for Receiver's accounts to record recent transactions
                                   (1401 W 109th Place; 638-40 N Avers Avenue).

                                   Accounting/Auditing

         4/23/2021 KMP        0.20 Review online banking records to confirm receipt of funds from property
                                   manager for utility refunds (7442-54 S Calumet Avenue; 7701-03 S Essex
                                   Avenue), and related communication with property manager.

                                   Accounting/Auditing


SUBTOTAL:                                                                                 [ 0.50               70.00]

Asset Analysis & Recovery

        4/1/2021      JRW     0.20 Exchange correspondence with third-party regarding documents produced
                                   pursuant to subpoena.

                                   Asset Analysis & Recovery

        4/5/2021      KMP     0.70 Review correspondence from former asset holder regarding subpoena, and
                                   telephone conferences with asset holder's representative andregistered
                                   agent services regarding same (.3); communication with J. Wine regarding
                                   same (.2); review correspondence from potential asset holder regarding
                                   document production in response to subpoena,and related communication
                                   with J. Wine (.2).

                                   Asset Analysis & Recovery

        4/6/2021      JRW     0.20 Exchange correspondence with third-party, K.Duff and K. Pritchard regarding
                                   delivery of subpoenaed documents.

                                   Asset Analysis & Recovery

        4/7/2021      JRW     2.20 Confer with K. Duff and K. Pritchard regarding subpoenaed documents
                                   (.1), review documents produced pursuant to subpoena and prepare notes
                                   regarding same (1.8); telephone conference with counsel regarding
                                   potential third party claim (.3).

                                   Asset Analysis & Recovery

        4/8/2021      JRW     0.20 Correspondence with K. Duff regarding third party and related research.

                                   Asset Analysis & Recovery

        4/12/2021 JRW         0.20 Telephone conference with third-party regarding service of subpoena.

                                   Asset Analysis & Recovery
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         Date       Indiv Hours Description




         4/12/2021 KMP        0.20 Further communications with J. Wine regarding status of service of subpoena
                                   on former asset holder.

                                   Asset Analysis & Recovery

         4/14/2021 JRW        0.20 Review letter from counsel for policyholder.


                                   Asset Analysis & Recovery

                     KMP      0.30 Revise subpoena to former asset holder and communications with K. Duff
                                   and J. Wine regarding same.

                                   Asset Analysis & Recovery

         4/15/2021 JRW        0.40 Telephone conference with counsel for third party and K. Duff regarding
                                   asset.


                                   Asset Analysis & Recovery

                     KMP      1.30 Draft subpoena, rider, and notice letter to third party regarding asset (3816
                                   Tapestry Court) and related communications with K. Duff and J. Wine.


                                   Asset Analysis & Recovery

         4/30/2021 JRW        0.20 Telephone conference with counsel and K. Duff regarding potential asset
                                   (.1); telephone conference with K.Duff regarding same (.1).


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 6.30          1338.00]

Asset Disposition

         4/1/2021    AEP      7.60 Review title commitment for each property in single-family home portfolio,
                                   create list of special exceptions requiring attention and create exhibit to
                                   forthcoming motion to confirm identifying all encumbrances on all 38
                                   properties (single family) (4.2); teleconference with counsel for secured
                                   lenders regarding process for allocating values across all individual properties
                                   in single-family home portfolio (single family) (.6); communications with
                                   prospective purchaser of single-family homes regarding earnest money wiring
                                   instructions (single family) (.1); prepare communications to property
                                   managers regarding restrictions on new leases and building security at
                                   single-family homes (single family) (.1); review title commitments for all
                                   remaining properties subject to tenth motion to confirm (4611-17 S Drexel
                                   Blvd.; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue; 7255-57 S
                                   Euclid Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street; 4750-52 S
                                   Indiana Avenue; 7840-42 S Yates Avenue), create list of action items
                                   pertaining to deletion of remaining special exceptions, teleconference with J.
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Kevin B. Duff, Receiver                                                                               Page 4



    Date       Indiv Hours Description

                               Rak regarding existence of judgment releases, prepare e-mail to counsel for
                               purchasers inviting scheduling of closings, and prepare proposed order
                               granting tenth motion to confirm in remaining part (2.3); teleconferences with
                               counsel for City of Chicago regarding necessity of obtaining releases of aged
                               judgments (4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue) (.3).

                               Asset Disposition

    4/1/2021    JR        3.90 Update property sale income spreadsheet and produce same to K. Duff (see
                               D) (.9); exchange further correspondence with A. Porter regarding
                               discrepancy found on master EB portfolio spreadsheet related to net
                               proceeds of closed properties (8100 S Essex Avenue; 8047-55 S Manistee
                               Avenue; 7051 S Bennett Avenue; 4315-19 S Michigan Avenue) (.1); follow up
                               correspondence with buyer's counsel and buyers requesting buyer
                               information related to closings (6217-27 S Dorchester Avenue; 2800-06 E
                               81st Avenue; 1422-24 E 68th Street) (.3); update water applications related
                               to upcoming closings (7840-42 S Yates Avenue; 7255-57 S Euclid Avenue;
                               7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 4611-17 S Drexel
                               Boulevard; 1422-24 E 68th Street; 2800-06 E 81st Street) (1.3); draft email
                               correspondence to the title company water department requesting title
                               commitment updates pertaining towater applications (7840-42 S Yates
                               Avenue; 7255-57 S Euclid Avenue; 7024-32 S Paxton Avenue; 4750-52 S
                               Indiana Avenue; 4611-17 S Drexel Boulevard; 1422-24 E 68th Street; 2800-
                               06 E 81st Street) (.2); serve 12th motion to confirm sales (638-40 N Avers
                               Avenue) (1.1).

                               Asset Disposition

                JRW       0.40 Telephone conference with J. Rak regarding service of 12th motion to confirm
                               sales on claimants (638-40 N Avers Avenue) (.1); review and revise proposed
                               order granting remainder of 10th motion to confirm sales (4611-17 S Drexel
                               Boulevard; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               7255-57 S Euclid Avenue; 4750-52 S Indiana Avenue; 1422-24 E 68th Street;
                               2800-06 E 81st Street; 7840 S Yates Avenue) (.3).

                               Asset Disposition

                KMP       0.80 Review post-sale accounting by property manager, annotate spreadsheet
                               relating to same, and communicate with E. Duff regarding same (6250 S
                               Mozart Street).

                               Asset Disposition

                MR        0.30 Attention to 12th sales motion and order (638-40 N Avers Avenue) (.1);
                               attention to court's ruling on 10th sales motion (4611-17 S Drexel Boulevard;
                               6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid
                               Avenue; 4750-52 S Indiana Avenue; 1422-24 E 68th Street; 2800-06 E 81st
                               Street; 7840 S Yates Avenue) (.2).

                               Asset Disposition

    4/2/2021    AEP       7.00 Review proposed changes to order granting tenth motion to confirm and
                               make additional changes thereto (4611-17 S Drexel Boulevard; 6217-27 S
                               Dorchester Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue;
                               4750-52 S Indiana Avenue; 1422-24 E 68th Street; 2800-06 E 81st Street;
                               7840 S Yates Avenue) (.1); prepare e-mail to property manager (4611-17 S
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    Date       Indiv Hours Description

                               Drexel Boulevard.; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               7255-57 S Euclid Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue) requesting no further
                               lease renewals or capital improvement expenditures (.1); prepare e-mail to
                               property manager (7255-57 S Euclid Avenue) requesting no further lease
                               renewals or capital improvement expenditures (.1); research closing
                               documentation, communicate with survey company regarding payment
                               delinquency, and prepare e-mail to J. Wine requesting disbursement from
                               (7625-33 S East End Avenue) property account to pay survey invoice
                               inadvertently omitted from closing statement (.2); review release of
                               administrative judgment (4750-52 S Indiana Avenue), confirm receipt, and
                               update closing checklist (.1); prepare spreadsheet of single-family homes,
                               review purchaser's inspection contingency price reduction demands, confer
                               with K. Duff, and create proposed allocations of value for inclusion in
                               thirteenth motion to confirm sales (single family) (1.2); final revisions to
                               proposed order granting tenth motion to confirm (4611-17 S Drexel
                               Boulevard.; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               7255-57 S Euclid Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue) (.1); cont'd in next entry

                               Asset Disposition

    4/2/2021    AEP            Cont'd from previous entry:: review spreadsheet prepared by title company,
                               communicate with K. Duff regarding estimate of fire damage sustained at
                               single-family home property, merge spreadsheets, prepare final draft of
                               proposed allocations of value of single-family homes, and transmit same to
                               title company and lender's counsel requesting prompt review and finalization
                               (single family) (.8); communications with lenders' counsel regarding
                               methodology for allocating values of single-family home properties (single
                               family) (.2); review chain of title for every single property in single-family home
                               portfolio and compile list of all mortgage encumbrances against same in
                               connection with finalization of title commitments and preparation of motion to
                               confirm sale (single family) (4.1).

                               Asset Disposition

                JR        5.00 Exchange correspondence with the title company requesting title updates
                               related to buyer information (7840-42 S Yates Avenue; 7255-57 S Euclid
                               Avenue; 7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 4611-17 S
                               Drexel Boulevard; 1422-24 E 68th Street; 2800-06 E 81st Street) (.2); prepare
                               water certifications and exchange further correspondence with the title
                               company requesting processing of same (7840-42 S Yates Avenue; 7255-57
                               S Euclid Avenue; 7024-32 S Paxton Avenue; 4750-52S Indiana Avenue;
                               4611-17 S Drexel Boulevard; 1422-24 E 68th Street; 800-06 E 81st Street)
                               (.8); review email from real estate broker and provide requested due diligence
                               documents for property (4611-17 S Drexel Boulevard) (.1); review updated
                               property title commitmentand save in corresponding property electronic
                               folders (2800-06 E 81st Street;1422-24 East 68th Street) (.1); update master
                               EquityBuild portfolio spreadsheet with correct net proceed amounts for
                               various properties (8100 S Essex Avenue; 8047-55 S Manistee Avenue; 7051
                               S Bennett Avenue; 4315-19 S Michigan Avenue) (.2); update closing
                               documents and closing files with pertinent information in preparation for
                               closing (7840-42 S Yates Avenue;7255-57 S Euclid Avenue; 7024-32 S
                               Paxton Avenue; 4750-52 S Indiana Avenue; 4611-17 S Drexel Boulevard;
                               1422-24 E 68th Street; 2800-06 E 81stStreet) (3.4); exchange
                               correspondence with the property management informing of order
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    Date       Indiv Hours Description

                               approving and confirming sales process and requesting updated rent rolls
                               for properties in anticipation for sale (7840-42 S Yates Avenue; 7255-57 S
                               Euclid Avenue; 7024-32 S PaxtonAvenue; 4750-52 S Indiana Avenue; 4611-
                               17 S Drexel Boulevard; 1422-24 E68th Street; 2800-06 E 81st Street) (.2).

                               Asset Disposition

    4/2/2021    JRW       0.90 Email exchange regarding surveyor invoice (7635-43 S East End Avenue)
                               (.1); finalize and serve proposed order approving remainder of 10th sales
                               motion and related correspondence with A. Porter (4611-17 S Drexel
                               Boulevard; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               7255-57 S Euclid Avenue; 4750-52 S Indiana Avenue; 1422-24 E 68th Street;
                               2800-06 E 81st Street; 7840 S Yates Avenue) (.4); exchange
                               correspondence with court clerk regarding revision to proposed order (7749-
                               59 S Yates Boulevard) and revise same (.3); related email to claimants'
                               counsel (7749-59 S Yates Boulevard)(.1).

                               Asset Disposition

    4/5/2021    AEP       4.70 Read regulatory agreement recorded against title (7024-32 S Paxton Avenue)
                               (.4); read extended use agreement recorded against title (6217-27 S
                               Dorchester Avenue) (.4); review revised title commitments (4611-17 S Drexel
                               Boulevard; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               1422-24 East 68th Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue;
                               7840-42 S Yates Avenue; 7255-57 S Euclid Avenue) to ensure absence of
                               new encumbrances (.7); prepare e-mail to title underwriter requesting deletion
                               of municipal judgments and regulatory agreement from title commitment
                               (7024-32 S Paxton Avenue) (.1); prepare first draft of broker’s declaration
                               regarding single-family home marketing process (single family) (.4); continue
                               preparing motion to confirm sale of single-family homes and accompanying
                               exhibits (single family) (1.6); prepare e-mails to prospective purchasers
                               (4611-17 S Drexel Boulevard; 6217-27 S Dorchester Avenue; 7024-32 S
                               Paxton Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street;4750-52 S
                               Indiana Avenue; 7840-42 S Yates Avenue; 7255-57 S Euclid Avenue)
                               specifying closing dates of each conveyance (.4); review chain of title (8030
                               S Marquette Avenue) and prepare e-mails to surveyor and title insurer noting
                               continuing discrepancies in legal descriptions (.7).

                               Asset Disposition

                JR        6.10 Review email from the title company regarding completed water certificate
                               and update files (1422-24 East 68th Street) (.1); review email from property
                               manager relating to requested property documents and update files in
                               anticipation of closings (7840-42 S Yates Avenue; 7255-57S Euclid Avenue;
                               7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 4611-17 S Drexel
                               Boulevard; 1422-24 E 68th Street; 2800-06 E 81st Street; 6217-27 S
                               Dorchester Avenue) (.8); prepare water application for property (6217-27 S
                               Dorchester Avenue) and submit to the title company for processing (.3);
                               review emails and further exchange correspondence with buyer requesting
                               buyer information pertaining to closing (6217-27 S Dorchester Avenue) (.1);
                               review emails and exchange communication with buyer's counsel requesting
                               buyer information in preparation forclosing (2800-06 E 81st Street) (.2);
                               review email from property manager related to requested tenant information
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    Date       Indiv Hours Description

                               Pertaining to various properties and in anticipation of closing (7840-42 S
                               Yates Avenue; 7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 4611-
                               17 S Drexel Boulevard; 1422-24 E 68th Street; 2800-06 E 81st Street; 6217-
                               27 S Dorchester Avenue) (.1); update property files and closing documents
                               relating to same (7840-42 S Yates Avenue; 7024-32 S Paxton Avenue;
                               4750-52 S Indiana Avenue; 4611-17 S Drexel Boulevard; 1422-24 E 68th
                               Street; 2800-06 E 81st Street; 6217-27 S Dorchester Avenue) (4.5).

                               Asset Disposition

    4/5/2021    JRW       0.90 Review and revise 13th motion to confirm sales (single family) (.3); related
                               review of offering memorandum (single family) (.1); correspondence
                               regarding notice of administrative violation (2129 W 71st St) (.1); review
                               court's order granting remainder of 10th sales motion and related
                               correspondence with K. Duff (4611-17 S Drexel Boulevard; 6217-27 S
                               Dorchester Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue;
                               4750-52 S Indiana Avenue; 1422-24 E 68th Street; 2800-06 E 81st Street;
                               7840 S Yates Avenue) (.1); exchange correspondence with A. Porter
                               regarding purchasers taking title subject to pending proceedings (4611-17 S
                               Drexel Boulevard; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                               7255-57 S Euclid Avenue; 4750-52 S Indiana Avenue; 1422-24 E 68th Street;
                               2800-06 E 81st Street; 7840 S Yates Avenue) (.3).

                               Asset Disposition

    4/6/2021    AEP       7.80 Prepare e-mails to title company requesting scheduling of closings (6217-27
                               S Dorchester Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue) (.2); incorporate J.
                               Wine's comments into draft motion to confirm sale of single-family home
                               portfolio (single family) (.1); review offering memorandum relating to
                               single-family home portfolio and revise sworn declaration of receivership
                               broker (single family) (.2); read e-mails from prospective purchaser and
                               request updated rent rolls and T-12's (7255-57 S Euclid Avenue; 6217-27 S
                               Dorchester Avenue) (.1); teleconference with title company regarding final
                               computation of agency fees and mechanics and timeline for closing of
                               single-family homes portfolio (single family) (.2); continue preparation of
                               motion to confirm sales of single-family homes portfolio, including preparation
                               of proposed order, preparation of remaining exhibits, final reconciliation of
                               declaration of receivership broker with factual assertions in brief, assemble all
                               documentation, and forward to receiver with request for final comments
                               (single family) (2.1); teleconferences with title underwriters regarding various
                               approaches to structuring closing of single-family portfolio sale (single family)
                               (.4); review updated rent rolls and T-12's (7255-57 S Euclid Avenue; 6217-27
                               S Dorchester Avenue) (.1); communications with M. Rachlis and K. Duff
                               regarding valuation methodology relating to motion to confirm sale of
                               single-family home portfolio (single family) (.2); review revised title
                               commitment (4611-17 S Drexel Boulevard) and prepare e-mail to title
                               company regarding release of recently recorded judgment (.1);
                               teleconference with title underwriters regarding additional issues associated
                               with closing of sale of single-family homes, including allocations of closing
                               costs and proof of notice to affected mortgagees (single family) (.3); cont'd in
                               next entry.

                               Asset Disposition
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    Date       Indiv Hours Description

    4/6/2021    AEP            Cont'd from previous entry: review all title exceptions by prospective
                               purchaser of single-family homes, research same, and prepare
                               comprehensive list of remaining action items associated with requirement to
                               convey clean title (single family) (3.8).

                               Asset Disposition


                JR        3.00 Review emails from real estate broker requesting various property reports
                               related to buyer lender requests for properties and respond accordingly
                               (6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue; 4611-17 S Drexel
                               Boulevard) (.4); exchange correspondence with property management
                               requesting property reports (7255-57 S Euclid Avenue; 4611-17 S Drexel
                               Boulevard) (.3); review email from buyer's counsel related to previous
                               request for buyer information for property (2800-06 E 81st Street), respond
                               accordingly and update electronic files (.4); review email from the title
                               company related to updated title commitment and update electronic files
                               (6217-27 S Dorchester Avenue) (.1); review email from A. Porter regarding
                               zoning certificates for single family homes, update same and further
                               correspond with the title company requesting to process in anticipation for
                               closing (single family) (1.8).

                               Asset Disposition

                MR        0.40 Attention to 13th sales motion (single family) (.2) communicate regarding
                               same with A. Porter and other team members on methodology for single
                               family homes (single family) (.2).

                               Asset Disposition

    4/7/2021    AEP       2.40 Review and assemble documentation associated with EquityBuild partnership
                               affiliate formed to acquire property (1516 E 85th Place) and revise draft
                               motion to confirm sale of single-family home portfolio to include corporate
                               entity (1516 E 85th Pl Associates) as additional receivership defendant (1.7);
                               teleconference with K. Duff regarding final allocation issues associated with
                               motion to confirm sale of single-family home portfolio (single family) (.2);
                               make final edits to motion to confirm sale of single-family home portfolio,
                               assemble all exhibits, and transmit to counsel for institutional lender for final
                               review prior to filing (single family) (.5).

                               Asset Disposition

                JR        0.20 Review email from property manager related to a buyer lender request for
                               documents and forward same to real estate broker (4611-17 S Drexel
                               Boulevard).

                               Asset Disposition

    4/8/2021    AEP       2.40 Communications with title company regarding processing of zoning
                               certificates for single-family homes, correction of errors regarding unit counts,
                               and timing of processing of water certificates (single family) (.2);
                               communications with title company and counsel for prospective purchaser
                               regarding vacatur of judgment (4611-17 S Drexel Boulevard), recordation of
                               release, and revision of title commitment (.2); communications with property
                               manager, K. Duff, and counsel for institutional lender regarding quotes to
                               secure properties (1414-18 E 62nd Place; 7210 S Vernon Avenue) (.2);
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    Date       Indiv Hours Description

                               prepare comprehensive e-mail memorandum to title underwriter regarding
                               basis for deletion of numerous special exceptions on title to single-family
                               home portfolio (single family) (.8); finalize response to counsel for prospective
                               purchaser of single-family home portfolio regarding special exceptions to be
                               deleted from title commitment (single family) (.4); communications with
                               counsel for institutional lender regarding delivery of release of financing
                               statement (1414-18 E 62nd Place) (.1); review final signed declaration from
                               receivership broker, audit and finalize all exhibits to motion to confirm sale of
                               single-family home portfolio, and deliver final motion papers to K. Duff for
                               filing and service (single family) (.3); review e-mail from J. Rak and prepare
                               e-mail to title underwriter requesting revision of title commitment to reflect
                               amended legal description changes (8030 S Marquette Avenue; 8403 S
                               Aberdeen Street) (.2).

                               Asset Disposition

    4/8/2021    JR        1.10 Review single family homes due diligence documents in preparation for
                               closing and update electronic files (single family).

                               Asset Disposition

    4/9/2021    AEP       1.70 Teleconference with J. Rak regarding status of preparation of closing
                               documents (single-family; 4750-52 S Indiana Avenue; 7024-32 S Paxton
                               Avenue; 7840-42 S Yates Avenue) (.3); review title commitment (4750-52 S
                               Indiana Avenue), update closing checklist, and prepare e-mail to title
                               underwriter requesting revisions to commitment (.4); review title commitment
                               (7024-32 S Paxton Avenue), update closing checklist, and prepare e-mail to
                               title underwriter requesting revisions to commitment (.4); review title
                               commitment (7840-42 S Yates Avenue), update closing checklist, and
                               prepare e-mail to title underwriter requesting revisions to commitment (.4);
                               prepare e-mail to counsel for former institutional lender requesting release of
                               financing statement (6217-27 S Dorchester Avenue) (.2).

                               Asset Disposition

                JR        0.50 Exchange correspondence with K. Duff regarding scheduling meeting related
                               to execute documents for upcoming closings (7840-42 S Yates Avenue;
                               7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st
                               Street) (.1); exchange correspondence with buyer requesting buyer
                               information required for upcoming closings (single family) (.2); review email
                               from buyer's counsel requesting property reports relatedto upcoming sale
                               (2800-06 E 81st Avenue) and provide same (.2).

                               Asset Disposition

    4/12/2021 AW          1.50 Review thirteenth sale motion and prepare notice of motion and certificate of
                               service for title company (single family) (.7); email exchangeregarding filing
                               of thirteenth sale motion, finalize motion, file with court, and communicate
                               with K. Duff regarding service of same (single family) (.4); prepare service
                               email and serve as per certificate of service (single family) (.4).

                               Asset Disposition
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    4/12/2021 JR          3.10 Review properties scheduled to close, exchange communication with the
                               property managers requesting property reports (7840-42 SYates Avenue;
                               7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue) (.2); update closing
                               documents in preparation for closing (7840-42 S Yates Avenue; 7024-32 S
                               Paxton Avenue; 4750-52 S Indiana Avenue) (2.8); exchange
                               correspondence with property management regarding status of closing
                               (7255-57 S Euclid Avenue) (.1).

                               Asset Disposition

                KMP       0.20 Communications with K. Duff and A. Watychowicz regarding thirteenth motion
                               to approval property sales and related affidavit of service requested by title
                               company (single family).

                               Asset Disposition

    4/13/2021 JR          6.90 Review email from K. Duff relating to closed properties and post-closing
                               reconciliation amounts and respond accordingly (see D) (.1); review previous
                               reports and further correspond with the property managers regarding post-
                               reconciliation amounts (see D) (.3); exchange correspondencewith K. Duff
                               pertaining to status of balance of property taxes and payment of same (see
                               D) (.1); update property tax balance for remainder of properties in the estate
                               and communicate with K. Duff regarding same (see E) (1.3); update closing
                               documents in preparation for closing (7840-42 S Yates Avenue; 7024-32 S
                               Paxton Avenue; 4750-52 S Indiana Avenue) (2.9); exchange
                               correspondence with K. Duff and N. Gastevich regarding execution of closing
                               documents for properties in anticipation for closing (7840-42 S Yates
                               Avenue; 7024-32 S Paxton Avenue;4750-52 S Indiana Avenue) (.3);
                               exchange correspondence with buyer regarding requested buyer information
                               related to closings (single family) (.1); review post reconciliation amounts,
                               update reports and further exchange correspondence with K. Duff and
                               property management regarding same for closed properties (see D) (1.4);
                               further correspondence with property management and K. Duff relating to
                               transfer of cash balance for previously transferred property to another
                               management company (7109-19 S Calumet Avenue) (.4).

                               Asset Disposition

    4/14/2021 AEP         0.60 Review updated title commitments and invoices (7024-32 S Paxton Avenue;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue), compare with existing
                               commitments, and send copies of same to prospective purchasers (.4);
                               communications with prospective purchaser (7255-57 S Euclid Avenue)
                               regarding broken underground piping, remediation plan, and timing of repairs
                               (.2).

                               Asset Disposition

                JR        4.80 Exchange correspondence with K. Pritchard requesting production of closing
                               documents in anticipation of closings (7840-42 S Yates Avenue; 7024-32 S
                               Paxton Avenue; 4750-52 S Indiana Avenue) (.1); review email from the title
                               company relating to processed water applications, save in electronic files and
                               update closings checklists (2800-06 E 81st Street; 4750-52 S Indiana
                               Avenue) (.2); exchange correspondence with property management relating
                               to transfer of cash balance and payment of property taxes (7109-19 S
                               Calumet Avenue) (.3); further correspondence with property manager
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                               regarding the transfer (7109-19 S Calumet Avenue) (.3); review email from
                               real estate broker requesting delinquency reports and provide same (4611-
                               17 S Drexel Boulevard) (.1); exchange further communication with property
                               management requesting additional property reports for property in
                               anticipation for closing (4611-17 S Drexel Boulevard) and requested by buyer
                               (.1); forward reports to real estate broker and update electronic files (4611-17
                               S Drexel) (.1); exchange correspondence with property management
                               requesting payment of all property tax balances that remain in the
                               EquityBuild estate (see E) (.2); review email from A. Porter requesting the
                               title company to schedule closing of property (2800-06 E 81st Street) and
                               update electronic files (.1); review additional due diligence documents related
                               to single family homes (single family) (.5); update closing documents related
                               to the single family home portfolio (single family) (2.8).

                               Asset Disposition

    4/15/2021 AEP         5.90 Comprehensive and final review and inventory of all exceptions to title on
                               single-family home portfolio, preparation of final checklist, and transmit same
                               to title company underwriter with request for teleconference (single family)
                               (2.3); review recorded judgments, research cases through online dockets,
                               review files for evidence of title insurance, and prepare e-mail to title
                               underwriter requesting deletion of five special exceptions (2800-06 E 81st
                               Street) (.7); review and analyze recorded judgments against single-family
                               homes (2136 W 83rd Street; 5437 S Laflin Street) and prepare e-mail to title
                               underwriter requesting deletion based on non-revival (.4); prepare e-mail to
                               property manager requesting information regarding status of payment of
                               judgments against single-family homes (7210 S Vernon Avenue; 7922 S
                               Luella Avenue) (.2); endless transfers through City of Chicago Water
                               Department in effort to locate representative capable of comprehending
                               request for release of lien (1401 W 109th Place), review title and account
                               history for all entities in chain of title through present with customer service
                               representative, and arrange for recording of release (.7); review and inventory
                               all closing documents associated with conveyance (4750-52 S Indiana
                               Avenue), update closing checklist accordingly, and prepare draft closing
                               statement (.8); review and inventory all closing documents associated with
                               conveyance (7024-32 S Paxton Avenue), update closing checklist
                               accordingly, and prepare draft closing statement (.8).

                               Asset Disposition

                JR        6.80 Final review of lien waivers for properties in anticipation for closing (7840-42
                               S Yates Avenue; 7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue;
                               2800-06 E 81st Street) (.5); exchange correspondence with real estate broker
                               regarding lien waivers (7840-42 S Yates Avenue; 7024-32S Paxton Avenue;
                               4750-52 S Indiana Avenue; 2800-06 E 81st Street) (.2); update power of
                               attorney for property and exchange related correspondence with K. Duff
                               (2800-06 E 81st Street) (.1); review payment of property taxes and update
                               electronic files for various properties managed and paid by property manager
                               (9610 S Woodlawn Avenue; 310 E 50th Street; 6807S Indiana Avenue; 7255-
                               57 S Euclid Avenue) (.3); exchange correspondencewith property
                               management advising of closing (2800-06 E 81st Street)(.1); update closing
                               documents regarding property (2800-06 E 81st Street) (1.8); review email
                               from K. Duff requesting updated spreadsheet related to purchase price, sale
                               price and single family home value allocations related toall properties, further
                               related correspondence with A. Porter and prepare report regarding value
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                               allocations (single family) (.7); update master spreadsheet portfolio with
                               value allocations related to single family homes(single family) (.5); update
                               water applications for single family homes (single family) (2.6).

                               Asset Disposition


    4/16/2021 AEP         3.60 Review and inventory all closing documents associated with conveyance
                               (7840-42 S Yates Avenue), update closing checklist accordingly, and prepare
                               draft closing statement (.8); review and inventory all closing documents
                               associated with conveyance (2800-06 E 81st Street), update closing checklist
                               accordingly, and prepare draft closing statement (.8); check status of tax
                               payments and prepare closing figures (4750-52 S Indiana Avenue; 7024-32 S
                               Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street) (1.2);
                               review and revise deed and money escrow instructions (4750-52 S Indiana
                               Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E
                               81st Street) (.8).

                               Asset Disposition

                JR        4.70 Update water applications for single family homes (single family) (1.3);
                               exchange correspondence with buyer requesting buyer information related
                               to water bills for single family homes (single family) (.2); review email from
                               title company related to processed water applications for single family
                               homes and other properties scheduled to close and update electronic files
                               (single family; 4611-17 S Drexel Boulevard; 7024-32 S Paxton Avenue) (.1);
                               follow up correspondence with real estate broker requesting buyer
                               information for closing (7840-42 S Yates Avenue) (.1); review email from
                               property management related to review of tax payments regarding past due
                               and current property tax payments, save in electronic filesand update
                               spreadsheet regarding same (see E) (1.3); update buyer information on
                               water applications for single family homes (single family) (1.7).

                               Asset Disposition

    4/19/2021 AEP         0.80 Teleconference with title company underwriter regarding requests for waiver
                               of assorted special exceptions to title commitments on single-family home
                               portfolio (single family) (.7); review latest revised title commitments on
                               single-family home portfolio and save in files (single family) (.1).

                               Asset Disposition

                JR        6.70 Review email from K. Duff related to status of property tax payments on the
                               remainder of EquityBuild properties in the estate and provide requested
                               information (see E) (.2); review email from K. Duff related to lawn
                               maintenance regarding property (1102 Bingham ((Houston, TX)) and further
                               correspond with real estate broker regarding same (.1); review email from
                               property management related to requested property reports, tenant leases
                               and subsidy information regarding properties scheduled to close (7840-42
                               S Yates Avenue; 7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue;
                               2800-06 E 81st Street) (.1); further correspondence with property
                               management requesting additional property and tenant related information
                               in preparation for closings (7840-42 S Yates Avenue; 7024-32 S Paxton
                               Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st Street) (.8); review
                               requested leases, subsidy agreements, rent rolls, delinquency reports and
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    Date      Indiv Hours Description

                               ledgers and updatecertified rent rolls, closing documents and electronic
                               files regarding same (7840-42 S Yates Avenue; 7024-32 S Paxton
                               Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st Street) (5.2);
                               exchange correspondence with management company providing and
                               requesting execution of waivers and notices to tenants for properties in
                               anticipation forclosing (7840-42 S Yates Avenue; 7024-32 S Paxton
                               Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st Street) (.3).

                               Asset Disposition

    4/20/2021 AEP         1.50 Review closing checklists (4750-52 S Indiana Avenue; 7024-32 S Paxton
                               Avenue) in preparation for closing (.1); teleconference with counsel for City of
                               Chicago regarding need for original release associated with judgment
                               (4750-52 S Indiana Avenue) (.1); communications with prospective purchaser
                               (7255-57 S Euclid Avenue), update closing checklist, and contact surveyor for
                               updated copy (.2); communications with J. Rak and J. Wine regarding
                               existence of original copies of lien releases associated with judgments
                               (7024-32 S Paxton Avenue) (.2); research status of deletion of special
                               exceptions on title commitment (2800-06 E 81st Street) and prepare follow-up
                               communication with title underwriter seeking update (.1); prepare e-mail to
                               surveyor requesting certifications to specified parties on surveys (4750-52 S
                               Indiana Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates Avenue;
                               2800-06 E 81st Street) (.2); communications with prospective purchaser of
                               single-family homes regarding projected closing timeline (single family) (.2);
                               research for EIN's associated with corporate entities (SSDF4 7024 S Paxton
                               LLC; SSDF4 Holdco 4 LLC) (.2); review revised surveys (7024-32 S Paxton
                               Avenue; 7840-42 S Yates Avenue;7255-57 S Euclid Avenue; 2800-06 E 81st
                               Street), and distribute same to title company underwriter and counsel for
                               prospective purchasers (.2).

                               Asset Disposition

                JR        2.60 Review ledger for property (7840-42 S Yates Avenue) in anticipation for
                               closing and study the discrepancy between rent roll and leger (.2); exchange
                               correspondence with property management regarding same (7840-42 S
                               Yates Avenue) (.2); review email from real estate broker regarding letters to
                               tenants (2800-06 E 81st Street) and request clarification for closing(.1);
                               exchange correspondence with A. Porter regarding upcoming closings and
                               execution of documents regarding same (7840-42 S Yates Avenue; 7024-32
                               S Paxton Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st Street) (.1);
                               review email from real estate broker regarding executed lien waivers, update
                               electronic files regarding same (7840-42 S Yates Avenue; 7024-32 S Paxton
                               Avenue; 4750-52 S Indiana Avenue; 2800-06 E 81st Street) (.2); produce all
                               closing documents in preparation for signing (7840-42 S Yates Avenue;
                               7024-32 S Paxton Avenue;4750-52 S Indiana Avenue; 2800-06 E 81st
                               Street) (1.8).

                               Asset Disposition

    4/21/2021 AEP         5.00 Oversee execution of all closing documents associated with conveyances
                               (4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates
                               Avenue; 2800-06 E 81st Street) (1.4); attend closing (4750-52 S Indiana
                               Avenue) (2.2); conference with prospective purchaser (7024-32 S Paxton
                               Avenue), prospective purchaser's lender, and title underwriters regarding
                               refusal of title company to waive special exception relating to regulatory
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                               agreement, contact potential new title insurer regarding impasse, and arrange
                               for cancellation of closing and scheduling of new closing with substitute title
                               company (1.4).

                               Asset Disposition

    4/21/2021 JR          5.00 Meeting with A. Porter and K. Duff signing all required documents for
                               upcoming closings (7840-42 S Yates Avenue; 7024-32 S Paxton Avenue;
                               4750-52 S Indiana Avenue; 2800-06 E 81st Street) (1.4); attend closing of
                               property (4750-52 S Indiana Avenue) (3.2); exchange correspondence with
                               the real estate broker, property management, K. Duff and K. Pritchard
                               regarding closed property (4750-52 S Indiana Avenue) (.2); exchange
                               correspondence with the title company requesting the release of earnest
                               money and water cert for buyer related to title company change and
                               related to closing same (7024-32 S Paxton Avenue) (.2).

                               Asset Disposition

                KMP       0.20 Review online banking records to confirm receipt of sale proceeds of property
                               (4750-52 S Indiana Avenue) and related communication with J. Rak.

                               Asset Disposition

    4/22/2021 AEP         0.70 Read Extended Use Agreement (6217-27 S Dorchester Avenue), research
                               low-income housing tax credit provisions of United States Code to determine
                               end date of restrictions on title, and prepare e-mail advising prospective
                               purchaser to notify lender of corresponding special exception to lender's
                               policy in order to avoid last-minute closing issues.

                               Asset Disposition

                JR        0.50 Review email from A. Porter and respond accordingly related to return of
                               earnest money (7024-32 S Paxton Avenue) (.1); exchange communication
                               with property management regarding key exchange for property related to
                               closing (4750-52 S Indiana Avenue) (.2); exchange communication with
                               buyer's counsel regarding approval of notices to tenants related to upcoming
                               closing (7840-42 S Yates Avenue) (.2).

                               Asset Disposition

    4/23/2021 AEP         7.00 Review notices to tenants in connection with prospective conveyance
                               (7840-42 S Yates Avenue) and prepare revisions thereto (.1); read
                               correspondence from counsel for prospective purchaser (4611-17 S Drexel
                               Boulevard) and request closing date from title company (.1); review title
                               package and prepare and submit examiner worksheet in connection with
                               request for title commitment for conveyance (7024-32 S Paxton Avenue)
                               (1.1); conference call with prospective purchaser (7840-42 S Yates Avenue)
                               regarding necessity of identifying new management company on notices to
                               tenants (.2); attend closing of (7840-42 S Yates Avenue) (4.5); review title
                               commitment associated with conveyance (7024-32 S Paxton Avenue), review
                               fee estimate, complete disclosure statement, and update closing figures, and
                               schedule closing (.4); review and update closing checklists and prepare
                               e-mail to prospective purchaser (6217-27 S Dorchester Avenue; 7255-57 S
                               Euclid Avenue) requesting status of readiness to close (.1); prepare e-mail to
                               title underwriter requesting guidance regarding misplacement of original copy
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                               of release of judgment (7024-32 S Paxton Avenue) (.1); review closing
                               checklist (2800-06 E 81st Street) and prepare e-mail to prospective purchaser
                               regarding need to schedule closing (.1); teleconference with prospective
                               purchaser (7237-43 S Bennett Avenue) regarding status of judicial ruling on
                               motion to confirm sale (.3).

                               Asset Disposition

    4/23/2021 JR          6.20 Attend closing (7840-42 S Yates Avenue) (4.7); exchange correspondence
                               with the title company and buyer's counsel regarding closing (7840-42 S
                               Yates Avenue) (1.3); further correspondence with real estate broker and
                               property management advising on closing status (7840-42 S Yates Avenue)
                               (.2).

                               Asset Disposition

    4/26/2021 AEP         0.40 Communications with prospective purchaser and title company regarding
                               remaining tasks associated with transfer of closing (7024-32 S Paxton
                               Avenue) to new title company and assembly and delivery of information and
                               documentation to new title company.

                               Asset Disposition

                JR        4.20 Review email from property management requesting closing update (7840-
                               42 S Yates Avenue) and respond accordingly (.1); exchange
                               correspondence with the title company requesting closing documents from
                               closing of property (7840-42 S Yates Avenue) (.1); update electronic files
                               regarding closed property (7840-42 S Yates Avenue) (.9); exchange
                               correspondence with various parties advising of closing (7840-42 S Yates
                               Avenue) (.2); review email from A. Porter relatedto transfer of earnest money
                               regarding property scheduled to close (7024-32S Paxton Avenue) (.1);
                               further correspondence with the title company requesting release of earnest
                               money (7024-32 S Paxton Avenue) (.1); review and update closing
                               documents in electronic files related to closing (4750-52 S Indiana Avenue)
                               (.6); update closing documents related to rescheduled closing of property
                               (7024-32 S Paxton Avenue) (1.9); exchange correspondence with property
                               management advising of closing date (7024-32 S Paxton Avenue) (.1);
                               review email from A. Porter related to obtaining releases related to single
                               family homes in preparation forclosing and respond accordingly (single
                               family) (.1).

                               Asset Disposition

    4/27/2021 AEP         0.40 Cursory review of judicial order approving motion to confirm sale of
                               single-family home portfolio and distribute same to brokers, title underwriters,
                               buyers, buyers' counsel, and counsel for institutional lenders (single family)
                               (.2); review zoning certificates received on various single-family home
                               properties and communicate with J. Rak regarding filing and inventorying of
                               same (single family) (.2).

                               Asset Disposition

                AW        0.50 Communicate with J., Wine regarding proposed order granting thirteenth sale
                               motion, work to finalize order, and email J. Wine regarding same (single
                               family).

                               Asset Disposition
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    4/27/2021 JR          4.50 Follow up correspondence with buyer requesting buyer information in
                               anticipation of closings (single family) (.2); exchange correspondence with
                               the City of Chicago water department requesting a release related to a
                               water lien recorded against property (1401 W 109th Place) (.8); exchange
                               correspondence with various parties at the City of Calumet City related to
                               closing requirements for property (417 Oglesby Avenue) (1.2); review the
                               required documents needed to be submitted to the city, update electronic
                               files and further exchange correspondence with A. Porter regarding same
                               (417 Oglesby Avenue) (.5); exchange correspondence with S. Zjalic
                               requesting property management reports related to repairs, provide closed
                               property worksheet (see F) (.3); exchange correspondence with K. Duff and
                               A. Porter related to closed properties and upcoming properties scheduled to
                               close (7840-42 S Yates Avenue; 1422-24 East 68th Street; 2800-06 E 81st
                               Street; 4750-52 S Indiana Avenue; 638-40 N Avers Avenue; 7237-42 S
                               Bennett Avenue; 1102 Bingham (Houston, TX); 7255-57 S Euclid Avenue;
                               7109-19 S Calumet Avenue; 7024-32 S Paxton Avenue; 6217-27 S
                               Dorchester Avenue; 4611-17 S Drexel Boulevard) (.1); exchange
                               communication with buyer related to scheduling of closing
                               (1422-24 E 68th Street) (.2); update requested buyer information in electronic
                               files regarding preparation for upcoming closing (1422-24 E 68th Street) (.3);
                               review email from the title company regarding zoning certificates and update
                               electronic files (7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                               Woodlawn Avenue; 8107-09 S Kingston Avenue; 8346 S Constance
                               Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 1401 W 109th
                               Place; 310 E 50th Street; 6807 S Indiana Avenue) (.9).


                               Asset Disposition

                JRW       0.70 Finalize proposed order granting 13th sales motion (single family) (.4); related
                               correspondence to courtroom deputy regarding entry of order (single family)
                               (.3).

                               Asset Disposition

                KMP       0.20 Review online banking records to confirm receipt of proceeds from sale of
                               property and communicate with K. Duff and J. Rak regarding same (7840-42
                               S Yates Avenue).

                               Asset Disposition

    4/28/2021 AEP         1.80 E-mail communications with title underwriter regarding inability to obtain
                               releases of prior security documents (5437 S Laflin Street) (.1), e-mail
                               communications with J. Rak regarding inability to obtain new borrower
                               information from prospective purchaser of single-family homes and need to
                               update title commitments (single family) (.1); update and finalize closing
                               statement (2800-06 E 81st Street) (.1); attend closing (7024-32 S Paxton
                               Avenue) (1.5).

                               Asset Disposition
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    4/28/2021 JR          5.60 Exchange communication with buyer relating to scheduling of properties for
                               closing (single family) (.5); complete the property inspection report relating
                               to property (417 Oglesby Avenue) and further related correspondence with
                               buyer's counsel (.2); review property reports in preparation for closing
                               (7024-32 S Paxton Avenue) (1.5); exchange communication with the
                               property management company relating to tenants rent credit discrepancies
                               (7024-32 S Paxton Avenue) (.3);attend closing of property (7024-32 S
                               Paxton Avenue) (2.5); exchange correspondence with broker, K. Pritchard,
                               K. Duff and property management regarding closed property (7024-32 S
                               Paxton Avenue) (.2); exchange correspondence with vendor requesting
                               processing of water certifications regarding properties (single family) (.1);
                               exchange correspondence with buyer producing updated due diligence
                               documents related to closing (7024-32 S Paxton Avenue) (.3).

                               Asset Disposition

                KMP       0.20 Prepare check for property inspection and communicate with J. Rak and K.
                               Duff regarding same (417 Oglesby Avenue).

                               Asset Disposition

    4/29/2021 AEP         0.60 Review closing checklists (7255-57 S Euclid Avenue; 6217-27 S Dorchester
                               Avenue; 1422-24 E 68th Street), and prepare e-mails to counsel for
                               purchasers notifying of designated closing dates (.3); review title commitment
                               and underlying judgment documentation, check status of litigation, and
                               communications with title underwriter regarding removal of special exception
                               on title policy (2800-06 E 81st Street) (.3).

                               Asset Disposition

                JR        4.50 Review email from real estate broker related to closing (7024-32 S Paxton
                               Avenue) and respond accordingly (.1); exchange correspondence with S.
                               Zjalic and provide requested sold property report (see F) (.1); exchange
                               correspondence with buyer's counsel related to scheduling closing of
                               property (1422-24 E 68th Street) (.1); review email from
                               K. Pritchard related to status of funds from closing (7024-32 S Paxton
                               Avenue) (.1); further correspondence with the title company and K. Duff
                               regarding confirmation of wire instructions pertaining to same (7024-32 S
                               Paxton Avenue) (.4); exchange communication with property management
                               requesting property reports in anticipation forclosing (2800-06 E 81st Street)
                               (.2); exchange communication with buyer's counsel related to notice received
                               for property previously sold (4520-26 S Drexel Boulevard) (.1); follow up
                               communication with real estate broker requesting an update relating to grass
                               trimming at property (1102 Bingham (Houston, TX)) (.1); review property
                               reports related to closing (7024-32 S Paxton Avenue) (1.5); exchange
                               correspondence with property management requesting updates regarding to
                               same (7024-32 S Paxton Avenue) (.3); review email from vendor regarding
                               obtaining water certifications for properties and related correspondence with
                               A. Porter (single family) (.2); exchange correspondence with the title
                               company requesting updates tothe title commitments for properties (single
                               family) (.3); submit water applications to the title company regarding water
                               applications (single family) (.6); further correspond with the title company
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                               regarding water applications (single family) (.3); follow up
                               correspondence with J. Wine regarding Harris county tax balance and
                               possible foreclosure action (1102 Bingham (Houston, TX)) (.1).

                               Asset Disposition

    4/29/2021 KMP         0.40 Review online account information to follow up on receipt of property sale
                               proceeds (7024 S Paxton) and related communication with K. Duff and J. Rak
                               (.2); verify wire instructions for title company's transfer of sale proceeds
                               (7024-32 S Paxton Avenue) (.2).

                               Asset Disposition

    4/30/2021 AEP         2.90 Communications with counsel for prospective purchaser (4611-17 S Drexel
                               Boulevard) and J. Rak regarding status of full payment water certificate (.1);
                               review first draft of settlement statement associated with prospective sale
                               (2800-06 E 81st Street) and certified rent roll (.1); complete EPL
                               questionnaire in connection with sale (2800-06 E 81st Street) (.2); review
                               assignment of purchase and sale contract associated with single-family home
                               portfolio and update receivership spreadsheet tying each property to each
                               prospective purchaser (single family) (.3); attend closing of property sale
                               (2800-06 E 81st Street) (1.4); review water certificates received for all
                               properties in EB South Chicago 1 and EB South Chicago 2 (1017 W 102nd
                               Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                               Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                               S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                               Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                               Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8436 S
                               Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue) and
                               update closing checklists (.2); review value allocations for single-family
                               homes for listing purposes and value allocations per agreement with secured
                               lenders, and include information in portfolio spreadsheet (single family) (.6).

                               Asset Disposition

                JR        6.00 Review email from A. Porter regarding water certificate expiration for property
                               (4611-17 S Drexel Boulevard) and provide same (.2); attend closing (2800-06
                               E 81st Street) (3.1); notify all parties of closed property (2800-06 E 81st
                               Street) (.2); review email from buyer regarding requested inspection
                               application related to property (417 Oglesby Avenue) and request further
                               information regarding inspection application (417 Oglesby Avenue) (.2);
                               review email from property management regarding requested property
                               reports related to the property insurance renewals (see A) (.2); follow up
                               correspondence with the title company requesting fully executed closing
                               documents (2800-06 E 81st Street) (.1); update closing documents into
                               electronic files (2800-06 E 81st Street) (.5); exchange correspondence with
                               property management requesting updated rent rolls for remainder of
                               properties in the estate regarding property insurance renewal (see A) (.2);
                               review requested water certification and update electronic files for properties
                               (single family) (.6); review email from S. Zjalic and provide requested property
                               addresses (7508 S Essex Avenue; 7450 S Luella Avenue)(.2); update closed
                               property workbook and exchange correspondence informing of same (see G)
                               (.2); exchange correspondence with the buyer providing updated due diligence
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                                   documents related to sale (2800-06 E81st Street) (.3).

                                   Asset Disposition

        4/30/2021 KMP         0.20 Review online account information to follow up on receipt of property sale
                                   proceeds (7024 S Paxton Avenue; 2800 E 81st Street) and related
                                   communications with K. Duff and J. Rak.

                                   Asset Disposition


SUBTOTAL:                                                                                   1[ 64.50     39753.00]

Business Operations

        4/1/2021      JRW     1.30 Review administrative orders (7600-10 S Kingston Avenue; 6554-58 S
                                   Vernon Avenue; 7109-19 S Calumet Avenue; 7656-58 S Kingston Avenue;
                                   5618-20 S Martin Luther King Drive) and LLC annual report notices, update
                                   records and work with K. Pritchard on docketing hearing dates (.9); related
                                   review of City of Chicago administrative hearing website and portfolio
                                   regarding sale dates and correspondence regarding conflict for hearing date
                                   (.2); exchange correspondence with A. Porter regarding administrative
                                   proceeding (7024 S. Paxton) (.1); exchange correspondence with A. Porter
                                   regarding releases (4750-52 S Indiana Avenue) (.1).

                                   Business Operations

        4/5/2021      ED      0.90 Begin review drafts of November accounting reports for 27 properties
                                   (8209 S Ellis Avenue; 11117-11119 SLongwood Drive; 7300-04 S St
                                   Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                                   7051 S Bennett Avenue; 3074 S Cheltenham Place; 2736-44 W 64th
                                   Street; 5618-20 S Martin Luther King Drive; 6356 SCalifornia Avenue;
                                   6355-59 S Talman Avenue; 7201 S Constance Avenue;6554-58 S Vernon
                                   Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue;
                                   7508 S Essex Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-
                                   54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill
                                   Avenue; 4533-47 S Calumet Avenue; 4315-19 S MichiganAvenue; 7600-10
                                   S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41E 79th Place;
                                   6250 S Mozart Street) (.3); begin review drafts of November
                                   accounting reports for two properties (3074 S Cheltenham Place;7201 S
                                   Constance Avenue) (.3); begin review drafts of November accounting reports
                                   for one property (4533-37 S Calumet Avenue) (.1); begin review drafts of
                                   November accounting reports for 14 properties (1017 W 102nd Street; 1516
                                   E 85th Place; 2136 W 83rd Street; 417 OglesbyAvenue; 7922 S Luella
                                   Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                                   Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                                   S Marquette Avenue; 8529 S Rhodes Avenue; 8800 SAda Street; 9212 S
                                   Parnell Avenue) (.2); (Continued I)

                                   Business Operations

                      ED      1.20 ...(Continued I); begin review drafts of November accounting reports for 15
                                   properties (10012 S LaSalle Avenue; 11318 S Church Street;3213 S
                                   Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street;
                                   6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
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                               Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon
                               Avenue) (.2); begin review drafts of November accounting reports for six
                               properties (2129 W 71st Street; 5437 S Laflin Street; 6759 S Indiana
                               Avenue; 9610 S Woodlawn Avenue; 7300-04 St Lawrence Avenue; 7760 S
                               Coles Avenue) (.1); begin review drafts of November accounting reports for
                               seven properties (1401 W 109th Place; 310 E 50th Street; 6807 S Indiana
                               Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8209 S Ellis
                               Avenue; 8214-16 S Ingleside Avenue) (.1); begin reviewdrafts of November
                               accounting reports for one property (.1); begin review drafts of November
                               accounting reports for nine properties (6217-27 S Dorchester Avenue; 4520-
                               26 S Drexel Boulevard; 4611-17 S Drexel Avenue; 7110 S Cornell Avenue;
                               6250 S Mozart Street; 6749-59 S Merrill Avenue; 7255-57 S Euclid Avenue;
                               7109-19 S Calumet Avenue; 7024-32 S Paxton Avenue) (.2); begin review
                               drafts of November accounting reports for fourteen properties (2736-44 W
                               64th Street; 4315-19 S Michigan Avenue; 6356 S California Avenue; 6355-59
                               S Talman Avenue; 7201-07 S Dorchester Avenue; 7600-10 S Kingston
                               Avenue; 7656-58 S Kingston Avenue; 7957-59 S Marquette Road; 8326-32 S
                               Ellis Avenue; 7508 S Essex Avenue; 7051 S Bennett Avenue; 7442-54 S
                               Calumet Avenue; 7701-03 S Essex Avenue; 816-22 E Marquette Road) (.5);
                               (Continued II)...

                               Business Operations

    4/5/2021    ED        1.10 ...(Continued II); begin review drafts of November accounting reports for one
                                property (638-40 N Avers Avenue) (.1); begin review drafts ofNovember
                                accounting reports for two properties (5450-52S Indiana Avenue; 7749-59 S
                                Yates Boulevard) (.3); begin review drafts of November accounting reports
                                for two properties (1700-08 W Juneway Terrace; 6949-6959 S Merrill
                                Avenue) (.2); begin review drafts of November accounting reports for six
                                properties (1422-24 East 68th Street; 2800-06 E 81st Street; 4750-52 S
                                Indiana Avenue; 7840-42 S Yates Avenue; 5618-20 S Martin Luther King
                                Drive; 6554-58 S Vernon Avenue) (.2); begin review drafts of November
                                accounting reports for four properties (11117-11119 S Longwood Drive;
                                7237-43 S Bennett Avenue; 6437-41 SKenwood Avenue; 8100 S Essex
                                Avenue (.3); Continued (III)...

                               Business Operations

                ED        0.50 ...(Continued III); review and reply to lender's counsel (1017 W 102nd Street;
                                1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                                Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                                S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S VernonAvenue; 7712 S
                                Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S KingstonAvenue; 8346 S
                                Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue; 9610 S Woodlawn
                                Avenue; 7300-04 St Lawrence Avenue; 7760 S Coles Avenue; 1401 W 109th
                                Place; 310 E 50th Street; 6807 S Indiana Avenue; 8000-02 S Justine Street;
                                8107-09 S Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue)
                                regarding financial reporting (.3); and related email correspondence with K.
                                Duff and M. Rachlis (.2).

                               Business Operations
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    Date        Indiv Hours Description



    4/6/2021    JRW       0.20 Telephone conference with insurer regarding matter (7110 S Cornell Avenue)
                               (.1); confer with K. Pritchard regarding administrative hearing (7109-19 S
                               Calumet Avenue) (.1).

                               Business Operations

    4/7/2021    JR        1.60 Review email from E. Duff related to status of November property report
                               review and respond accordingly (.1); review November property financial
                               reports (1.5).

                               Business Operations

    4/8/2021    KMP       0.20 Communications with insurance broker and K. Duff regarding confirmation
                               that no additional funds are owed on GL/umbrella and property insurance
                               policies with financing company.

                               Business Operations

    4/9/2021    AEP       0.30 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding status of
                               pending administrative proceeding (7051 S Bennett Avenue) (.1) and
                               potential avenues for settling or resolving lawsuit involving personal injury
                               claim (7110 S Cornell Avenue) (.2).

                               Business Operations

                JR        3.20 Review property financial reports.

                               Business Operations

                JRW       0.80 Continued monitoring of status of CIty of Chicago Administrative hearings and
                               review of pending administrative matters (2832-36 W 63rd Street; 6250 S
                               Mozart Street) (.2); conference with K. Duff, A. Porter and M. Rachlis
                               regarding pending administrative matter stemming from inspection prior to
                               sale (7051 S Bennett Avenue) (.2); conference with K. Duff, A. Porter and M.
                               Rachlis regarding legal action relating to injury at property (7110 S Cornell
                               Avenue) (.2); telephone conference with corporation counsel regarding
                               motion to set aside administrative matter (6250 S Mozart) and follow-up
                               email (.2).

                               Business Operations

                MR        0.40 Conferences with J. Wine, A. Porter and K. Duff regarding administrative
                               matter at property (7051 Bennett Avenue) (.2); conferences with A. Porter, J.
                               Wine and K. Duff regarding potential liability issue (7110 SCornell Avenue)
                               (.2).

                               Business Operations

    4/12/2021 AW          0.30 Attention to scanned hearing notice (2832-36 W 63rd Street; 6250 S Mozart
                               Street) and email J. Wine regarding same (.1); email exchanges regarding
                               access to email accounts and saved emails (.2).


                               Business Operations
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    Date        Indiv Hours Description



    4/13/2021 JRW         0.30 Review administrative order (6250 S Mozart Street) and work with A.
                               Watychowicz on docketing (.1); review property manager results summary
                               and related exchange with K. Duff regarding pending motion and payments
                               (7051 S Bennett Avenue; 8201 S Kingston Avenue; 8047-55 S Manistee
                               Avenue; 7749-59 S Yates Boulevard; 1414-18 East 62nd Place) (.2).

                               Business Operations

    4/14/2021 AEP         0.40 Read e-mails from K. Duff and K. Pritchard regarding holdback funds
                               released in connection with refinancing (6160-6212 S Martin Luther King
                               Drive), review and analyze corresponding settlement statement,and prepare
                               response regarding account.

                               Business Operations

                JRW       0.80 Prepare list of pending administrative matters (7109-19 S Calumet Avenue;
                               2129 W 71st Street; 4520-26 S Drexel Boulevard; 7110 S Cornell Avenue;
                               6250 S Mozart Avenue; 7051 S Bennett Avenue; 7600 S Kingston Avenue;
                               7656 S Kingston Avenue; 6949-59 S Merrill Avenue; 6554-58 S Vernon
                               Avenue) (.6); related telephone conference with corporation counsel (.2).


                               Business Operations

                KMP       0.50 Attention to communications with property manager regarding issues relating
                               to utility invoices (2736-44 W 64th Street; 638-40 N Avers Avenue) (.2);
                               arrange for payment of second half 2020 property taxes online (638-40 N
                               Avers Avenue) and related communications with K. Duff and J. Rak (.3).

                               Business Operations

    4/15/2021 JRW         0.50 Prepare spreadsheet of pending administrative matters requested by
                               corporation counsel and related correspondence (7109-19 S Calumet
                               Avenue; 2129 W 71st Street; 4520-26 S Drexel Boulevard; 7051 SBennett
                               Avenue; 7110 S Cornell Avenue; 6250 S Mozart Street; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue; 6949-59 S Merrill Avenue;
                               6554-58 S Vernon Avenue) (.4); attention to continuation order in
                               administrative proceeding (6949-59 S Merrill Avenue) (.1).

                               Business Operations

    4/16/2021 AW          0.40 Attention to email from institutional lender requesting audit inforegarding
                               property (6949-59 S Merrill), revise draft response, and email proposed
                               revisions to K. Duff and M. Rachlis.

                               Business Operations

                SZ        0.30 Email communication with K. Pritchard about restoration motion and review of
                               schedules of receipts and disbursements.


                               Business Operations
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    Date      Indiv Hours Description




    4/19/2021 KMP         1.00 Prepare forms for funds transfers to property manager for property-related
                               expenses (638-40 N Avers Avenue; 1401 W 109th Place) and related
                               communications with K. Duff and bank representatives (.4); telephone
                               conferences and exchange email correspondence with K. Duff and S. Zjalic
                               regarding issues relating to property expenses (.3); prepare electronicfile
                               comprising spreadsheets and other materials relating to funds requests from
                               property manager and forward to S. Zjalic (.3)

                               Business Operations

                SZ        3.50 Phone and email communication with the Receiver about repair expenses
                               (.3); review of the exhibits attached to status reports after March 31, 2020
                               to create a list of non-recurring repair expenses (1.9); attention to property
                               manager's past fund requests and related email communication with K.
                               Pritchard (1.3).


                               Business Operations

    4/20/2021 AEP         1.60 Attend administrative court to defend pending cases (7600-10 S Kingston
                               Avenue; 7656-58 S Kingston Avenue; 6554-58 SVernon Avenue; 7109-19 S
                               Calumet Avenue).

                               Business Operations

                JRW       0.20 Exchange correspondence with A. Porter regarding administrative matters
                               (7051 S Bennett Avenue; 7656-58 S Kingston Avenue; 7109-19 S Calumet
                               Avenue; 7600-10 S Kingston Avenue; 6558 S Vernon Avenue) (.2).

                               Business Operations

                KMP       0.20 Communicate with property manager regarding funds transfers for
                               property-related expenses (638-40 N Avers Avenue; 1401 W 109th Place).

                               Business Operations

                SZ        2.70 Continued to review expenses (7237-43 S Bennett Avenue; 7109-19 S
                               Calumet Avenue; 638-40N Avers Avenue; 701-13 S 5th Avenue).

                               Business Operations

    4/21/2021 JR          0.30 Follow up correspondence with property management requesting property
                               inspection update (7109-19 S Calumet Avenue; 6217-27S Dorchester
                               Avenue) (.1); follow up correspondence with property management
                               requesting property inspection update (7255-57 S Euclid Avenue) (.1);
                               review email from K. Duff regarding property insurance applications and
                               follow up with real estate broker requesting completion of insurance
                               application (1102 Bingham (Houston, TX)) (.1).


                               Business Operations
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    Date      Indiv Hours Description




    4/22/2021 AEP         0.20 Review all orders entered in administrative actions (7600-10 S Kingston
                               Avenue; 7656-58 S Kingston Avenue; 6554-58 S Vernon Avenue; 7109-19 S
                               Calumet Avenue), save copies of same to appropriate files, and prepare
                               e-mail to J. Wine regarding status.

                               Business Operations

                KMP       0.20 Communicate with S. Zjalic regarding investigation of property manager's
                               expenses.

                               Business Operations

                SZ        2.30 Attention to property manager's property repair expenses (1.1); continue
                               topopulate the list of property expenses (1.2).


                               Business Operations

    4/23/2021 JRW         0.20 Review administrative order and update docket regarding same (4520-26 S
                               Drexel Boulevard) (.1); email exchange with property manager regarding
                               repair estimate (7255-57 S Euclid Avenue) (.1).

                               Business Operations

                SZ        0.20 Finalized and submitted a draft of property repair expenses (7237-43 S
                               Bennett Avenue; 7109-19 S Calumet Avenue; 638-40 N Avers Avenue;
                               701-13 S 5th Avenue) to the Receiver for his review.

                               Business Operations

    4/26/2021 AEP         0.50 Read e-mail from K. Duff regarding potential waiver by institutional lender of
                               right to oppose imposition of receiver's lien, read case law, and prepare
                               response thereto.

                               Business Operations

                SZ        0.70 Review of properties (7237-43 S Bennett Avenue; 7109-19 S Calumet
                               Avenue; 638-40 N Avers Avenue; 701-13 S 5th Avenue) to extract expense
                               items.

                               Business Operations

    4/27/2021 ED          0.20 Email correspondence with K. Pritchard and accountants regarding process
                               for attributing insurance premium expense to sold and unsold properties
                               (8209 S Ellis Avenue; 11117-11119 SLongwood Drive; 7300-04 S St
                               Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                               7051 S Bennett Avenue; 3074 S Cheltenham Place; 2736-44 W 64th
                               Street; 5618-20 S Martin Luther King Drive; 6356 S California Avenue;
                               6355-59 S Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon
                               Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508
                               S Essex Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S
                               Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue;
                               4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S
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    Date      Indiv Hours Description

                               Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41E 79th Place; 6250
                               S Mozart Street) (.2); (Continued)...

                               Business Operations

    4/27/2021 ED          0.10 ...(Continued); email correspondence with K. Pritchard and with insurance
                                agent regarding process for attributing insurance premium expense to sold
                                and unsold properties (8209 S Ellis Avenue; 11117-11119 S Longwood
                                Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                                Marquette Road; 7051 S Bennett Avenue; 3074 SCheltenham Place; 2736-
                                44 W 64th Street; 5618-20 S Martin Luther King Drive; 6356 S California
                                Avenue; 6355-59 S Talman Avenue; 7201 S Constance Avenue; 6554-58
                                S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                                Avenue; 7508 S Essex Avenue; 431 E 42ndPlace; 7701-03 S Essex
                                Avenue; 7442-54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59
                                S Merrill Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-
                                41 E 79th Place; 6250 S Mozart Street) (.1).

                               Business Operations

                JRW       0.30 Correspondence with corporation counsel regarding resolution of pending
                               administrative matters (7109-19 S CalumetAvenue; 2129 W 71st Street;
                               4520-26 S Drexel Boulevard; 7110 S CornellAvenue; 6250 S Mozart
                               Avenue; 7051 S Bennett Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                               Kingston Avenue; 6949-59 S Merrill Avenue;6554-58 S Vernon Avenue)
                               (.2); review notice of violation and related correspondence with J. Rak
                               (4750-52 S Indiana Avenue) (.1).

                               Business Operations

                KMP       1.60 Review documentation and prepare spreadsheet relating to refunds for
                               property and GL-umbrella insurance subsequent to sales of various
                               properties, and communicate with E. Duff regarding same (8326-32 S Ellis
                               Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis
                               Avenue; 6749-59 S Merrill Avenue).

                               Business Operations

                SZ        2.40 Email communication with property manager to obtain list ofrepairs
                               associated with SFH-Trench 1 properties (1017 W 102nd Street; 1516E 85th
                               Place; 2136 W 83rd Street; 417 S Oglesby Avenue; 7922 S Luella Avenue;
                               7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                               Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405S
                               Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Ave), SFH-Tranch 2 properties (10012 S LaSalle Avenue; 11318 S
                               Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                               61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                               Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                               Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                               Vernon Avenue) to review and retrieve repair documentation.

                               Business Operations
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     Date      Indiv Hours Description

     4/28/2021 ED          0.30 Calls with insurance agent to discuss allocation of insurance expenditures to
                                properties to reflect timing of property sales, and next steps for completion of
                                December 2020 accounting reports (8209 S EllisAvenue; 11117-11119 S
                                Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue;
                                7957-59 S Marquette Road; 7051 S Bennett Avenue;3074 S Cheltenham
                                Place; 2736-44 W 64th Street; 5618-20 S Martin Luther King Drive; 6356 S
                                California Avenue; 6355-59 S Talman Avenue; 7201 S Constance Avenue;
                                6554-58 S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S
                                Dorchester Avenue; 7508 S Essex Avenue; 431 E 42ndPlace; 7701-03 S
                                Essex Avenue; 7442-54 S Calumet Avenue; 816-22 E Marquette Road;
                                6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41
                                E 79th Place; 6250 S Mozart Street) (.3); (Continued)...

                                Business Operations

                 ED        0.40 ...(Continued); calls with accountants and J. Rak to discuss allocation of
                                 insurance expenditures to properties to reflect timing of property sales, and
                                 next steps for completion of December 2020 accounting reports (8209 S
                                 Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S St Lawrence
                                 Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road; 7051 S
                                 Bennett Avenue; 3074 S Cheltenham Place; 2736-44 W 64th Street; 5618-
                                 20 S Martin Luther King Drive; 6356 S California Avenue; 6355-59 S
                                 Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon Avenue;
                                 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                                 Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                                 Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                                 Calumet Avenue; 4315-19 S MichiganAvenue; 7600-10 S Kingston Avenue;
                                 7656-58 S Kingston Avenue; 1131-41E 79th Place; 6250 S Mozart Street)
                                 (.4).

                                Business Operations

                 JR        0.50 Conference call with E. Duff and accounting firm regarding December
                                reports (8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S
                                St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                                7051 S Bennett Avenue; 3074 SCheltenham Place; 2736-44 W 64th
                                Street; 5618-20 S Martin Luther King Drive; 6356 S California Avenue;
                                6355-59 S Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon
                                Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue;
                                7508 S Essex Avenue; 431 E 42ndPlace; 7701-03 S Essex Avenue; 7442-
                                54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill
                                Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue; 7600-
                                10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41 E 79th
                                Place; 6250 S Mozart Street).

                                Business Operations

     4/29/2021 JR          1.20 Review email from K. Duff related to property insurance renewal workbook
                                and make requested updates to same (see A) (1.1); exchange
                                correspondence with K. Duff regarding property insurance (see A) (.1).

                                Business Operations
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     Date      Indiv Hours Description

     4/29/2021 JRW         0.30 Review new administrative order (7051 S Bennett Avenue) and related email
                                exchange with A. Watychowicz (.1); email to court clerk regarding proposed
                                order granting motion to approve payment of expenses (7749-59 S Yates
                                Boulevard; 8201 S Kingston Avenue; 8047-55 S ManisteeAvenue; 7051 S
                                Bennett Avenue; 431 E 42nd Place; 4520-26 S Drexel Boulevard) (.2).

                                Business Operations

                 SZ        2.60 Review of property manager’s emails with invoices for properties (7024-32
                                S Paxton Avenue; 6217-27 S Dorchester Avenue; 1131-41 E 79th Place;
                                4611-17 S Drexel Boulevard; 2220 East 75th Street; 2453-59 E 75th Street;
                                4520-26 SDrexel Boulevard; 5450-52 S Indiana Avenue; 6437-41 S
                                Kenwood Avenue;7110 S Cornell Avenue; 7836 S Shore Drive), SSPH1
                                properties (4750-52 SIndiana Avenue; 2800-06 E 81st Street; 1422-24 E
                                68th Street; 7840-42 S Yates Avenue), (816-22 E Marquette Road), Equity
                                Build Associated properties (1017 W 102nd Street; 2129 W 71 Street; 2220
                                75th Street; 2453-59 E 75th Street; 4533-47 S Calumet Avenue; 5437 S
                                Laflin Street; 7701-03 E Essex Avenue; 7925 S Kingston; 8201 S Kingston
                                Avenue) inorder to retrieve repair documentation.

                                Business Operations

     4/30/2021 AEP         0.20 Review default order (7051 S Bennett Avenue), review records of sale,
                                forward copy of same to new purchaser, communications with purchaser
                                regarding allocation of responsibility.

                                Business Operations

                 ED        1.40 Review and analysis of financial reporting from property managers to respond
                                to request from accountant for additional information on 2020 property
                                operating income details (7836 S Shore Drive; 7546-48 S Saginaw Avenue;
                                8326-54 S Ellis Avenue; 11117-11119 S Longwood Drive; 7110 S Cornell
                                Avenue; 7957-59 S Marquette Road; 2736-44 W 64th Street; 6355-59 S
                                Talman Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                                Avenue; 6749-59 S Merrill Avenue; 4315-19 S Michigan Avenue; 7600-10 S
                                Kingston Avenue; 7656-58 S Kingston Avenue; 6250 S Mozart Street; 7508
                                S Essex Avenue; 6437-41 S Kenwood Avenue; 5450-52 S Indiana Avenue;
                                7450 S Luella Avenue) (1.2); email correspondence with accountant and
                                property manager regarding analysis of financial reporting from property
                                managers (7836 S Shore Drive; 7546-48 S Saginaw Avenue; 8326-54 S Ellis
                                Avenue; 11117-11119 S Longwood Drive; 7110 S Cornell Avenue; 7957-59
                                S Marquette Road; 2736-44 W 64th Street; 6355-59 S Talman Avenue;
                                1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 6749-59 S
                                Merrill Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue;
                                7656-58 S Kingston Avenue; 6250 S Mozart Street; 7508 S Essex Avenue;
                                6437-41 S Kenwood Avenue; 5450-52 S Indiana Avenue; 7450 S Luella
                                Avenue) (.2).

                                Business Operations

                 JR        0.20 Exchange correspondence with J. Wine and E. Duff regarding names of
                                institutional lenders as additional insured relating to property insurance
                                renewal (See A).
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        Date       Indiv Hours Description


                                   Business Operations

        4/30/2021 JRW         0.80 Review order granting motion to approve payments (7749-59 S Yates
                                   Boulevard; 8201 S Kingston Avenue; 8047-55 S Manistee Avenue; 7051 S
                                   Bennett Avenue; 431 E 42nd Place; 4520-26 S Drexel Boulevard) and
                                   related email exchange with K. Duff and A. Porter (.2); correspondence with
                                   K. Duff and K. Pritchard regarding property manager accounts payable
                                   (7749-59 S Yates Boulevard; 8201 S Kingston Avenue; 8047-55 S Manistee
                                   Avenue; 7051 S Bennett Avenue) (.4); confer with J. Rak regarding
                                   delinquent taxes (1102 Bingham (Houston, TX)) (.1); email exchange with J.
                                   Rak and E. Duff regarding injured parties on insurance policies (.1).

                                   Business Operations


                      KMP     0.30 Attention to entered order relating to payment of property expenses (7749-59
                                   S Yates Boulevard; 8201 S Kingston Avenue; 8047-55 S Manistee Avenue;
                                   7051 S Bennett Avenue; 431 E 42nd Place; 4520-26 S Drexel Boulevard) (.1);
                                   related communications with K. Duff and J. Wine regarding verification and
                                   payment of expenses (7749-59 S Yates Boulevard; 8201 S Kingston Avenue;
                                   8047-55 S Manistee Avenue; 7051 S Bennett Avenue; 431 E 42nd Place;
                                   4520-26 S Drexel Boulevard) (.2).

                                   Business Operations

                      SZ      2.70 Attention to property manager's emails with repair invoices related to
                                   properties (6949-59 S Merrill Avenue; 7442-54 S Calumet Avenue; 7749-59 S
                                   Yates Boulevard; 1414-18 E 62nd Place) and other property manager's
                                   emails containing repair documentation (310 E 50th Street; 414 Walnut;416-
                                   24 E 66th Street; 1401 W 109th Place; 638-40 N Avers Avenue; 1700-08 W
                                   Juneway Terrace; 2736-44 W 64th Street; 4315-19 S Michigan Avenue;
                                   5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6356 S California
                                   Avenue; 6355-59 S Talman Avenue; 6749-59 S Merrill Avenue; 6807 S
                                   Indiana Avenue; 7109-19 S Calumet Avenue; 7201-07 S Dorchester Avenue;
                                   7201 S Constance Avenue; 7237-43 S Bennett Avenue;7255-57 S Euclid
                                   Avenue; 7300-04 S St Lawrence Avenue; 7600-10 S Kingston Avenue; 7760
                                   S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street;
                                   8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8334-40 S Ellis
                                   Avenue; 8342-50 S Ellis Avenue; 8352-58 S EllisAvenue; 11117-11119 S
                                   Longwood Drive).

                                   Business Operations


SUBTOTAL:                                                                                 [ 44.50         8817.00]

Case Administration

        4/1/2021      JR      1.20 Send blast email to claimants related to filing of the 12th motion to confirm
                                   sales (638-40 N Avers Avenue) (1.1); exchange correspondence with J. Wine
                                   regarding email blast to claimants (.1).


                                   Case Administration
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         Date       Indiv Hours Description

         4/2/2021   JRW       1.10 Extensive review of counsel of record for email service list and updates to
                                   same (.9); related correspondence regarding counsel's representation
                                   (.2).

                                   Case Administration

         4/5/2021   SZ        1.10 Attention to pleadings to be posted to Receivership website and
                                   communication with K. Duff about the same.

                                   Case Administration

                    SZ        1.80 Receivership website update (1.5); related email communication with the
                                   Receiver and IT consultant (.3).

                                   Case Administration

         4/12/2021 AW         0.10 Request update to Receivership website.

                                   Case Administration

         4/19/2021 AW         0.50 Communicate with K. Duff and K. Pritchard regarding service of joint status
                                   report and message for recipients (.2); serve joint status report as per service
                                   list (.3).

                                   Case Administration

         4/21/2021 AW         0.40 Collect pleadings and request update to receivership website.

                                   Case Administration

         4/28/2021 AW         0.30 Communicate with K. Duff and quick review of pleadings posted to
                                   Receivership website (.1); contact IT consultant with request to upload latest
                                   pleadings (.2).

                                   Case Administration

         4/29/2021 AW         1.40 Request revisions to Receivership website (.1); attention to filed reply and
                                   attempt to download time stamped pleadings (.2); prepare single file and
                                   correspond with counsel and IT consultant regarding options for service of
                                   voluminous exhibits (.5); draft email for service of reply, prepare link, and
                                   propose using link instead of attachments (.2); correspond regarding reports
                                   used for exhibits and properties (.2); attention to administrative court order
                                   (7051 S Bennett Avenue) and email J. Wine regarding same (.1); attention
                                   to SEC filing and email counsel regarding same (.1).


                                   Case Administration


SUBTOTAL:                                                                                    [ 7.90          1151.00]

Claims Administration & Objections

         4/1/2021   JRW       3.00 Correspondence with J. Rak and K. Duff regarding vendor software (.2);
                                   study revised vendor contract and license agreement and related revisions
                                   and comments to counsel for claimants (1.0); analyze chart of purportedly
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     Date        Indiv Hours Description

                                single-claim properties from claimants' counsel (8432 S Essex Avenue; 7712
                                S Euclid Avenue; 3213 S Throop Street; 10012 S LaSalle Avenue; 6825 S
                                Indiana Avenue; 7210 S Vernon Avenue; 6759 S Indiana Avenue; 9610 S
                                Woodlawn Avenue) (.5); correspond with K. Duff regarding claimant inquiry
                                (.1); review and organize emails in receiver's account, and prepare
                                responses to claimant emails (.6); telephone conference with claimants'
                                counsel and K. Duff regarding records subpoena and motion (.6).

                                Claims Administration & Objections

     4/1/2021    MR        0.90 Attention to claims related matters (.1); attention to issues regarding claimant
                                discovery (.5); follow up with K. Duff regarding claimant's request for records
                                (.3).

                                Claims Administration & Objections

     4/2/2021    JRW       2.60 Finish researching title history and claims against properties (8346 S
                                Constance Avenue; 8517 S Vernon Avenue; 8432 S Essex Avenue; 7712 S
                                Euclid Avenue; 3213 S Throop Street; 10012 S LaSalle Avenue; 6825 S
                                Indiana Avenue; 7210 S Vernon Avenue; 6759 S Indiana Avenue; 9610 S
                                Woodlawn Avenue; 1017 W102nd Street; 8403 S Aberdeen Street; 9212 S
                                Parnell Avenue; 406 E 87th Place; 8107 S Kingston Avenue) (2.3); exchange
                                correspondence with vendor regarding status of claims distribution project
                                (.1); review vendor invoice and related email exchange with K. Duff (.2).


                                Claims Administration & Objections

     4/3/2021    JRW       0.20 Review updated vendor agreement and related correspondence to K. Duff.


                                Claims Administration & Objections

     4/5/2021    AW        0.90 Email exchange with J. Wine and J. Rak regarding contact emails for
                                claimants and review project (.1); start reviewing spreadsheet and update
                                claimants' names to include complete names as identified on master claims
                                list (.4); review email exchange relatingto distribution to IRA and other
                                custodial claimants and related follow up with J. Wine (.1); review email files
                                and email communications with K. Duff and J. Wine regarding processing
                                of emails (.3).


                                Claims Administration & Objections

                 JR        0.50 Review email from J. Wine and A. Watychowicz and provide requested
                                claimant information (.2); exchange correspondence with K. Duff and J. Wine
                                and provide requested information related to EB records for database (.2);
                                communication with IT representative regarding EB records for database
                                (.1).

                                Claims Administration & Objections
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     Date       Indiv Hours Description

     4/5/2021    JRW       3.50 Correspondence with J. Rak and K. Duff regarding EquityBuild documents
                                (.1); confer with A. Watychowicz regarding updates required to claimant
                                contact list (.1); correspondence with K. Duff regarding revised vendor
                                agreement and related revisions to claimants' counsel (.3); attention to
                                responding to claimant inquiries (1.6); review research regarding
                                distributions (.1); exchange correspondence with K. Duff and claims vendor
                                regarding invoice and breakdown of fees (.2); additional correspondence
                                with claimants' counsel and K. Duff regarding revisions to vendor agreement
                                (.3 ); correspondence with claimant's counsel regarding proposed claims
                                process (.1); correspondence with claimant's counsel regarding distribution
                                of claims forms and related review of records (.5); correspondence with
                                claimants' counsel regarding counsel of record and distribution of claim
                                forms and related exchange with J. Rak regarding updating records (.2).

                                Claims Administration & Objections

                 MR        0.20 Attention to emails on claims process related issues.

                                Claims Administration & Objections

     4/6/2021    AW        2.30 Complete review of email spreadsheet and update claimants' names to
                                include complete names as identified on master claims list and communicate
                                with J. Wine and J. Rak regardingsame.

                                Claims Administration & Objections

                 JRW       0.30 Exchange correspondence with claimants' counsel regarding properties (.1);
                                email exchange with counsel for claimants regarding counsel of record for
                                service (.2).

                                Claims Administration & Objections

                 MR        0.20 Attention to inquiry from claimant's counsel and follow up with E.Duff
                                regarding same.

                                Claims Administration & Objections

     4/7/2021    JR        0.40 Review emails from J. Wine pertaining to lender counsel email contact list
                                update and update same.

                                Claims Administration & Objections

                 JR        0.40 Review emails from J. Wine pertaining to lender counsel email contact list
                                update and update same.

                                Claims Administration & Objections

                 JRW       1.20 Exchange correspondence with A. Watychowicz and K. Duff regarding
                                emails for review (3074 E Cheltenham Place; 7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue;
                                7201 S Constance Avenue) (.1); exchange correspondence with vendor
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     Date       Indiv Hours Description

                                and claimant's counsel regarding vendor agreement (.1); telephone
                                conference with K. Duff regarding claims process (1017 W 102nd Street;
                                417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue;
                                8403 S Aberdeen Street; 9212 S Parnell Avenue; 10012 S LaSalle
                                Avenue; 3213 S Throop Street; 406 E 87th Place; 6825 S Indiana
                                Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 8107 S
                                Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue;
                                8517 S Vernon Avenue; 2129 W 71st Street; 9610 S Woodlawn Avenue;
                                6759 S Indiana Avenue) (.6);continued review of title history and claims
                                on properties (8107 S Kingston Avenue; 8346 S Constance Avenue) (.4).

                                Claims Administration & Objections

     4/8/2021    AW        0.40 Call with J. Wine regarding institutional lender's claim (3074 E Cheltenham
                                Place; 7625-33 S East End Avenue; 7635-43 S East End; Avenue; 7750-
                                58 S Muskegon Avenue; 7201 S Constance Avenue) (.2); communicate
                                with IT consultant regarding archive notices relating to EquityBuild emails
                                and group issue (.1); compile email folders and email K. Duff link
                                containing same (.1).

                                Claims Administration & Objections

                 JRW       3.20 Review updates to claimant spreadsheet (.2); confer with K. Duff regarding
                                status report to court (.2); confer with vendor and SEC regarding provision of
                                records (.4); related review of lender file (3074E Cheltenham Place; 7625-33
                                S East End Avenue; 7635-43 S East End; Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue) and telephone conference with A.
                                Watychowicz regarding same (.5); attention to responding to claimant
                                inquiries and review correspondence with claimant group (.8); revise
                                worksheetregarding claims and related correspondence to K. Duff and A.
                                Porter (.3); prepare draft of interim status report on claims (.7); review
                                revisions to interim report and further revise same (.1).

                                Claims Administration & Objections

                 MR        1.00 Attention to emails and review drafts of claims status report and circulate
                                same to K. Duff and J. Wine.

                                Claims Administration & Objections

     4/9/2021    AEP       2.10 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding
                                competing claims under varying factual scenarios in connection with
                                single-family home portfolio (single family).

                                Claims Administration & Objections

                 JRW       3.60 Exchange drafts of interim status report on claims with M. Rachlis and K.
                                Duff(1.0); communications with SEC (.2); respond to claimant inquiries
                                (.1); correspondence with counsel for claimants and vendor regarding
                                EquityBuild document project (.3); extended conference with A. Porter,
                                M. Rachlis, and K. Duff regarding procedure for addressing recorded
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     Date       Indiv Hours Description

                                liens against properties (1.9); correspondence from claimant's counsel
                                regarding request for information regarding sale of property and related
                                email to A.Porter and K. Duff (.1).

                                Claims Administration & Objections

     4/9/2021    MR        2.20 Meeting on claim related issues with J. Wine, A. Porter and K. Duff (1.9);
                                further review and comment on draft claims status reports and related
                                communications (.3).

                                Claims Administration & Objections

     4/10/2021 JRW         0.20 Update spreadsheet (.1); respond toclaimant inquiry (.1).

                                Claims Administration & Objections

     4/12/2021 AW          0.30 Review email correspondence relating to transfer of claims' documentation.

                                Claims Administration & Objections

                 JRW       2.10 Exchange correspondence with vendor regarding claims documentation
                                metrics (.2); exchange correspondence with vendor regarding property
                                grouping (SSDF1; 4520-26 S Drexel Boulevard) (.1); review revised vendor
                                agreement and related analysis to K. Duff (.3); follow-up regarding revised
                                vendor agreement with claimants' counsel (.2); email exchange with
                                claimants' counsel regarding settlement statements and surplus rents (.3);
                                confer with claimants' counsel regarding EquityBuild documents and
                                commencement of claims process (.2); email to K. Duff and M. Rachlis
                                regarding EB documents and commencement of claims process (.1);
                                telephone conference with vendors and claimants' counsel regarding
                                finalization of vendor agreement (.5); attention to claimant inquiry (.2).

                                Claims Administration & Objections

                 MR        0.20 Attention to issues on joint status report and database vendor issue.

                                Claims Administration & Objections

     4/13/2021 AW          0.30 Attention to emails from claimants regarding claims process and email
                                approved responses (.2); attention to voice messagefrom claimant and email
                                J Wine regarding draft response (.1).

                                Claims Administration & Objections

                 JRW       4.00 Exchange correspondence with claimants' counsel and vendor regarding
                                EquityBuild documents and finalization of agreement (.3); attention to
                                claimant inquiries (.2); correspondence with claimants' counsel regarding
                                claims process for single claim properties and related exchange with K. Duff
                                (.3); confer with counsel for claimants regarding commencement of
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     Date      Indiv Hours Description

                                claims process, EquityBuild document database and Excel spreadsheets, and
                                related follow-up email (.4); continued analysis of properties with single claim
                                (1516 E 85th Place; 2136 W 83rd Street; 7922 S Luella Avenue; 8030 S
                                Marquette Avenue; 8104 S Kingston Avenue; 8529 S Rhodes Avenue; 11318
                                S Church Street; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 7110 S
                                Cornell Avenue; 417 Oglesby Avenue; 7925 S Kingston Avenue; 2129 W 71st
                                Street; 1017 W 102nd Street; 8403 S Aberdeen Street; 8432 S Essex
                                Avenue; 10012 S LaSalle Avenue; 3213 S Throop Street; 406 E 87th Place;
                                7712 S Euclid Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 6759
                                S Indiana Avenue; 8346 S Constance Avenue; 9212 S Parnell Avenue; 8107
                                S Kingston Avenue; 8517 S Vernon Avenue; 9610 S Woodlawn Avenue) and
                                prepare related spreadsheet (2.0); revisions to joint status report and related
                                correspondence with K. Duff (.2); attention to responding to claimant inquiries
                                (.6).

                                Claims Administration & Objections

     4/13/2021 MR          0.50 Attention to issues regarding property (4533-47 S Calumet Avenue) (.2);
                                attention to status on database vendor and impact regarding same (.1);
                                attention to emails regarding single claims process (.2).

                                Claims Administration & Objections

     4/14/2021 AEP         2.00 Review spreadsheet of claim types relating to mortgages, research title for
                                each property, and prepare list of corrections (1017 W 102nd Street; 1516 E
                                85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                                Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                                S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                                Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                                Avenue; 7300-04 S St Lawrence Avenue; 7760 S Coles Avenue).

                                Claims Administration & Objections

                 JRW       3.30 Confer with A. Watychowicz regarding claimant inquiry (.1); multiple
                                correspondence with vendor and claimants' counsel regarding revisions to
                                vendor agreement and procedures (.8); email to SEC (.2); telephone
                                conference with SEC and K. Duff (.8);work with K. Duff on revisions to joint
                                status report and related email to counsel for claimants and SEC (.7); confer
                                with vendor and K. Pritchard regarding hard drive of EquityBuild documents
                                (.4); review A. Porter analysis of liens against properties (7933 S Kingston
                                Avenue; 7925 S Kingston Avenue) (.3).

                                Claims Administration & Objections
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     Date      Indiv Hours Description

     4/15/2021 AW          0.60 Attention to emails from claimants requesting status updates and additional
                                information regarding claims process and respond to same (.4); attention to
                                emails requesting contact infoupdate and process same (.2).

                                Claims Administration & Objections

                 JRW       4.40 Attention to claimant inquiry (.1); study notes from A. Porter, review recorder
                                of deeds site and update analysis of single claim properties (7925 S
                                Kingston Avenue; 9212 S Parnell Avenue; 6825 S IndianaAvenue; 7210 S
                                Vernon Avenue; 8517 S Vernon Avenue; 6759 S Indiana Avenue; 7933 S
                                Kingston Avenue) (1.1); prepare list regarding same for claimants' counsel
                                (.5); related email exchange with claimants counsel (.1); attention to joint
                                status report on commencement of claims process and several exchanges
                                of revisions and comments with K. Duff, SEC, and claimants' counsel (1.2);
                                review proposed procedures addressing single claims against properties
                                from claimants' counsel and related analysis to K. Duff (.3); telephone
                                conference with claimants' counsel regarding liens against single claim
                                properties (1.1).

                                Claims Administration & Objections

                 MR        0.40 Attention to emails on joint status and claims.

                                Claims Administration & Objections

     4/16/2021 AW          2.60 Review emails from claimants regarding received documents and questions
                                about claims process, brief communications with J.Wine regarding same,
                                research answers to frequently asked questions, and send out email
                                responses (2.3); respond to follow up emails from same claimants (.1); email
                                exchange with J. Wine regarding change of format of exhibit for claimants
                                (.1); confer with J. Wine regarding joint status report and brief review of
                                same (.1).

                                Claims Administration & Objections

                 JRW       2.50 Continued preparation of joint status report and related exchanges with SEC
                                and claimants' counsel, conferences with K. Duff and M. Rachlis, and
                                revisions to same (1.8); attention to claimant inquiries and related exchange
                                with A. Watychowicz regarding spreadsheet with claim numbers (.3); email
                                exchange and telephone conference with vendor regarding data inventory,
                                third-party software and passwords (.4).

                                Claims Administration & Objections

                 KMP       0.30 Review and revise draft joint status report and related communications with
                                K. Duff and J. Wine.

                                Claims Administration & Objections
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     Date      Indiv Hours Description

     4/16/2021 MR          1.00 Attention to joint status report and related issues (.5); attention to follow up
                                regarding claimant's properties and related issues (.5).

                                Claims Administration & Objections

     4/17/2021 JRW         0.20 Review revised draft of joint status report and related email exchange with K.
                                Duff.

                                Claims Administration & Objections

     4/19/2021 AW          2.60 Prepare packet regarding claimant and email K. Duff (.3); review emails
                                from claimants regarding received documents and requests for update,
                                communicate with K. Duff regarding appropriate responses, and send out
                                email responses (1.8); attention to email from database vendor regarding
                                additional claim and bounced email, review claim forms and contact sheets,
                                request update to database, and follow up email to J. Wine and database
                                vendor (.5).

                                Claims Administration & Objections

                 JRW       0.20 Attention to claimant inquiry (.1); review correspondence from vendor and A.
                                Watychowicz regarding EB records (.1).

                                Claims Administration & Objections

                 KMP       0.90 Review, revise, finalize, and file joint status report (.6); communications with
                                K. Duff and A. Watychowicz regarding joint status report (.3).

                                Claims Administration & Objections

     4/20/2021 AW          1.10 Review emails from claimants regarding received documents and requests
                                for update and send out email responses (.7); communicate with K. Duff
                                regarding unique questions from claimants (.1); prepare revised claims
                                sheet and email J. Wine regarding same (.3).

                                Claims Administration & Objections

                 AW        0.30 Research and communicate with K. Duff regarding software syncing options
                                (.2); review file preserved by IT consultant and detailed email regarding file
                                types (.1).

                                Claims Administration & Objections

                 MR        0.30 Attention to draft joint status report.

                                Claims Administration & Objections

     4/21/2021 AW          1.10 Finalize master claims list by property number (.4); research regarding claims
                                and related email follow up with J. Wine (.2); update claimant's information
                                and email him requested update (.2); attention to email from database
                                vendor regarding missing claim, review claimform, update master claims list,
                                and follow up email to J. Wine and database vendor (.3).

                                Claims Administration & Objections
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     Date      Indiv Hours Description



     4/22/2021 AW          1.10 Research claim emails regarding frequently asked questions, attention to
                                email from claimant regarding fees, work on and respond to claimant (.3);
                                update claimant's information and email requested update (.2); attention to
                                emails from database vendor regarding properties (1102 Bingham (Houston,
                                TX); Naples Property), research regarding same, and related detailed emails
                                to vendor (.5); communicate with database vendor regarding completion of
                                property emails project (.1).

                                 Claims Administration & Objections

     4/23/2021 AW          0.30 Email exchange with J. Wine regarding status of claims emails (.1); draft and
                                communicate with J. Wine regarding proposed response to claimant (.1);
                                respond to claimant's request for pleadings (.1).

                                 Claims Administration & Objections

                 JRW       0.20 Confer with A. Watychowicz regarding updates to master claims list (.1);
                                exchange correspondence with vendor regarding claims distribution
                                project (.1).

                                 Claims Administration & Objections

     4/26/2021 AW          0.80 Communicate with J. Wine regarding claim missing from Master Claims
                                List, review proof of claim form, and update list (.3); attention to emails
                                from claimants regarding claims files and requests for updates and
                                respond to same (.3); communicate with J. Wine regarding proposed
                                responses to claimants and email responses to claimants (.2).

                                 Claims Administration & Objections

                 JR        1.30 Review email from K. Duff regarding property institutional lender spreadsheet
                                and respond accordingly (.1); further correspondence with J. Wine regarding
                                property institutional lender spreadsheet and review master list (.1); update
                                property list with institutional lender claims (1.1).

                                 Claims Administration & Objections

                 JRW       3.20 Attention to responding to claimant inquiries (.8); confer with A. Watychowicz
                                 regarding updating claims records(.5); study draft motion and subpoena and
                                 related analysis to K. Duff (1017 W 102nd Street; 8403 S Aberdeen Street;
                                 8432 S Essex Avenue; 9212 S Parnell Avenue; 8346 S Constance Avenue;
                                 8107 S KingstonAvenue) (.9); study list from claimants' counsel and related
                                 analysis to K. Duff (.8); correspondence with vendor and claimants' counsel
                                 regarding EB documents project (.2).

                                 Claims Administration & Objections
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     Date      Indiv Hours Description

     4/27/2021 AEP         0.40 Read e-mail from J. Wine regarding properties (6554 S Rhodes Avenue;
                                2129 W 71st Street), research chains of title, and prepare clarifying
                                explanation.

                                Claims Administration & Objections

                 AW        0.70 Update claimant's contact information and add claim to properties mail list
                                (.2); respond to claimant regarding mailing address concern on submitted
                                proofs of claim forms (.1); updates to master claims list and related email to
                                J. Wine (.4).

                                Claims Administration & Objections

                 JRW       1.70 Confer with A. Watychowicz regarding potential modification of master claims
                                list (.1); correspondence between claimants' counsel and database vendor
                                regarding EquityBuild documents in control of third parties (.2); compare
                                order confirming sale of single family portfolio with single claim property
                                analysis and related research on recorder of deeds site (6554 S Rhodes
                                Avenue; 2129 W 71st Street) (.5); exchange correspondence with A. Porter
                                regarding comparison of order confirming sale of single family portfolio with
                                single claim property analysis and related research (6554 S Rhodes Avenue;
                                2129 W 71st Street) (.2); confer with K. Duff regarding claims against
                                property (1414-18 East 62ndPlace) (.1); research claimant inquiries and
                                confer with A. Watychowicz and K. Duff regarding response (.6).

                                Claims Administration & Objections

     4/28/2021 AW          0.70 Communicate with J. Wine regarding possible amendment of claim (.1);
                                review claim and respond to claimant's inquiry regarding resolution of claims
                                against funds (.1); attention to email exchange regarding claims against
                                funds and claims list (.1); research regarding response to claimants' request
                                for records and related email exchanges with J. Wine (.2); review sample
                                documents preserved from online platform and email them to K. Duff and J.
                                Wine with summary of relationship with online vendor (.2).

                                Claims Administration & Objections

                 JRW       1.30 Exchange correspondence with claimants' counsel regarding EquityBuild
                                records and various related discussions with K. Duff, M. Rachlis and A.
                                Watychowicz (.9); telephone conference with K. Duff in preparation for call
                                with claimants' counsel regarding process for single claim properties (.1);
                                email exchange with claimants' counsel regarding process for single claims
                                (.1); telephone conference with K. Duff and email exchange with
                                A. Watychowicz in preparation for call with claimants' counsel regarding
                                request for EB records (.2).

                                Claims Administration & Objections
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     Date      Indiv Hours Description

     4/28/2021 MR          0.50 Attention to various issues regarding claims documents library.

                                Claims Administration & Objections

     4/29/2021 AW          0.40 Attention to email from claimant regarding served documents and respond
                                to same (.1); call with J. Wine regarding claims issues (.2); follow upwith J.
                                Wine regarding objection to claimants' request for records (.1).

                                Claims Administration & Objections

                 JRW       4.00 Study proposed motion for leave to file subpoena and draft subpoena in
                                preparation for conference with counsel (.5); telephone conference with K.
                                Duff regarding subpoena (.2); telephone conference with claimants' counsel
                                and K. Duff regarding draft motion and proposed subpoena (.5); telephone
                                conference with K. Duff regarding analysis of single claim properties and
                                related updatesto listing (8403 S Aberdeen Street; 8405 S Marquette Avenue;
                                8517 S Vernon Avenue; 8107 S Kingston Avenue; 7925 S Kingston Avenue;
                                6554 S Rhodes Avenue) (.5); prepare agenda for upcoming phone call with
                                claimants' counsel (8403 S Aberdeen Street; 8405 S Marquette Avenue;
                                8517 S Vernon Avenue; 8107 S Kingston Avenue; 7925 S Kingston Avenue;
                                6554 S Rhodes Avenue) (.3); exchange correspondence with claimants'
                                counsel regarding recovery of EB documents and samples of TMO
                                documents (.2); telephone conference with claimants' counsel regarding
                                proposed process for single claim properties (.5); telephone conference with
                                K. Duff regarding discovery (.4); prepare chart regarding discovery (.3);
                                search recorder of deeds site (7925 S Kingston Avenue; 6554 S Rhodes
                                Avenue) and update spreadsheet (.3); review proof of claim (8403 S
                                Aberdeen Street; 8405 S Marquette Avenue) and related correspondence to
                                claimants' counsel (.3).

                                Claims Administration & Objections

     4/30/2021 AW          1.50 Call with J. Wine regarding revisions to master claims list (.1); review and
                                revise claims (1.1); prepare revisions sheet for vendors (.3).

                                Claims Administration & Objections

                 JRW       3.40 Confer with A. Watychowicz regarding claims submitted by City (.2); multiple
                                email exchanges with vendor and claimants' counsel regarding vendor
                                licenses and payments (.6); confer with K. Duff regarding proposed contract
                                (.2); confer with K. Duff regarding claimant inquiry and update records
                                accordingly (.2); study proposed process for single claim properties and
                                standard discovery, prepare notes regarding response to same, related
                                telephone conferences with K. Duff, and related correspondence to
                                claimants' counsel (1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd
                                Street; 417 OglesbyAvenue; 7922 S Luella Avenue; 7925 S Kingston
                                Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                Aberdeen Street; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 10012 S
                                LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 406 E 87th
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                                   Place; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                   Avenue; 7712 S Euclid Avenue; 8107S Kingston Avenue; 8346 S Constance
                                   Avenue; 8432 S Essex Avenue; 8517S Vernon Avenue; 2129 W 71st Street;
                                   9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 6749-59 S Merrill
                                   Avenue; 7110 S Cornell Avenue) (2.2).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                     [ 82.00           20251.00]

Status Reports

        4/5/2021    JR        0.20 Review email from J. Wine regarding 1st quarter status report 2021, respond
                                   accordingly and update files (.1); follow up correspondence with property
                                   management requesting payments of property taxes on remaining
                                   EquityBuild properties in the portfolio related to the 1st quarter status report
                                   2021 (.1).

                                   Status Reports

                    JRW       1.40 Work on first quarter 2021 status report and related checklist to team and
                                   correspondence with counsel in state court matter (2450-52 E78th
                                   Street).

                                   Status Reports

                    KMP       2.60 Preparation of financial exhibits for first quarter 2021 status report.

                                   Status Reports

        4/6/2021    JRW       0.20 Exchange correspondence with counsel in state court matter (2450-52 E
                                   78th Street) (.1); exchange correspondence with E. Duff regarding
                                   status report (.1).

                                   Status Reports

                    KMP       2.60 Continue preparation of financial exhibits to 1Q2021 status report.

                                   Status Reports

        4/7/2021    JR        1.10 Review email from J. Wine relating to requested information pertaining to
                                   2021 1st quarter status report and collect information pertaining to same.

                                   Status Reports

                    JRW       0.20 Attention to preparation of first quarter 2021 status report (.1); related
                                   correspondence with J. Rak (.1).

                                   Status Reports
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     4/7/2021    KMP       2.60 Continue preparation of financial exhibits to 1Q2021 status report.

                                Status Reports

     4/8/2021    JRW       0.60 Work on first quarter 2021 status report.

                                Status Reports

                 KMP       3.80 Continue preparation of financial exhibits to 1Q2021 status report (3.3);
                                review and calculate insurance payments and unpaid professional fees for
                                reporting in 1Q2021 status report (.3); forward financial exhibits and
                                calculations to J. Wine (.2).

                                Status Reports

     4/9/2021    JRW       1.50 Work on first quarter 2021 status report and related review of administrative
                                matters and correspondence with accountant.

                                Status Reports

     4/20/2021 JRW         4.70 Continue drafting status report for first quarter 2021.

                                Status Reports

     4/21/2021 AEP         0.20 Prepare language regarding circuit court litigation against former EquityBuild
                                counsel for insertion into status report.

                                Status Reports

     4/23/2021 AW          0.60 Review status report and supplement as per J. Wine's request (.3); finalize
                                exhibits to Receiver's status report (.3).

                                Status Reports

                 JRW       2.10 Revise draft status report for first quarter 2021 and related telephone
                                conference with K. Duff and email exchange with A. Porter (.4); confer with J.
                                Rak regarding property closings (.1); finalize draft status report and exhibits
                                and related correspondence with SEC (1.6).

                                Status Reports

     4/30/2021 AW          1.20 Call with J. Wine regarding revisions and exhibits (.1); revisions to status
                                report (.1); revise exhibit and prepare final for filing (.3);communicate
                                regarding final report, file with court, and serve as per service list (.7).


                                Status Reports

                 JR        0.20 Exchange correspondence with J. Wine relating to the 1st quarter 2021 status
                                report request.

                                Status Reports

                 JRW       2.20 Finalize and file status report for 1st quarter 2021 and related
                                communications with A. Watychowicz regarding updating exhibit to same.


                                Status Reports
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        Date       Indiv Hours Description


        4/30/2021 KMP         0.30 Review draft status report and verify various statements therein relating to
                                   financial issues.

                                   Status Reports

                    MR        0.20 Attention to status report filing.

                                   Status Reports


SUBTOTAL:                                                                                   [ 28.50         5638.00]

Tax Issues

        4/7/2021    KMP       0.20 Exchange email correspondence with accountant regarding federal tax
                                   agency notice (4533-37 S Calumet LLC).

                                   Tax Issues

        4/28/2021 KMP         0.20 Communicate with accountant regarding request for tax information
                                   from former insurer.

                                   Tax Issues


SUBTOTAL:                                                                                   [ 0.40                56.00]




                                                                                           334.60        $77,074.00
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    Kevin B. Duff, Receiver                                                               Page 43




Other Charges

                                     Description

Asset Disposition

                                     Fee for property inspection (417 Oglesby               150.00
                                     Avenue)


SUBTOTAL:                                                                           [       150.00]

Business Operations

                                     Photocopies for April 2021                                5.80

                                     Online research                                        338.21

                                     Software license fees for April 2021 (Summit           269.00
                                     Hosting, $173; Google Suite, $96)


SUBTOTAL:                                                                           [       613.01]


Total Other Charges                                                                        $763.01




                                    Summary of Activity
                                                                      Hours       Rate
Jodi Wine                                                             74.70     260.00   $19,422.00
Ania Watychowicz                                                      25.20     140.00    $3,528.00
Justyna Rak                                                          104.20     140.00   $14,588.00
Kathleen M. Pritchard                                                 22.70     140.00    $3,178.00
Stoja Zjalic                                                          20.30     110.00    $2,233.00
Andrew E. Porter                                                      72.70     390.00   $28,353.00
Ellen Duff                                                             6.10     390.00    $2,379.00
Michael Rachlis                                                        8.70     390.00    $3,393.00
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                                   SUMMARY


               Legal Services                                  $77,074.00
               Other Charges                                      $763.01

                  TOTAL DUE                                    $77,837.01
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




August 2, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No.6622134
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


 Legal Fees for the period May 2021                                      $78,400.00

 Expenses Disbursed                                                           $1,707.93


 Due this Invoice                                                         $80,107.93
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    Kevin B. Duff, Receiver                                                                              Page 2




        Date          Indiv Hours Description

Accounting/Auditing

         5/10/2021 KMP        0.20 Review online banking records to provide updated balances for certain
                                   property accounts (6749-59 S Merrill Avenue; 7110 S Cornell Avenue).

                                   Accounting/Auditing

         5/12/2021 KMP        1.00 Record recent transactions to account ledgers (.2); prepare schedules of
                                   receipts and disbursements for April 2021 for Receiver's operating accounts
                                   (.8).

                                   Accounting/Auditing

         5/20/2021 KMP        0.70 Review account notices from former asset holder and review file materials
                                   to confirm that records regarding each such account have beenreceived
                                   from asset holder (Chicago Capital Fund I LLC; Chicago Capital Fund II
                                   LLC; Chief Management LLC; Hybrid Capital Fund LLC; South Side
                                   Development Fund 3, LLC; South Side Development Fund 6, LLC; South
                                   Side Development Fund 7, LLC; South Side Development Fund 8, LLC;
                                   SSDF2 Holdco 3, LLC; 5001 S Drexel LLC).

                                   Accounting/Auditing


SUBTOTAL:                                                                                  [ 1.90           266.00]

Asset Analysis & Recovery

        5/5/2021      JRW     0.30 Review draft subpoena and related review of federal rules and email
                                   exchange with K. Pritchard.

                                   Asset Analysis & Recovery

                      KMP     0.60 Communicate with J. Wine regarding document subpoena (Plano, Texas
                                   property) (.2); revise subpoena and notice letter (Plano, Texas property)
                                   (.2); research regarding registered agent for service of subpoena (Plano,
                                   Texas property) (.2).

                                   Asset Analysis & Recovery

        5/10/2021 AW          0.70 Attention to email regarding online accounting, research defendant's email
                                   account, and detailed email to K. Duff regarding same (.5); attention to
                                   online accounting and report to K. Duff (.2).

                                   Asset Analysis & Recovery

        5/19/2021 JRW         0.40 Telephone conference with counsel regarding potential interpleader action
                                   (.2); conference with K. Duff regarding potential interpleader action (.2).

                                   Asset Analysis & Recovery
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 Kevin B. Duff, Receiver                                                                                Page 3



     Date      Indiv Hours Description

     5/19/2021 KMP         1.00 Revise and finalize subpoena and notice letter to corporation requesting
                                documents relating to property and prepare certified mail service (.5); revise
                                notice of third-party subpoena and serve same on defendants and SEC and
                                related communications with J. Wine (.3); conference with K. Duff regarding
                                notice letters to account custodian regarding LLC (Chicago Capital Fund 1
                                LLC) (.2).

                                Asset Analysis & Recovery

     5/20/2021 JRW         0.50 Study correspondence to and from third party and related telephone
                                conference with K. Duff.

                                Asset Analysis & Recovery

                 KMP       0.70 Prepare draft notice letter to investment company in response to request
                                regarding EB entities and related correspondence with K.Duff and J. Wine
                                (Chicago Capital Fund I LLC; Chicago Capital Fund II LLC) (.4); compile
                                case law for notice letter to insurance company and related correspondence
                                with K. Duff (.3).

                                Asset Analysis & Recovery

     5/22/2021 JRW         0.40 Review correspondence regarding subpoenaed records and related email
                                exchange with K. Duff.

                                Asset Analysis & Recovery

     5/23/2021 NG          0.60 Conducted search of emails for any emails relatedto potential asset, tagged
                                relevant emails, and sent findings to K. Duff.

                                Asset Analysis & Recovery

     5/24/2021 AW          0.60 Attention to email regarding investigative work and prepare requested
                                emails.

                                Asset Analysis & Recovery

                 JRW       5.70 Email correspondence with K. Duff regarding subpoenas (.2); exchange
                                correspondence with third party regarding subpoenaed records (.2); review
                                produced materials and related analysis (4.9); exchange correspondence
                                and telephone conferences with K. Duff regarding produced records (.4).

                                Asset Analysis & Recovery

                 KMP       1.20 Review subpoena documents to former asset holder and exchange related
                                correspondence with K. Duff, A. Porter, and J. Wine regarding status of
                                response (.2); study documents in connection with issues relating to asset
                                and related communication with K. Duff and J. Wine (.6); communicate with
                                J. Wine regarding content of rider for certain other anticipated subpoenas
                                (.2); prepare electronic folder for document production and forward link to A.
                                Porter (.2).

                                Asset Analysis & Recovery
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 Kevin B. Duff, Receiver                                                                                Page 4



     Date      Indiv Hours Description




     5/25/2021 JRW         3.80 Finish listening to voice recordings produced pursuant to subpoena and
                                related analysis to K. Duff (1.1); exchange correspondence with third party
                                regarding subpoenaed documents withheld from production (.2); research
                                regarding notice of receivership and related telephone conference with K.
                                Pritchard and email exchange with K. Duff (.2); exchange correspondence
                                with K. Duff regarding factual investigation (.3); review subpoenaed records
                                and confer with K. Duff regarding redactions (.2); attention to preparing
                                subpoenas and related correspondence with K. Pritchard and research
                                regarding recorder of deeds records (1.2); study correspondence from
                                counsel for third-party regarding asset (.6).

                                Asset Analysis & Recovery

                 KMP       2.40 Study documents in connection with issues relating to Defendants' tax
                                returns and related communication with K. Duff and J. Wine (.5); research
                                regarding and preparation of additional subpoenas and related
                                communications with J. Wine (1.0); review status reports to compile quoted
                                language regarding potential asset and prepare related email memorandum
                                to K. Duff (.9).

                                Asset Analysis & Recovery

     5/26/2021 JRW         1.60 Exchange correspondence with K. Duff regarding potential discovery (.1);
                                exchange correspondence with third party regarding redactions to
                                subpoenaed documents (.2); review and comment on draft response letter
                                to counsel for third party regarding EquityBuild asset (1.3).

                                Asset Analysis & Recovery

     5/27/2021 JRW         2.70 Research regarding insurance policies (.1); email exchange regarding
                                discovery requests and subpoenas (.2); work with M. Rachlis and K. Duff on
                                letter to counsel regarding asset (1.0); attention to drafting subpoena riders
                                and related review of records (1.4).

                                Asset Analysis & Recovery

                 MR        1.40 Attention to communications regarding potential asset and related follow up.

                                Asset Analysis & Recovery

     5/28/2021 JRW         0.60 Exchange correspondence with K. Duff regarding email from counsel for third
                                party regarding offer to compromise claim against asset and telephone
                                conference with counsel for third party (.3); search records and related
                                correspondence with K. Duff regarding third party (.2); exchange
                                correspondence with K. Duff regarding subpoenas (.1).

                                Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                               Page 5



         Date       Indiv Hours Description



SUBTOTAL:                                                                                   [ 25.20         5771.00]

Asset Disposition

         5/3/2021    JR       1.50 Review email from buyer related to issues obtaining keys for property related
                                   to sale (2800-06 E 81st Street) (.1); correspond with property management
                                   and buyer regarding keys for property (2800-06 E 81st Street) (.5); review
                                   email from J. Wine related to property tax balance and options for payment
                                   of same related to property (1102 Bingham (Houston, TX)) (.1); further
                                   correspondence with K. Duff regarding real estate tax payment options (1102
                                   Bingham (Houston, TX)) (.1);review numerous emails from the title company
                                   (W. Peca at Chicago Title) related to water certificates and update electronic
                                   files regarding single family homes (single family) (.7).

                                   Asset Disposition

         5/4/2021    AEP      0.80 Prepare e-mail to property manager regarding extended use restriction
                                   recorded against property (6217-27 S Dorchester Avenue) and requesting
                                   information relating thereto (.2); teleconference with prospective purchaser of
                                   property (6217-27 S Dorchester Avenue) regarding status of inquiry into
                                   extended use restriction and purchaser's alleged need for substantial
                                   additional time to close (.3); prepare letter to counsel for purchaser of
                                   property (7255-57 S Euclid Avenue) regarding defaults on prior closing dates
                                   and final extension of closing date (.3).

                                   Asset Disposition

                     JR       0.20 Exchange correspondence with buyer and buyer's counsel requesting
                                   property inspection documents in preparation for closing (417 Oglesby
                                   Avenue).

                                   Asset Disposition

         5/5/2021    AEP      0.50 Teleconference with receivership broker regarding obstacles to closing
                                   (7255-57 S Euclid Avenue; 6217-27 S Dorchester Avenue), communications
                                   with purchaser, and receivership position regarding immutability of closing
                                   date (.3); teleconference with purchaser of properties (7255-57 S Euclid
                                   Avenue; 6217-27 S Dorchester Avenue) regarding timing of closings and
                                   extended use agreement (.2).

                                   Asset Disposition

                     JR       0.60 Review email from K. Duff related to property sale updates and confirm
                                   scheduled sale of property related to remaining unsold properties in the
                                   estate (See B) (.1); exchange correspondence with buyer requesting
                                   property inspection forms in anticipation of closing of single family homes
                                   (single family) (.1); exchange correspondence with property management
                                   requesting buyer management company information related to past closing
                                   (4750-52 S Indiana Avenue) (.1); review email from A. Porter regarding title
                                   commitments related to properties (6217-27 S Dorchester Avenue; 7255-57
                                   S Euclid Avenue) and respond accordingly (.1); review email from real
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 Kevin B. Duff, Receiver                                                                               Page 6



     Date       Indiv Hours Description

                                estate broker requesting updated due diligence reports for property and
                                respond accordingly (4611-17 S Drexel Boulevard) (.1); further
                                correspondence with property management requesting updated due
                                diligence documents for property (4611-17 S Drexel Boulevard) (.1).

                                Asset Disposition

     5/6/2021    AEP       1.70 Teleconference with J. Rak relating to form of preparation of each closing
                                document and remaining pre-closing tasks (single family) (.9);
                                teleconference with J. Rak regarding pre-closing tasks associated with
                                conveyance of property (4611-17 S Drexel Boulevard) (.2); teleconference
                                with J. Rak regarding pre-closing tasks associated with conveyance of
                                property (1422-24 East 68th Street) (.2); teleconferencewith J. Rak
                                regarding pre-closing tasks associated with conveyanceof property (6217-
                                27 S Dorchester Avenue) (.2); teleconference with J. Rak regarding pre-
                                closing tasks associated with conveyance of property(7255-57 S. Euclid
                                Avenue) (.1); communications with counsel for prospective purchaser of
                                (1422-24 East 68th Street) regarding status of preparation of closing
                                documents and revisions to be made to title commitment and survey (.1).

                                Asset Disposition


                 JR        4.80 Review email from K. Duff relating to schedule of closings (4611-17 S Drexel
                                Boulevard; 1422-24 E 68th Street; 6217-27 S Dorchester Avenue; 7255-57 S
                                Euclid Avenue) and provide requested information (.1); exchange
                                correspondence with real estate broker and provide requested property
                                reports (4611-17 S Drexel Boulevard) (.1); follow up correspondence with A.
                                Porter relating to property inspection forms needed inpreparation for closing
                                (417 Oglesby Avenue) (.1); confer with A. Porter regarding the single family
                                home status in preparation for closing (single family) (.9); confer with A.
                                Porter regarding unsold properties and preparationfor closing (4611-17 S
                                Drexel Boulevard; 1422-24 E 68th Street; 6217-27 S Dorchester Avenue;
                                7255-57 S Euclid Avenue) (.8); draft allocation summary report related to
                                single family homes and produce to K. Pritchard regarding wire instructions
                                (single family) (.4); exchange correspondence with A. Porter regarding buyer
                                requested information and other pertinent information required for closing
                                (single family) (.8); exchange correspondencewith the underwriter requesting
                                and providing closing details of the single family homes (single family) (.9);
                                exchange correspondence with the real estate broker requesting a lien
                                waiver for closing (single family) (.1); exchange correspondence with the title
                                company requesting an update on the zoning certifications for the single
                                family homes (single family) (.1); review surveys for single family homes and
                                request updates to same (single family) (.5).

                                Asset Disposition

     5/7/2021    AEP       1.60 Correspondence with surveyor and title company regarding need for
                                certifications on boundary surveys in non-commercial transactions and
                                correspondence with surveyor regarding payment of invoices for surveys of
                                single-family home properties (single family) (.3); review release and updated
                                title commitment for property (5437 S Laflin Street) to confirm clearance of
                                remaining special exception to title (.2); review closing checklist, title
                                commitment, and preliminary closing statement for property (4611-17 S
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 Kevin B. Duff, Receiver                                                                                Page 7



     Date       Indiv Hours Description

                                Drexel Boulevard), edit and revise same, and transmit to title company for
                                production of preliminary settlement statement (.4); review closing checklist,
                                title commitment, and preliminary closing statement for property (1422-24
                                East 68th Street), edit and revise same, and transmit to title company for
                                production of preliminary settlement statement (.4); review survey for property
                                (4611-17 S Drexel Boulevard) and prepare e-mail to title underwriter
                                requesting basis for raising special exception relating to potential unrecorded
                                easement for ingress and egress to rear of property (.3).

                                Asset Disposition

     5/7/2021    JR        4.90 Update closing documents in preparation for upcoming closings (4611-17 S
                                Drexel Boulevard; 1422-24 E 68th Street; 6217-27 S Dorchester Avenue;
                                7255-57 S Euclid Avenue) (2.6); review email from real estate broker
                                regarding commission statement for the single family homes (single family)
                                (.1); review numerous emails from the title company relating to single family
                                home (single family) zoning certificates and update electronic files
                                regarding same (.9); exchange correspondence with the title company
                                requesting updates to the title commitments in anticipation of upcoming
                                closings (7255-57 S Euclid Avenue; 6217-27 S Dorchester Avenue; 1422-24
                                East 68th Street) (.3); update electronic files and closing documents related
                                to requested title commitments (7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue; 1422-24 East 68th Street) (.7); review email from K.
                                Pritchard regarding requested wire instructions related to upcoming closings
                                for the single family homes (single family) and update electronic files (.3).

                                Asset Disposition

                 KMP       0.30 Revise table of accounts for single family properties to include missing
                                account numbers and forward table to J. Rak (single family).

                                Asset Disposition

     5/9/2021    AEP       0.90 Review, edit, and revise all closing documents associated with conveyance of
                                property (1422-24 East 68th Street).

                                Asset Disposition

     5/10/2021 AEP         1.80 Review, edit, and revise closing documents in connection with prospective
                                conveyance of property (4611-17 S Drexel Boulevard) (1.1); communications
                                with title underwriter regarding basis for special exception relating to alleged
                                access easement burdening property (4611-17 S Drexel Boulevard) (.1);
                                teleconferences with counsel for prospective purchaser of property (4611-17
                                S Drexel Boulevard) and receivership broker regarding proration of real
                                estate taxes at closing and discrepancy between purchase and sale contract
                                distributed to prospective purchasers and contract accepted by receiver (.4);
                                communications with counsel for prospective purchaser of property (6217-27
                                S Dorchester Avenue) regarding status of housing court proceeding and
                                refusal of title company to waive same from loan policy (.2).

                                Asset Disposition

                 JR        0.90 Exchange communication with the City of Calumet City related to the property
                                inspection in anticipation of closing (417 Oglesby Avenue) (.2); further
                                communication with A. Porter and property management regarding property
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 Kevin B. Duff, Receiver                                                                               Page 8



     Date      Indiv Hours Description

                                inspection (417 Oglesby Avenue) (.2); further correspondence with A. Porter
                                regarding status of closing documents relatedto the single family homes
                                (single family) (.1); exchange correspondence withbuyer's counsel related to
                                status of closing (638-40 N Avers Avenue) (.1); review emails from the title
                                company regarding delivery of water certifications for single family homes
                                (single family) and save in electronic files (.2); review email from K. Duff
                                requesting closing dates of properties (single family; 6749-59 S Merrill
                                Avenue; 7110 S Cornell Avenue) (.1).

                                Asset Disposition

     5/11/2021 AEP         4.90 Review allocation table and create master grantor-grantee spreadsheet to
                                outline process of closing single-family home portfolio (single family) (.7);
                                identify all closing documents thus far assembled, including water and zoning
                                certifications, examiner's worksheets, and survey invoices, and rearrange all
                                materials into appropriate tranche-specific folders (single family) (1.8);
                                correspondence with title company underwriter and escrow agent regarding
                                mass closing process (single family) (.2); prepare receiver's deed, bill of
                                sale, and affidavit of title for properties (1017 W 102nd Street; 7922 S Luella
                                Avenue; 8403 S Aberdeen Street; 8104 S Kingston Avenue) (2.2).

                                Asset Disposition

                 JR        3.80 Exchange correspondence with the property management requesting
                                updated due diligence documents in preparation for closing (4611-17 S
                                Drexel Boulevard; 1422-24 East 68th Street) (.2); review and update closing
                                documents for closing (4611-17 S Drexel Boulevard; 1422-24 East 68th
                                Street) (3.1); exchange correspondence with real estate broker requesting
                                execution of lien waivers for closings (4611-17 S Drexel Boulevard; 1422-24
                                East 68th Street) (.1); exchange correspondence with property management
                                requesting execution of lien waivers and notices to tenants for closing
                                (4611-17 S Drexel Boulevard; 1422-24 East 68th Street) (.1); review email
                                from property management requesting buyer information for previously sold
                                property (7508 S Essex Avenue) (.1); exchange correspondence with real
                                estate broker requesting bank account information for buyer's lender in
                                preparation for closing (4611-17 S Drexel Boulevard) (.2).

                                Asset Disposition

                 JRW       0.20 Review files and related email exchange with A. Porter and A. Watychowicz
                                regarding proceedings involving property (6217-27 S Dorchester Avenue).

                                Asset Disposition

     5/12/2021 AEP         8.50 Prepare closing documents for single-family home portfolio sale, including
                                receiver's deeds, broker lien waivers, property manager lien waivers,
                                receiver's lien waivers, 1099s, and FIRPTAs (single family) (8.0);
                                communications with J. Rak, title company underwriters, and buyers' counsel
                                regarding purchase price and loan allocations and other closing coordination
                                matters (single family) (.5).

                                Asset Disposition
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 Kevin B. Duff, Receiver                                                                                  Page 9



     Date      Indiv Hours Description

     5/12/2021 JR          5.80 Telephone call with A. Porter delegation preparation of closing documents
                                related to the single family home (single family) (.5); review email from real
                                estate broker related to lien waivers and update electronic files for properties
                                (4611-17 S Drexel Boulevard; 1422-24 East 68th Street) (.1); exchange
                                correspondence with the property manager requesting bank statements for
                                property in anticipation for closing (4611-17 SDrexel Boulevard) (.1); forward
                                same to real estate broker (.1); review email from buyer's counsel related to a
                                request for water certifications related to the single family homes and
                                produce same (single family) (.3); prepare closing documents for single
                                family homes (single family) (4.7).

                                Asset Disposition

                 JRW       0.40 Review recorded liens and claims submitted against property (638-40 N
                                Avers Avenue) and related analysis to K. Duff.

                                Asset Disposition

     5/13/2021 AEP         8.10 Finalize preparation of receiver's deeds for all sub-tranches of single-family
                                home property sales (single family) (2.8); prepare affidavits of title, bills of
                                sale, and assignments and assumptions of leases for all sub-tranches of
                                single-family home sales (single family) (5.3).

                                Asset Disposition

                 JR        2.00 Exchange further correspondence with A. Porter regarding single family home
                                closing preparation (single family) (.1); follow up correspondence with
                                property management regarding property inspection (417 Oglesby Avenue)
                                (.1); exchange correspondence with N. Gastevich regarding witnessing power
                                of attorney for K. Duff in anticipation for closing (4611-17 S Drexel
                                Boulevard; 1422-24 East 68th Street) (.1); prepare letters for mailing related
                                to tenants (4611-17 S Drexel Boulevard; 1422-24 East 68th Street) (.8);
                                review email from A. Porter regarding a request for aged receivables related
                                to sale (4611-17 S Drexel Boulevard) and request same from property
                                management (.1); produce reports to buyer's counsel (4611-17 S Drexel
                                Boulevard) (.1); produce documents in preparation for execution
                                (4611-17 S Drexel Boulevard; 1422-24 East 68th Street) (.7).

                                Asset Disposition

     5/14/2021 AEP         5.80 Meeting with receiver on closing documents for properties (4611-17 S
                                Drexel Boulevard; 1422-24 East 68th Street) (1.2);attend closing of
                                property (4611-17 S Drexel Boulevard) (3.5); review purchase price
                                allocations received from prospective purchaser of single-family homes,
                                update allocation spreadsheet, send copy of same to counsel for
                                institutional lenders and suggest alternative methods for accounting for
                                sales proceeds, and additional communications with counsel for
                                institutional lenders, title underwriter and prospective purchaser relating
                                thereto (single family) (1.1).

                                Asset Disposition

                 JR        6.60 Attend closing of property (1422-24 East 68th Street) (4.1); exchange
                                correspondence with various parties advising of closing (.1); further
                                communication with property management, buyer, and buyer’s counsel
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 Kevin B. Duff, Receiver                                                                                 Page 10



     Date      Indiv Hours Description

                                regarding coordination of keys to the building (1422-24 East 68th Street (.2);
                                exchange correspondence with property management requesting single
                                family home reports in preparation for closing (single family) (.3); review
                                reports for single family homes in anticipation for closing (single family)(1.9).

                                Asset Disposition

     5/14/2021 JRW         0.40 Exchange correspondence with court clerk regarding 12th sales motion (638-
                                40 N Avers Avenue) (.1); review and revise proposed order granting 11th
                                sales motion, related correspondence with A. Porter, and submit proposed
                                order to court clerk (.3).

                                Asset Disposition

                 KMP       0.20 Communicate with J. Rak regarding closing on sale of property and follow up
                                on receipt of sale proceeds (4611-17 S Drexel Boulevard).

                                Asset Disposition

                 NG        0.20 Witnessed the signing of power of attorney documents for EB property
                                closing (4611-17 S Drexel Boulevard; 1422-24 East 68th Street).

                                Asset Disposition

     5/15/2021 AEP         4.30 Read and reply to correspondence from counsel for prospective purchaser of
                                property (1422-24 East 68th Street) regarding request to postpone closing
                                (.3); begin researching current property tax liabilities and preparing closing
                                figures for all 37 single-family homes conveyances (single family) (4.0).

                                Asset Disposition

     5/16/2021 AEP         5.00 Finalize preparation of first-draft of closing figures in connection with
                                conveyances of single-family homes (single family) (3.5); inventory all
                                remaining special exceptions and all outstanding water and zoning
                                certifications associated with conveyances of single-family homes and
                                prepare e-mail to title underwriter regarding all current unresolved closing
                                coordination issues (single family) (1.5).

                                Asset Disposition

     5/17/2021 JR          5.70 Exchange correspondence with property management requesting single
                                family home reports in preparation for closing (single family)(.1); exchange
                                correspondence with property management advising change to closing date
                                for property (1422-24 East 68th Street) (.1); exchange correspondence
                                advising of anticipated closing schedule (single family;7255-57 S Euclid
                                Avenue; 6217-27 S Dorchester Avenue; 7237-43 S Bennett Avenue) (.1);
                                review tax balance and tax sale postponement for property (7237-43 S
                                Bennett Avenue) (.1); review single family tenant information and update
                                certificated rent roll (single family) (4.6); exchange correspondence with
                                property management requesting additional property reports related to
                                closing (single family) (.1); exchange communication with the City of Calumet
                                City related to property inspection report (417 Oglesby Avenue) (.5); further
                                correspondence with A. Porter regarding inspection requirements and report
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     Date      Indiv Hours Description

                                (417 Oglesby Avenue) (.1).

                                Asset Disposition

     5/17/2021 MR          1.40 Work on reply for 12th sales motion (638-40 N Avers Avenue) (1.3); review
                                order on sale of property (7237-43 S Bennett Avenue) (.1).

                                Asset Disposition

     5/18/2021 AEP         7.60 Review revised title commitments associated with various single-family home
                                properties, reconcile with current list of special exceptions and unrecorded
                                judgments, and sort same into appropriate closing folders (single family)
                                (2.8); review proposed reply in support of motion to confirm sale of property
                                (638-40 N Avers Avenue), and proofread, edit, and revise same (.5);
                                teleconference with title underwriters regarding resolution of remaining title
                                exception issues, potential use of master closing statements, preparation of
                                deed and money escrow instructions, and completion of closing figures
                                (single family) (.5); review proposed edits to receiver's deeds submitted by
                                purchaser's counsel in connection with conveyance of single-family homes,
                                check corresponding legal descriptions on surveys and title commitments,
                                and revise deeds as warranted (single family) (1.2); prepare memorandum for
                                title underwriter and surveyor identifying single-family home properties with
                                discrepancies between legal description on title commitment and legal
                                description on survey and request guidance for resolving conflicts in verbiage
                                (single family) (.7); teleconference with J. Rak regarding status of all closing
                                documents associated with conveyance of single-family homes (single family)
                                (.4); prepare affidavits of no new improvements in connection with
                                conveyances of all single-family home properties (single family) (.6);
                                teleconference with counsel for prospective purchaser of property (1422-24
                                East 68th Street) regarding inability to close, prepare and send default letter,
                                and reschedule closing (.5); review and analyze first draft of proposed
                                certified rent roll associated with conveyance of single-family homes and
                                make minor modifications thereto (single family) (.4).

                                Asset Disposition

                 AW        0.80 Attention to reply in support of twelfth sale motion and communicate with K.
                                Duff regarding revisions and citations (638-40 N Avers Avenue).

                                Asset Disposition

                 JR        6.30 Review email from A. Porter related to city requirements for transfer of
                                property and provide information regarding same (417 Oglesby Avenue) (.3);
                                further correspondence with A. Porter regarding city requirements (417
                                Oglesby Avenue) (.5); review email from K. Pritchard regarding a request
                                from property manager related to water bill issues (8326-58 S Ellis Avenue)
                                and further correspond with property management (.3); exchange
                                correspondence with the title company requesting additional payment
                                information for water at closing (8326-58 S Ellis Avenue) (.1); notify all
                                parties of change to closing date for property (1422-24 East 68th Street)
                                (.2); follow up correspondence with buyer's counsel regarding document
                                request required for closing (417 Oglesby Avenue) (.2); further
                                communication with buyer requesting buyer information regarding required
                                documents for Cityof Calumet City (417 Oglesby Avenue) (.3); review due
                                diligence documents received from property management and update
                                certified rent roll in preparation for closing single family homes (single
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     Date      Indiv Hours Description

                                family) (2.3); review and confirm leases for security deposit information for
                                single family homes (single family) (1.0); update closing checklist related
                                to security deposit information and update certified rent roll regarding
                                same (single family) (.4); review due diligence folder and confirm all
                                subsidy agreements match certified rent roll (single family) (.7).

                                Asset Disposition

     5/18/2021 JRW         0.50 Review and revise draft reply to 12th sales motion and related
                                correspondence (638-40 N Avers Avenue).

                                Asset Disposition

                 KMP       1.00 Review, revise, and finalize reply brief in support of twelfth motion for
                                approval of sale, prepare certificate of service, and file reply (638-40 N Avers
                                Avenue) (.8); communications with K. Duff related to reply brief for motion to
                                sell property (638-40 N Avers Avenue) (.2).

                                Asset Disposition

                 MR        0.30 Further attention to reply brief on 12th sales motion (638-40 N Avers Avenue).

                                Asset Disposition

     5/19/2021 JR          6.40 Review email from buyer's counsel regarding updated deeds related to the
                                single family homes (single family) (.2); review email from K. Pritchard
                                regarding a tax bill received for property (7237-43 S Bennett Avenue) and
                                update electronic files (.1); review leases, subsidy agreements, confirm lease
                                terms and update certified rent roll in preparation for closing (single family)
                                (1.8); exchange correspondence with property management requesting
                                additional missing information related to leases and subsidy agreements
                                (single family) (.3); confer with A. Porter regarding security deposit shown on
                                lease which has been applied as rent credit for tenant (8403 S Aberdeen
                                Street) (.3); communication with property management inquiring about
                                security deposit and request further information (8403 S Aberdeen Avenue)
                                (.2); further communication with A. Porter and real estate broker inquiring
                                about commission statement for closing (single family) (.1); review email
                                from property management regarding requested subsidy agreements for
                                single family homes and update electronic files (single family) (.5); review
                                and forward notices to tenants requesting buyer approval for closing (single
                                family) (.2); review email from real estate broker requesting property reports
                                for property (7255-57 S Euclid Avenue) and request same from property
                                management (.2); exchange correspondence with K. Pritchard regarding
                                expected mail delivery for property in anticipation for closing (417 Oglesby
                                Avenue) (.1); review email from real estate broker regarding lien waivers for
                                closing and provide same (single family) (.1);review dates of closing
                                documents and update same (single family) (1.5); draft real estate transfer
                                tax declaration forms for properties in anticipation forclosing (single family)
                                (.8).

                                Asset Disposition
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     5/19/2021 KMP         0.30 Communicate with J. Wine regarding issues relating to post-closing utility bill
                                (7201 S Constance Avenue) (.1); exchange email correspondence with A.
                                Porter and J. Rak regarding property tax bill (7237-43 S Bennett Avenue) (.2).

                                Asset Disposition

     5/20/2021 AEP         4.70 Review latest batch of title commitments associated with single-family homes
                                and update list of special exceptions (single family) (1.3); review J. Rak e-mail
                                regarding security deposit allocation issue at property (8403 S Aberdeen
                                Street), analyze payment ledger, and respond with suggestions for resolving
                                same (.2); review commission statement associated with conveyance of
                                single-family homes and prepare e-mail to brokers proposing alternative
                                solution for payment of brokerage commissions (single family) (.2);
                                communications with J. Rak, buyer's counsel, and buyer's lender regarding
                                buyer delays in producing signed forms necessary to obtain transfer stamps
                                from Calumet City in connection with conveyance of property (417 Oglesby
                                Avenue) and providing title company with individual loan allocations (.4);
                                prepare e-mail to title underwriter, buyer, and buyer's lender regarding title
                                exceptions associated with code violations (2316 W 83rd; 5437 S Laflin) and
                                efforts to obtain certificates of compliance from City of Chicago (.3); prepare
                                additional communications with buyer and J. Rak regarding difficulties
                                associated with (417 Oglesby Avenue) transfer stamp process (.2); prepare
                                e-mail to City of Chicago corporation counsel regarding request for certificate
                                of compliance in connection with code violation (2136 W 83rd Street) (.2);
                                review final batch of title commitments associated with single-family home
                                portfolio and update closing checklist (single family) (1.5); read e-mail from J.
                                Wine regarding collection notice (7210 S Vernon Avenue), update closing
                                checklist to include mention of additional proceedings pending, and respond
                                regarding necessity of moving to vacate (.3); review release received in
                                connection with stale judgment (2136 W 83rd Street), transmit same to title
                                underwriter and acknowledge receipt to corporation counsel (.1).

                                Asset Disposition

                 JR        5.40 Numerous telephone calls into the City of Calumet City regarding transfer
                                stamps and water reading for property in anticipation of closing (417 Oglesby
                                Avenue) (.9); exchange correspondence with K. Pritchard regarding payment
                                of water and transfer stamps required for closing (417 Oglesby Avenue) (.3);
                                meeting with A. Porter regarding payment for water and transfer stamps for
                                City of Calumet City regarding transfer of property (417 Oglesby Avenue) (.6);
                                update notices to tenants for single family homes per buyer request (single
                                family) (.5); exchange correspondence with buyer and A. Porter regarding
                                notices to tenants (single family) (.1); review email from buyer requesting
                                property information in preparation for closing (single family) (.1); request
                                property reports from property management (single family) (.1); update
                                electronic files with current property reports (single family) (.9); update and
                                review lien waivers for property managers and request executed copies of
                                same in anticipation for closing (single family) (.7); exchange
                                correspondence with A. Porter and property management regarding tenant
                                security deposit clarification (8403 S Aberdeen Street) (.4); exchange
                                correspondence with real estate broker requesting the delivery of original lien
                                waivers for closing (single family) (.1); meeting with buyer providing
                                requested transfer of property documents needed for closing (417 Oglesby
                                Avenue) (.5); exchange correspondence with A. Porter and K. Duff regarding
                                signature required on Receiver's Deed per Calumet City requirements and
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                                provide same to K. Duff for execution (417 Oglesby Avenue) (.2).

                                Asset Disposition

     5/20/2021 KMP         0.20 Exchange correspondence with J. Rak and K. Duff regarding payment of
                                certain closing costs for property sale (single family).

                                Asset Disposition

                 MR        0.20 Communicate with K. Duff regarding email from counsel on 12th sales
                                motion and follow up on response (638-40 N Avers Avenue).

                                Asset Disposition

     5/21/2021 AEP         2.40 Conference with J. Rak regarding open items associated with preparation for
                                closing of single-family homes (single family) (.3); review fee quotes for
                                closing services for each of the properties in the single-family home portfolio
                                and update closing figures for each property (single family) (2.1).

                                Asset Disposition

                 JR        6.00 Review email from K. Duff and provide requested closed property information
                                (4611-17 S Drexel Boulevard) (.1); exchange communication with A. Porter
                                regarding payment for final water and transfer stamps related to City of
                                Calumet City (417 Oglesby Avenue) (.1); review email request from buyer
                                regarding property reports and request same from property management
                                (single family) (.1); update notice to tenant letters and request approval from
                                buyer (single family) (.7); review requested rent roll received from property
                                management and inquire about the house sitters at various vacant properties
                                with property management (single family) (.5); further correspondence with
                                A. Porter regarding the house sitters at vacant properties (single family) (.2);
                                forward house sitter information to buyer (single family) (.2); draft real estate
                                transfer declaration forms for single family homes (single family) (4.1).

                                Asset Disposition

     5/24/2021 AEP         4.30 Communications with prospective purchaser of single-family homes regarding
                                scheduling of pre-closing walk-throughs and removal of house sitters (single
                                family) (.2); review and revise proposed notices to tenants in connection with
                                conveyance of single-family homes (single family) (.2); communications with
                                property managers regarding request from prospective purchaser of
                                single-family home portfolio for pre-closing walk-throughs and confirmation
                                regarding removal of house sitters at various properties (single family) (.2);
                                communications with counsel for lenders regarding reallocations of sales
                                proceeds from conveyance of single-family homes following closing (single
                                family) (.2); conference calls with J. Rak regarding resolution in discrepancies
                                on transfer tax statement submitted to Calumet City in connection with
                                conveyance of property (417 Oglesby Avenue) (.4); review rent roll, prepare
                                final closing figures for conveyance of property (1422-24 East 68th Street),
                                and forward all proposed seller documents to purchaser's counsel (.2); review
                                finalized rent roll for single-family home properties and create final sets of
                                sellers' figures for each conveyance (single family) (2.9).

                                Asset Disposition
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     5/24/2021 JR           7.00 Complete final water reading applications for property in anticipation of
                                 closing (417 Oglesby Avenue) and forward to the City of Calumet City for
                                 processing, follow up with Calumet City regarding same (.5); draft real estate
                                 transfer declaration forms for single family homes (single family) (4.2);
                                 meeting with A. Porter regarding payment for final water and transfer stamps
                                 relating to transfer of property requirements (417 Oglesby Avenue) (1.4);
                                 exchange numerous correspondence with Calumet City regarding the transfer
                                 stamp and payment of water in anticipation of closing (417 Oglesby Avenue)
                                 (.3); exchange communication with K. Duff inquiring about management of
                                 vacant lot (1414-18 E 62nd Place) (.1); exchange communication with K. Duff
                                 regarding disbursement of funds into a single account from the single family
                                 closings (single family) (.2); exchange correspondence with buyer requesting
                                 updates to contact information for tenants after sale (single family) (.1);
                                 exchange correspondence with A. Porter providing him with specific property
                                 house sitter addresses (2129 W 71st Street; 3723 W 68th Street; 5437 W
                                 Laflin Street; 6554-58 S Rhodes Avenue; 8432 S Essex Avenue; 1414-18 E
                                 62nd Street) (.2).

                                 Asset Disposition

                 KMP        0.30 Various communications with K. Duff, A. Porter, and J. Rak regarding issues
                                 relating to upcoming closing on single family homes (single family).

                                 Asset Disposition

     5/25/2021 AEP          9.50 Assemble, modify, and inventory all closing documents associated with
                                 conveyance of single-family homes, oversee document signing process by
                                 receiver, and continue revising all sets of closing figures (single family) (7.3);
                                 communications with prospective purchasers of property (1422-24 East 68th
                                 Street), title company, K. Duff, and current receivership broker regarding
                                 issues associated with former receivership broker owning interests in
                                 prospective buying entity and retrieving keys to property prior to
                                 consummation of closing (2.2).

                                 Asset Disposition

                 JR        10.50 Conduct execution of closing documents for the single family homes (single
                                 family) (8.4); review email and finalize documents for property in anticipation
                                 for closing (1422-24 E 68th Street) (2.1).

                                 Asset Disposition

                 KMP        0.30 Communications with J. Rak regarding evidence of payment for property
                                 inspection in connection with upcoming closing on property and review related
                                 bank records (417 Oglesby Avenue).

                                 Asset Disposition

                 MR         0.30 Attention to issues regarding sale (1422-24 East 68th Street) and related
                                 conferences with K. Duff.

                                 Asset Disposition
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     5/26/2021 AEP         10.50 Attend lengthy closing of all 37 single-family home properties (single family).

                                 Asset Disposition

                 JR        10.20 Attend closing of single family homes (single family) (10.1); exchange
                                 correspondence with K. Duff regarding instructions for single family allocation
                                 of proceeds and instructions of same (single family) (.1).

                                 Asset Disposition

     5/27/2021 AEP          7.60 Teleconference with counsel for prospective purchaser of property (1422-24
                                 East 68th Street) regarding basis for default and potential settlement of claim
                                 for earnest money (.3); conference call with receivership broker regarding
                                 communications with counsel for defaulted purchaser and potential renewed
                                 marketing efforts (1422-24 East 68th Street) (.3); review final settlement
                                 statements from closing of each single-family home, record final sales
                                 proceeds, create new settlement statements for each property substituting
                                 agreed-upon value allocations contained in judicial order confirming sale,
                                 revise existing value allocation spreadsheet to compute distribution of sales
                                 proceeds, and circulate proposed sales proceeds distributions to receiver and
                                 counsel for lenders (single family) (5.6); read e-mail from J. Rak regarding
                                 sales proceeds computations, audit spreadsheet, revise, and circulate new
                                 draft (single family) (.4); prepare disclosure statements for all single-family
                                 home properties (single family) (.7); teleconference with counsel for defaulted
                                 buyer of property (1422-24 East 68th Street) regarding proposed settlement
                                 scenarios (.3).

                                 Asset Disposition

                 JR         4.60 Review email from K. Duff regarding instructions for disbursement of
                                 proceeds and respond accordingly (single family) (.1); review mail and save in
                                 corresponding electronic files relating to administrative matters (6250 S
                                 Mozart Street; 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue) (.2);
                                 forward same to buyer's counsel (6250 S Mozart Avenue; 4750-52 S Indiana
                                 Avenue; 7024-32 S Paxton Avenue) (.2); further correspondence with J. Wine
                                 regarding same (6250 S Mozart Avenue; 4750-52 S Indiana Avenue; 7024-32
                                 S Paxton Avenue) (.5); update single family home executed documents in
                                 electronics files (single family) (2.1); review email from property management
                                 relating to status of closing and respond accordingly (single family) (.1);
                                 exchange correspondence with K. Duff, A. Porter and K. Pritchard with
                                 instructions related to the allocation of net proceeds for single family homes
                                 (single family) (.2); follow up with the title company requesting closing status
                                 (single family) (.1); exchange correspondencewith A. Porter relating to
                                 transfer stamps for property (417 Oglesby Avenue) (.1); review emailed
                                 request from real estate broker regarding property reports (1422-24 East
                                 68th Street) (.1); further correspondence with property management
                                 requesting property reports (1422-24 East 68th Street) (.1); review email from
                                 K. Duff and deliver requested date of ownership and name of owner for
                                 properties (638-40 N Avers Avenue; 7237-43 S Bennett Avenue) (.1); follow
                                 up correspondence with title company closer requesting status of closing
                                 (single family) (.2); follow up correspondence with K. Duff advising ofclosing
                                 status (single family) (.1); review email from the title company and provide
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                                   requested survey invoices for the single family homes (single family)
                                   (.4)...cont'd

                                   Asset Disposition

        5/27/2021 JR          0.90 Review email from A. Porter, identify a discrepancy and further review closing
                                   statements to confirm the total amount of net proceeds expected to be
                                   delivered from closing (single family).

                                   Asset Disposition

        5/28/2021 AEP         0.90 Teleconference with J. Rak and K. Duff regarding wire transfer allocations
                                   and disbursement dates associated with conveyance of single-family home
                                   portfolio (single family) (.3); teleconference with J. Rak and K. Duff regarding
                                   terms of potential settlement with defaulted purchaser (1422-24 E 68th
                                   Street) (.1); teleconference with J. Rak and K. Duff regarding status of sale
                                   (1102 Bingham (Houston, TX)) and preparation for closing (.1); prepare and
                                   send written response to counsel for defaulted purchaser (1422-24 E 68th
                                   Street) regarding terms of proposed settlement (.2); update master
                                   receivership portfolio spreadsheet to include information associated with
                                   conveyance of single-family home portfolio (single family) (.2).

                                   Asset Disposition

                      JR      3.50 Review email from A. Porter relating to Orders regarding housing matters and
                                   provide to buyer (6250 S Mozart Street) (.1); exchange correspondence with
                                   K. Duff regarding allocation of funds related to the singlefamily home closing
                                   (single family) (.8); further correspondence with bank representative
                                   regarding wire transfer and allocation instructions for single family home
                                   closing (single family) (.9); exchange correspondence with K. Duff providing
                                   detailed closed property information and confirming closing date for single
                                   family homes (single family) (.3); review email from real estate broker and
                                   provide settlement statements related to closing (single family) (.1);
                                   exchange various correspondence with the title company requesting wire
                                   confirmation and additional information related to closing of portfolio of
                                   properties (single family) (.5); exchange correspondence with buyer
                                   confirming property key delivery related to closing of portfolio of properties
                                   (single family) (.1); telephone conference with A. Porter and J. Rak regarding
                                   closing and negotiation with buyer relating to default (1422-24 East 68th
                                   Street) (.1); telephone conference with A. Porter and J. Rak regarding efforts
                                   to close additional property (1102 Bingham (Houston, TX)) (.1); review email
                                   from K. Duff relating to collection notices regarding various properties (7656-
                                   58 S Kingston Avenue; 7051 S Bennett Avenue) and research sale status of
                                   properties (.3); further correspondence with J. Wine regarding collection
                                   notices (7656-58 S Kingston Avenue; 7051 S Bennett Avenue) (.2).

                                   Asset Disposition


SUBTOTAL:                                                                                   [1 96.30        51053.00]

Business Operations

        5/3/2021      ED      0.20 Review final property manager reports relating to six properties (7836 South
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                                Shore Drive; 7110 S Cornell Avenue; 2453-59 E 75th Street; 6437-41 S
                                Kenwood Avenue; 5450-52 S Indiana Avenue; 2220 East 75th Street) and
                                related email correspondence with accountant.

                                Business Operations

     5/3/2021    JR        1.50 Exchange correspondence with K. Duff and property insurance company
                                regarding requested updates related to property insurance renewals (see
                                A); review requested property information from property management and
                                update same (see A).


                                Business Operations

                 JRW       1.30 Exchange correspondence with J. Rak, A. Porter and K. Duff regarding
                                delinquent property taxes (1102 Bingham (Houston, TX)) (.2); review
                                administrative order (7110 S Cornell Avenue) and work with A. Watychowicz
                                regarding docketing of hearing (.1); telephone conference with corporate
                                counsel regarding pending administrative matters (7109-19 S Calumet
                                Avenue; 2129 W 71st Street; 4520-26 S Drexel Boulevard; 7110 S Cornell
                                Avenue; 6250 S Mozart Street; 7051 S Bennett Avenue; 7600-10 S Kingston
                                Avenue; 7656-58 S Kingston Avenue; 6949-59 S Merrill Avenue; 6554-58 S
                                Vernon Avenue) (.3); update spreadsheet to divide pending claims and
                                judgments and adjust hearing dates and related email exchange with
                                additional corporation counsel (7109-19 S Calumet Avenue; 2129W 71st
                                Street; 4520-26 S Drexel Boulevard; 7110 S Cornell Avenue; 6250 S Mozart
                                Street; 7051 S Bennett Avenue; 7600-10 S Kingston Avenue; 7656-58S
                                Kingston Avenue; 6949-59 S Merrill Avenue; 6554-58 S Vernon Avenue)
                                (.7).

                                Business Operations

                 SZ        1.80 Continue to review repair documentation received from property manager
                                in order to retrieve and chart per-property repair expenses.


                                Business Operations

     5/4/2021    ED        0.30 Review and analysis of reporting from property manager regarding three sold
                                properties (7546-48 S Saginaw Avenue; 8326-32 S Ellis Avenue; 8334-40 S
                                Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 11117-19 S
                                Longwood Drive) to determine final reporting dates and related email
                                correspondence with accountant.

                                Business Operations

                 JR        1.70 Review email from property insurance account analyst and further update
                                property insurance renewal workbook (See A) (1.6);exchange
                                communication with K. Duff regarding property insurance renewal update
                                (See A) (.1).

                                Business Operations

     5/5/2021    AEP       0.20 Communications with J. Wine regarding basis for entry of judgment against
                                property (7656-58 S Kingston Avenue).


                                Business Operations
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     5/5/2021     JRW      1.90 Correspondence to property manager regarding payment of outstanding
                                expenses and related email exchange with K. Duff (7051 S Bennett
                                Avenue; 8201 S Kingston Avenue; 8047-55 S Manistee Avenue; 7749-59 S
                                Yates Boulevard) (.4); attention to administrative matters and orders (7600-
                                10 S Kingston Avenue; 7656-58 S Kingston Avenue; 416-24 E66th Street;
                                7109-19 S Calumet Avenue) (.4); telephone conference with corporate
                                counsel, related update of spreadsheet, correspondence with counsel, and
                                telephone conference with K. Duff (7600-10 S Kingston Avenue; 7656-58 S
                                Kingston Avenue; 416-24 E 66th Street; 7109-19 S Calumet Avenue) (.7);
                                exchange correspondence with A. Porter regarding entry of judgment order
                                and related review of prior orders continuing matter (7656-58 S Kingston
                                Avenue) (.4).

                                Business Operations

                 KMP       0.70 Review property manager's funds request (1401 W 109th Place;
                                638-40 N Avers Avenue; 7237-43 S Bennett Avenue) (.2); communicate with
                                K. Duff and property manager regarding funds request (1401 W 109th Place;
                                638-40 N Avers Avenue; 7237-43 S Bennett Avenue) (.2); attention to
                                communications with property manager and insurer regarding instructions for
                                payment of approved property expenses (7749-59 S Yates Boulevard; 8201 S
                                Kingston Avenue; 8047-55 S Manistee Avenue; 7051 S Bennett Avenue; 431
                                E 42nd Place; 4520-26 S. Drexel Boulevard) pursuant to court order (.2);
                                attention to communications with insurance broker regarding renewal of
                                property, general liability, and umbrella insurance policies for 2021-22 (638-
                                40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet
                                Avenue; 1102 Bingham (Houston, TX); 7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue; 4611-17 S Drexel Boulevard; 1422-24 East 68th Street;
                                single family) (.1).

                                Business Operations

     5/6/2021    KMP       0.80 Prepare request forms for funds transfers for property manager's request
                                (1401 W 109th Place; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue)
                                (.2); prepare request forms for funds transfers to property manager for
                                payment of approved property expenses (7749-59 S Yates Boulevard; 8201
                                S Kingston Avenue; 8047-55 S Manistee Avenue; 7051 S Bennett Avenue)
                                pursuant to court order (.3); communications with K. Duff and bank
                                representative regarding funds transfers for property expenses (1401 W
                                109th Place; 638-40 N Avers Avenue; 7237-43 S BennettAvenue; 7749-59 S
                                Yates Boulevard; 8201 S Kingston Avenue; 8047-55 S Manistee Avenue;
                                7051 S Bennett Avenue) (.3).

                                Business Operations

     5/7/2021     JRW      0.70 Prepare motion to set aside default judgment (7051 S Bennett Avenue) (.4);
                                correspondence with corporation counsel regarding administrative matters
                                (7051 S Bennett Avenue; 7656-58 S Kingston Avenue)(.1); file motion to set
                                aside default with exhibits (7051 S Bennett Avenue) (.2).

                                Business Operations
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 Kevin B. Duff, Receiver                                                                             Page 20



     Date       Indiv Hours Description

     5/7/2021    KMP       0.80 Communications with property managers confirming funds transfers for
                                property expenses (1401 W 109th Place; 638-40 N Avers Avenue; 7237-43
                                S Bennett Avenue; 7749-59 S Yates Boulevard; 8201 S Kingston Avenue;
                                8047-55 S Manistee Avenue; 7051 S. Bennett Avenue) (3); review online
                                banking records and revise certain account spreadsheets to reflect funds
                                transfers to property managers (1401 W 109th Place; 638-40 N Avers
                                Avenue; 7237-43 S Bennett Avenue) (3); attention to communications with
                                insurance broker regarding renewal costs for property and umbrella policies
                                (638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet
                                Avenue; 1102 Bingham (Houston, TX); 7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue; 4611-17 S Drexel Boulevard; 1422-24 East 68th Street;
                                single family) (.2).

                                Business Operations

                 SZ        1.20 Continue to review property manager's invoices and communicated to the
                                Receiver the most up-to-date draft of the per-propertyrepair spreadsheet.

                                Business Operations

     5/10/2021 AW          0.20 Research regarding reinstatement of entity (7109 S. Calumet LLC) and
                                related communication with counsel.

                                Business Operations

                 JR        1.30 Review email from accounting firm regarding December reporting and
                                produce same.

                                Business Operations

                 KMP       0.60 Attention to communications with insurance broker regarding renewal costs
                                for property and umbrella policies (638-40 N Avers Avenue; 7237-43 S
                                Bennett Avenue; 7109-19 S Calumet Avenue; 1102 Bingham (Houston,
                                TX); 7255-57 S Euclid Avenue; 6217-27 S Dorchester Avenue; 4611-17 S
                                Drexel Boulevard; 1422-24 East 68th Street; single family) (.2); prepare
                                request forms for payment of premium for GL policy and communications
                                with K. Duff, bank representative regarding funds transfer (638-40 N Avers
                                Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet Avenue; 1102
                                Bingham (Houston, TX); 7255-57 S Euclid Avenue; 6217-27 S Dorchester
                                Avenue; 4611-17 S Drexel Boulevard; 1422-24 East 68th Street; single
                                family) (.3); communicate with insurance broker to confirm funds transfer
                                (638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet
                                Avenue; 1102 Bingham (Houston, TX);7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue; 4611-17 S Drexel Boulevard; 1422-24 East 68th Street;
                                single family) (.1).

                                Business Operations

                 SZ        1.60 Continue to review documents received from property manager to populate
                                property repair expense sheet.

                                Business Operations
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     Date      Indiv Hours Description

     5/11/2021 AW          0.50 Research regarding violation (6217-27 S Dorchester Avenue) (.3); reinstate,
                                file annual report, and change of registered agent for receivership entity
                                (7109 S.Calumet LLC) (.2).

                                Business Operations

                 ED        0.30 Email correspondence with insurance agent and with accountants regarding
                                premium payments and refunds relating to certain properties sold in 2020
                                (7836 SouthShore Drive; 7201 S Constance Avenue; 4533-47 S Calumet
                                Avenue; 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417
                                Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S
                                Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                8403 S Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes
                                Avenue; 8800 SAda Street; 9212 S Parnell Avenue; 10012 S LaSalle
                                Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th Place;
                                406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S
                                Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S
                                Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                                8432 S Essex Avenue; 8517 SVernon Avenue; 2129 W 71st Street; 5437 S
                                Laflin Street; 6759 S Indiana Avenue; 9610 S Woodlawn Avenue; 7300-04
                                St Lawrence Avenue; 7760 S Coles Avenue; 1401 W 109th Place; 310 E
                                50th Street; 6807 S Indiana Avenue; 8000-02 S Justine Street; 8107-09 S
                                Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 6217-27 S
                                Dorchester Avenue; 4520-26 S Drexel Boulevard; 4611-17 S Drexel Avenue;
                                7110 S Cornell Avenue; 6250 S Mozart Street; 6749-59 S Merrill Avenue;
                                7255-57 S Euclid Avenue; 7109-19 S Calumet Avenue; 7024-32 S Paxton
                                Avenue; 2736-44 W 64th Street; 4315-19 S Michigan Avenue; 6356 S
                                California Avenue; 6355-59 S Talman Avenue; 7201-07 S Dorchester
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7957-59
                                S Marquette Road; 8326-32 SEllis Avenue; 7508 S Essex Avenue; 7051 S
                                Bennett Avenue; 7442-54 S Calumet Avenue; 7701-03 S Essex Avenue;
                                816-22 E Marquette Road; 638-40 N Avers Avenue; 5450-52 S Indiana
                                Avenue; 7749-59 S Yates Boulevard; 1700-08 W Juneway Terrace; 6949-59
                                S Merrill Avenue; 1422-24 East 68th Street; 2800-06 E81st Street).

                                Business Operations

                 JR        2.40 Review December property reports (4750-52 S Indiana Avenue; 7024-32 S
                                Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street; 4611-17 S
                                Drexel Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E
                                85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                                7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette
                                Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
                                Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
                                Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                                Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                71st Street; 9610 S Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana
                                Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                                7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers
                                Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                                Calumet Avenue; 1102 Bingham (Houston, TX)) (2.3); exchange
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     Date      Indiv Hours Description

                                correspondence with accounting firm requesting missing reports (7953-59
                                S Marquette Road; 7656-58 S Kingston Avenue; 7600-10 S Kingston
                                Avenue; 7201-07 S Dorchester Avenue; 6250 S Mozart Street; 6355-59 S
                                Talman Avenue; 4315-19 S Michigan Avenue; 2736-44 W64th Street) (.1).

                                Business Operations

     5/11/2021 JRW         0.60 Review administrative order on motion to set aside default judgment (7051 S
                                Bennett Avenue) and related correspondence with corporation counsel and
                                A. Porter (.2); analysis of administrative matter (7656-58 S Kingston
                                Avenue) and draft correspondence to corporation counsel (.4).

                                Business Operations

                 KMP       0.30 Attention to communications with K. Duff and insurance broker regarding
                                renewal of umbrella insurance policy (638-40 N Avers Avenue; 7237-43 S
                                Bennett Avenue; 7109-19 S Calumet Avenue; 1102 Bingham (Houston,
                                TX); 7255-57 S Euclid Avenue; 6217-27 S Dorchester Avenue; 4611-17 S
                                Drexel Boulevard; 1422-24 East 68th Street; single family).

                                Business Operations

     5/12/2021 AW          0.40 Attention to motion to set-aside default (7051 S Bennett Avenue) and update
                                docket (.1); attention to notices from administrative court (7110-16 S Cornell
                                Avenue; 416-24 E 66th Street; 7109-19 S Calumet Avenue; 2527-29 E 76th
                                Street; 7600-10 S Kingston Avenue; 2514-2520 East 77th Street; 7656-58 S
                                Kingston Avenue) (.3).

                                Business Operations

                 ED        0.20 Email correspondence with J. Rak regarding her review of and comments on
                                preliminary drafts of December 2020 accounting reports (7109-19 S Calumet
                                Avenue; 7255-57 S Euclid Avenue; 4533-47 S Calumet Avenue; 1401 W
                                109th Place).

                                Business Operations

                 JR        0.70 Exchange communication with E. Duff regarding discrepancies found in
                                December reporting (7109-19 S Calumet Avenue; 7255-57 S Euclid Avenue;
                                4533-47 S Calumet Avenue; 1401 W 109th Place).

                                Business Operations

                 JRW       0.50 Exchange correspondence with corporation counsel regarding upcoming
                                hearings in circuit court housing matters (638-40 N Avers Avenue;7237-43 S
                                Bennett Avenue; 6217-27 S Dorchester Avenue) (.2); review administrative
                                orders (7110 S Cornell Avenue; 7600-10 S Kingston Avenue;416-24 E 66th
                                Street; 7109-19 S Calumet Avenue) and related correspondence with A.
                                Watychowicz and A. Porter (.3).

                                Business Operations
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     Date        Indiv Hours Description

     5/12/2021 KMP         0.50 Prepare forms for funds transfers for renewal of umbrella insurance policy
                                (638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet
                                Avenue; 1102 Bingham (Houston, TX); 7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue; 4611-17 S Drexel Boulevard; 1422-24 East 68th Street;
                                single family) (.2); prepare forms for funds transfer for disbursement to
                                insurer for deductible relating to property policy (4520-26 S Drexel
                                Boulevard) (.1); communications with bank representative and K. Duff
                                relating to transfers of funds for property expenses (4520-26 S Drexel
                                Boulevard; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S
                                Calumet Avenue; 1102 Bingham (Houston, TX); 7255-57S Euclid Avenue;
                                6217-27 S Dorchester Avenue; 4611-17 S Drexel Boulevard; 1422-24 East
                                68th Street; single family) (.2).

                                Business Operations

     5/13/2021 JRW         1.30 Confer with A. Watychowicz regarding administrative hearings (7600-10 S
                                Kingston Avenue; 416-24 E 66th Street; 7109-19 S Calumet Avenue) (.1);
                                confer with J. Rak regarding administrative action (7922 S Luella Avenue)
                                (.1); review order and update records regarding administrative matter
                                (7957-59 S Marquette Road) and related correspondence to corporation
                                counsel and J. Rak (.6); correspondence to property managers regarding
                                scheduling of inspectionsfor upcoming housing court hearings (638-40 N
                                Avers Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue)
                                (.2); correspondence to property managers regarding administrative matter
                                (7109-19 S Calumet Avenue) and related correspondence with corporation
                                counsel (.3).


                                Business Operations

                 SZ        1.70 Continue to review remaining documents received from property manager
                                to finalize per-property repair expense sheet and submitted completed
                                repair expense ledger to the Receiver for his review.

                                Business Operations

     5/14/2021 ED          0.40 Call with insurance company agent regarding settlement of claim (6160-6212
                                S Martin Luther King Drive) (.1); telephone conference and email
                                correspondence with K. Duff regarding settlement of claim (6160-6212 S
                                Martin Luther King Drive) (.3).


                                Business Operations

                 JRW       0.70 Review collections notice from City of Chicago and related research regarding
                                ordinance violation (7210 S Vernon Avenue) and correspondence with A.
                                Porter regarding service of notice (.2); update records and exchange
                                correspondence with corporation counsel regarding notice (7210 S Vernon
                                Avenue) and related email exchange with K. Duff (.3); review court order
                                granting 11th sales motion (7237-43 S Bennett Avenue) and related
                                correspondence to corporate counsel (.2).

                                Business Operations
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     Date      Indiv Hours Description

     5/16/2021 AEP         0.50 Review files and prepare e-mail to K. Duff regarding relative merits of credit
                                bid versus contract from third-party purchaser in connection with motion to
                                confirm sale of property (638-40 N Avers Avenue).

                                Business Operations

     5/17/2021 AEP         0.20 Follow-up e-mail to K. Duff regarding analysis of value of third-party purchase
                                and sale contract associated with conveyance of property (638-40 N Avers
                                Avenue).

                                Business Operations

                 AW        0.50 Research regarding EB email account and communicate with K.Duff
                                regarding results (.3); research regarding process service and
                                communicate with J. Wine regarding same (.2).

                                Business Operations

                 ED        1.80 Review and analysis of report from J. Rak regarding properties sold in 2021
                                (4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates
                                Avenue; 2800-06 E 81st Street; 4611-17 S Drexel Boulevard; 1422-24 Eat
                                68th Street) (.2); prepare analysis of insurance costs and premium refunds
                                attributable to certain properties sold in 2020 (1131-41 E 79th Place; 2453-59
                                E 75th Street; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard;
                                4533-47 S Calumet Avenue; 6250 S Mozart Street; 6355-59 S Talman
                                Avenue; 6357-59 S Talman; 6749-59 S Merrill Avenue; 7300-04 S St
                                Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue;
                                7546-48 S Saginaw Avenue; 7749-59 S Yates Boulevard; 816-22 E
                                Marquette Road; 8201 S Kingston Avenue) (.9); review of related
                                correspondence and documents from insurance agent and accountant
                                (1131-41 E 79th Place; 2453-59 E 75th Street; 4315-19 S Michigan Avenue;
                                4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 6250 S Mozart
                                Street; 6355-59 S Talman Avenue; 6357-59 S Talman; 6749-59 S Merrill
                                Avenue; 7300-04 S StLawrence Avenue; 7442-54 S Calumet Avenue; 7450
                                S Luella Avenue; 7546-48 S Saginaw Avenue; 7749-59 S Yates Boulevard;
                                816-22 E Marquette Road; 8201 S Kingston Avenue) (.7); continued...

                                Business Operations

                 ED        0.90 ...(continued #1); draft and send email to insurance agent regarding
                                 additional backup required regarding premium refunds with respect to certain
                                 sold properties (8047-55 S Manistee Avenue; 8326-32S Ellis Avenue; 8334-
                                 40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52
                                 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles Avenue;
                                 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16S Ingleside
                                 Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7110 S
                                 Cornell Avenue; 7957-59 S Marquette Road; 7051 S Bennett Avenue;3074 E
                                 Cheltenham Place; 2736-44 W 64th Street; 5618-20 S Martin Luther King
                                 Drive; 6356 S California Avenue; 7201 S Constance Avenue; 6554-58 S
                                 Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                                 Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 6949-59 S Merrill
                                 Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue) (.9);
                                 (continued #2)...
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     Date      Indiv Hours Description


                                Business Operations

     5/17/2021 ED          0.40 ...(continued #2); reply to email correspondence from accountant
                                regarding calculation of insurance reconciliation amounts for properties
                                sold in 2020 (1131-41 E 79th Place; 2453-59 E 75th Street; 4315-19 S
                                Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet
                                Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6357-59S
                                Talman; 6749-59 S Merrill Avenue; 7300-04 S St Lawrence Avenue;
                                7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw
                                Avenue; 7749-59 S Yates Boulevard; 816-22 E Marquette Road; 8201 S
                                Kingston Avenue; 8047-55 S Manistee Avenue; 8326-32 S Ellis Avenue;
                                8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue;
                                5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles
                                Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                                Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                                7110 S Cornell Avenue; 7957-59 S Marquette Road; 7051 S Bennett Avenue;
                                3074 E Cheltenham Place; 2736-44 W 64th Street; 5618-20 S Martin Luther
                                King Drive; 6356 S California Avenue; 7201 S Constance Avenue; 6554-58 S
                                Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                                Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 6949-59 S Merrill
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue) (.4).

                                Business Operations

     5/18/2021 AW          0.30 Research regarding notice of collection (7210 S Vernon Avenue) and email
                                J. Wine regarding same (.2); attention to approved reinstatement documents
                                (7109 S. Calumet LLC) and email property manager same(.1).


                                Business Operations

                 KMP       0.30 Review utility invoice from property manager pertaining to sold property,
                                and related communications with K. Duff and property manager (7201 S
                                Constance Avenue).

                                Business Operations

     5/19/2021 JR          0.30 Review email from K. Duff requesting property closing update related to
                                property insurance and provide same (see A).

                                Business Operations

                 JRW       0.20 Review utility invoice for property (7201 S Constance Avenue) and related
                                email exchange with K. Pritchard (.1); exchange correspondence with
                                corporate counsel regarding housing court matters (638-40 N Avers
                                Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue) (.1).


                                Business Operations

                 KMP       0.40 Communicate with K. Duff regarding payments made for renewal of GL and
                                umbrella insurance policies (638-40 N Avers Avenue; 7237-43 S Bennett
                                Avenue; 7109-19 S Calumet Avenue; 1102 Bingham (Houston, TX); 7255-57
                                S Euclid Avenue; 6217-27 S Dorchester Avenue; 4611-17 S Drexel
                                Boulevard; 1422-24 East 68th Street; single family) (.1); exchange email
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                                correspondence with bank representative regarding account notices (.2);
                                conference with K. Duff regarding property expenses in connection with
                                anticipated third restoration motion (.1).

                                Business Operations

     5/20/2021 JRW         0.40 Email exchange with property manager regarding inspection (6217-27 S
                                Dorchester Avenue) (.1); correspondence with A. Porter and corporate
                                counsel regarding administrative judgment (2136 W 83rd Street) (.1);
                                correspond with A. Porter regarding motion to set aside judgment (7210 S
                                Vernon Avenue) (.2).

                                Business Operations

                 KMP       0.90 Review spreadsheet and invoices regarding property management expenses
                                in connection with anticipated third restoration motion (.4); review various
                                property management reports in connection with utility expense and related
                                communication with J. Wine (7201 S Constance Avenue) (.5).


                                Business Operations

     5/21/2021 JRW         1.00 Exchange correspondence with A. Porter regarding several default orders for
                                property (7210 S Vernon Avenue) (.2); prepare motion to set aside default
                                (7210 S Vernon Avenue) and related correspondence to City of Chicago (.4);
                                attention to docketing and correspondence to corporation counsel regarding
                                hearing (7210 S Vernon Avenue) (.2); correspondence tocorporation counsel
                                regarding administrative matters (7656-58 S Kingston Avenue; 6250 S Mozart
                                Street) (.2).

                                Business Operations

     5/23/2021 AEP         0.40 Inventory all orders received from corporation counsel regarding
                                administrative hearings pending against (6554-58 S Vernon Avenue; 7109-19
                                S Calumet Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston
                                Avenue; 7957-59 S Marquette Avenue) reconcile with existing records, and
                                send follow-up questions to J. Wine.

                                Business Operations

     5/24/2021 ED          1.40 Email correspondence with insurance agent and accountant regarding
                                additional information needed relating to sold properties (4750-52 S Indiana
                                Avenue; 7024-32 S Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E
                                81st Street;4611-17 S Drexel Boulevard; 1422-24 Eat 68th Street), and
                                review of policy endorsements and related documents received (11117-
                                11119 S Longwood Drive; 1700-08 W Juneway Terrace; 6554-58 S Vernon
                                Avenue; 7836 S Shore Drive; 7957-59 S Marquette Road; 8047-55 S
                                Manistee Avenue; 8326-32 S Ellis Avenue; 8334-40 S Ellis Avenue; 8342-
                                50 S Ellis Avenue; 8352-58 S Ellis Avenue) (1.1); email correspondence
                                with insurance agent regarding updates to coveragefor one property and
                                review of policy endorsements and related documentsreceived (8403 S
                                Aberdeen Street) (.3).


                                Business Operations
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     Date        Indiv Hours Description

     5/24/2021 JRW         0.40 Exchange correspondence with A. Porter regarding administrative judgment
                                (7656-58 S Kingston Avenue) and pending administrative matter (7957-59 S
                                Marquette Road) and related review of correspondence with corporation
                                counsel.

                                Business Operations

     5/25/2021 ED          0.50 Review of additional endorsements received from agent (5450-52 S Indiana
                                Avenue; 6437-41 S Kenwood Avenue; 7760 SColes Avenue; 8000-02 S
                                Justine Street; 8107-09 S Ellis Avenue; 8214-16 SIngleside Avenue; 8209 S
                                Ellis Avenue) (.3); review of email correspondencefrom J. Rak regarding
                                apparent discrepancies in reporting for certain properties, and review of
                                related documentation from property manager (7109-19 S Calumet Avenue;
                                7255-57 S Euclid Avenue) (.2).

                                Business Operations

     5/27/2021 JRW         1.40 Confer with J. Rak regarding continuance order (6250 S Mozart Street) (.1);
                                correspondence to corporation counsel regarding housing court orders
                                (638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 6217-27 S
                                Dorchester Avenue) (.1); review notices of violation (4750-52 S Indiana
                                Avenue; 7024-32 S Paxton Avenue) and related research and email
                                exchanges with J. Rak, K. Duff and corporation counsel (.4); exchange
                                correspondence with K. Duff regarding building code violations for properties
                                (638-40 N Avers Avenue; 7237-43 S Bennett Avenue) and related research
                                (.5); review housing court orders (638-40 N Avers Avenue; 7237-43 S
                                Bennett Avenue; 6217-27 S Dorchester Avenue) and related updating of
                                records and docket (.3).

                                Business Operations

     5/28/2021 AEP         0.20 Review continuance orders entered in administrative and housing court
                                actions (6250 S Mozart Avenue; 6217-27 S Dorchester Avenue; 638-40 N
                                Avers Avenue; 7237-43 S Bennett Avenue) and update case calendar.

                                Business Operations

                 JRW       2.30 Email exchange with corporation counsel and property manager regarding
                                pending administrative matter (6250 S Mozart Avenue) (.1); review
                                summons in personal injury action (7836 S Shore Drive) and related email
                                exchange with K. Duff (.4); prepare notice letter to counsel for plaintiff in
                                personal injury matter (7836 S Shore Drive) and related revision to same
                                based on comments from K. Duff (1.4); research and exchange
                                correspondence with K. Duff, J. Rak and A. Porter regarding building code
                                notices (7051 S Bennett Avenue; 7656-58 S Kingston Avenue) (.4).

                                Business Operations

     5/29/2021 AEP         0.20 Review latest orders entered in connection with administrative action (7051 S
                                Bennett Avenue), update calendar, and forward copies to counsel for new
                                purchasers.

                                Business Operations
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SUBTOTAL:                                                                                   [ 42.20         9268.00]

Case Administration

        5/3/2021      AW      0.20 Review Receivership website and request updates to same.


                                   Case Administration

        5/13/2021 JR          1.50 Review mail, scan to electronic folders and exchange correspondence with J.
                                   Wine and A. Porter regarding same (7110 S Cornell Avenue; 4520-26 S
                                   Drexel Boulevard; 6749-59 S Merrill Avenue; 6250 S Mozart Street; 7255 S
                                   Euclid Avenue; 4611-17 S Drexel Boulevard; 7957-59 S Marquette Road;
                                   7109-19 S Calumet Avenue; 6250 S Mozart Street; 5618-20 S Martin Luther
                                   King Drive;6356 S California Avenue; 6554-58 S Vernon Avenue; 7600-10 S
                                   Kingston Avenue; 7656-58 S Kingston Avenue).


                                   Case Administration

                      KMP     0.20 Communications with J. Wine and A. Watychowicz regarding docket updates
                                   for administrative court hearings.

                                   Case Administration

        5/14/2021 KMP         0.20 Telephone conference with S. Zjalic regarding issues relating to review of
                                   invoices and expenses paid to property managers.

                                   Case Administration

        5/17/2021 JRW         0.70 Draft letter to vendor regarding notice of receivership and termination of
                                   contracts (.4); correspondence with K. Duff and A. Watychowicz and
                                   review of correspondence file regarding termination of vendor contracts
                                   (.3).

                                   Case Administration

        5/18/2021 AW          0.30 Prepare update to Receivership website and contact IT vendor regarding
                                   upload.

                                   Case Administration

        5/19/2021 AW          0.50 Communicate with K. Duff regarding service of reply in support of twelfth sale
                                   motion and joint claims status report, prepare transmittal email, and serve via
                                   email as per service list.

                                   Case Administration

        5/20/2021 AW          0.20 Attention to order regarding claims process, forward to team, and update
                                   docket (.1); follow up with IT vendor regarding update to webpage and
                                   check update (.1).

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                               Page 29



         Date       Indiv Hours Description

         5/24/2021 KMP        0.30 Review order appointing receiver in connection with naming of segregated
                                   property accounts, and related communications with K. Duff and bank
                                   representative.

                                   Case Administration

         5/25/2021 AW         0.40 Prepare pleadings for upload to Receivership we page and contact IT vendor
                                   regarding update.

                                   Case Administration


SUBTOTAL:                                                                                  [ 4.50           714.00]

Claims Administration & Objections

         5/2/2021    JRW      0.30 Study vendor licenses.

                                   Claims Administration & Objections

         5/3/2021    AW       2.70 Attention to emails from claimants regarding corrections to their claims and
                                   update requests, review claims, correspond with J. Wine regarding
                                   responses, and respond to claimants' requests (1.8); prepare updates for
                                   claims vendor and database vendor to include missing claims (.9).

                                   Claims Administration & Objections

                     JRW      2.20 Attention to claimant inquiries (.5); correspondence with claimants' counsel
                                   and related investigation regarding liens against property (8432 S Essex
                                   Avenue) (.3); telephone conferences and correspondence with vendor
                                   regarding proposed contract and fees for EB records(.6); telephone
                                   conference with vendor and related correspondence to its general counsel
                                   regarding software license agreement (.4); correspondence with vendors
                                   and claimants' counsel regarding vendor licenses and quotes (.4).

                                   Claims Administration & Objections

         5/4/2021    AW       0.80 Follow up with J. Wine regarding suggested response to claimant, revise his
                                   claim, and send email response (.1); attention to estimate to retrieve
                                   documents for database, research options to download and rough estimate,
                                   and call with J. Wine regarding same (.2); attention to invoice from claimant,
                                   review claim, and email exchange with J. Wine regarding proposed revisions
                                   to claim (.2); respond to update requests from claimants (.3).

                                   Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page 30



     Date        Indiv Hours Description

     5/4/2021    JRW       0.30 Confer with A. Watychowicz regarding updating claim (.1);attention to
                                claimant inquiry (.2).

                                Claims Administration & Objections

     5/5/2021    AW        0.50 Email regarding claimants' specific questions and group email (.1); research
                                regarding claim and email claims vendor regarding claim form file (.3);
                                attention to string emails about online vendor and email response to K. Duff
                                and J. Wine (.1).


                                Claims Administration & Objections

                 JRW       1.60 Telephone conference with K. Duff regarding documents in control of third
                                party (.1); email exchange with counsel for claimants regarding vendor
                                contract (.3); email to general counsel for vendor regarding proposed
                                agreement (.2); multiple telephone conferences with vendor's counsel
                                regarding EquityBuild documents (.5); confer with vendors regarding
                                software requirements (.3); email to claimants'counsel and vendor
                                regarding access to documents in control of third-party (.2).

                                Claims Administration & Objections

     5/6/2021    AW        0.70 Call with J. Wine regarding online software and access issues (.2); attention
                                to claimant's email to government and prepare materials requested by K.
                                Duff (.5).


                                Claims Administration & Objections

                 JRW       1.30 Various email exchanges with claimants' counsel and vendors regarding
                                obtaining access to EquityBuild documents in control of third parties and
                                production format (.6); telephone conference with A. Watychowicz regarding
                                same (.1); email exchanges with vendor and K. Duff regarding revision and
                                execution of license agreement and review same (.5); review inquiries from
                                claimant and prior responses of Receiver (.1).



                                Claims Administration & Objections

     5/7/2021    AW        0.20 Attention to emails from online vendor regarding requested assistance
                                (.1); attention to email from claimant regarding update and
                                communicate with K. Duff regarding same (.1).


                                Claims Administration & Objections

                 JRW       1.30 Drafting of proposed process for properties with single claim (1017 W 102nd
                                Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                                Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                                Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S
                                Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue).
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 Kevin B. Duff, Receiver                                                                               Page 31



     Date      Indiv Hours Description


                                Claims Administration & Objections

     5/10/2021 AW          0.60 Research and email K. Duff regarding proposed discovery requests (.1);
                                review transcript of proceedings regarding discovery requests approval and
                                email K. Duff same along with claims process orders (.2); attention to email
                                from claimant regarding claim, review claim, and confirm with J. Wine
                                proof of claim contains all documents (.2); follow up on responses to
                                claimants (.1).


                                Claims Administration & Objections

                 JRW       1.70 Attention to claimant inquiries and related correspondence and investigation
                                (.7); email exchange with vendor and claimant's counsel regarding payment
                                of invoice (.1); correspondence toclaimants' counsel regarding single claims
                                process (.1); confer with K. Duff on draft process for single claim properties,
                                review and revise draft and redline comments from M. Rachlis (1017 W
                                102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                                7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                                8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue;
                                11318 S Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue)
                                (.8).



                                Claims Administration & Objections

                 MR        1.50 Review and comment on single claims process (1017 W 102nd Street; 1516
                                E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                                Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S
                                Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue).

                                Claims Administration & Objections

     5/11/2021 AW          0.30 Email exchanges with J. Wine regarding draft response to claimant (.1);
                                email responses to claimants (.2).


                                Claims Administration & Objections

                 JRW       5.10 Continue working on single claim process with K. Duff and M. Rachlis (1017
                                W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette
                                Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes
                                Avenue; 11318 S Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell
                                Avenue) (3.6); review claim forms and related correspondence with A.
                                Watychowicz (.2); correspondence from claimants' counsel and related
                                review of proofs of claim and email exchange with K. Duff and M. Rachlis
                                (7933 S Kingston Avenue; 8800 S Ada Street; 8405 S Marquette Avenue)
                                (.4); exchange correspondence with vendor and claimants' counsel regarding
                                EquityBuild documents project (.3); prepare chart comparing deadlines in
                                disputed claimsprocess and draft single claim process (.6).


                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                               Page 32



     Date      Indiv Hours Description




     5/11/2021 KMP         0.20 Attention to communications with claimants' counsel regarding costs
                                associated with upgrading software program in connection with claims
                                reporting.

                                Claims Administration & Objections

                 MR        2.50 Further review and revise claims process related items (1017 W 102nd
                                Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                                Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                                Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S
                                Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue) (1.5);
                                conferences with J. Wine and K. Duff regarding claims process(1017 W
                                102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                                7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                                8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue;
                                11318 S Church Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue)
                                (1.0).

                                Claims Administration & Objections

     5/12/2021 AW          0.20 Attention to multiple emails between claimants relating to sale of property
                                (5201-07 W Washington Boulevard) and communicate with J. Wine and K.
                                Duff regarding same.

                                Claims Administration & Objections

     5/13/2021 AW          0.90 Review claims and work on responses to claimants (.8); respond to claimants'
                                emails (.1).


                                Claims Administration & Objections

                 JRW       1.60 Attention to claimant inquiries and correspondence with K. Duff regarding
                                draft responses (.9); confer with A. Watychowicz regarding claims review
                                chart and add links in Dropbox to same (.3); review invoice from vendor
                                and related analysis to K. Duff and email exchange with claimants' counsel
                                and telephone conference with vendor (.4).



                                Claims Administration & Objections

     5/14/2021 AW          0.20 Attention to emails from online vendor and forward same to claims
                                vendor (.1); respond to claimants' emails (.1).


                                Claims Administration & Objections

                 JRW       0.30 Exchange correspondence with K. Duff regarding claims against property
                                (7927-49 S Essex Avenue) (.1); exchange correspondence with K. Duff,
                                counsel for claimants and SEC regarding preparation of joint status
                                report on EquityBuild documents (.2).


                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                 Page 33



     Date      Indiv Hours Description


     5/17/2021 AEP         0.40 Review and analyze critical documentation associated with EquityBuild
                                acquisition, finance, appraisal, and refinance of property (638-40 N Avers
                                Avenue) and provide cursory overview of potentially disputed priority issues to
                                K. Duff.

                                Claims Administration & Objections

                 JRW       2.20 Conference call with documents vendor and claimants' counsel regarding
                                status of EquityBuild document database (.6); review documents in
                                preparation for conference call with document vendor (.2); prepare property
                                listing and related correspondence with claims vendor (.3); review and
                                revise joint status report regarding commencement of claims process and
                                related internal and external correspondence (.7); exchange
                                correspondence with claims vendor regarding invoice (.1); conference call
                                with K. Duff and M. Rachlis regarding status report and claims process
                                (.3).

                                Claims Administration & Objections

                 MR        0.70 Work on joint status report (.4); conferences with K. Duff and J. Wine
                                regarding joint status report (.3).

                                Claims Administration & Objections

     5/18/2021 AW          0.60 Review claims and draft email responses to claimants (.4); send email
                                responses to claimants (.2).

                                Claims Administration & Objections

                 JRW       1.70 Correspondence with counsel for claimants, M. Rachlis and K. Duff
                                regarding Joint Status Report and related revision of same (1.3); email
                                exchange with vendor regarding status of EquityBuild document loading
                                (.1); exchange correspondence with K. Duff EquityBuild documents (.3).

                                Claims Administration & Objections

                 MR        0.70 Further work on draft joint status report.

                                Claims Administration & Objections

     5/19/2021 AW          0.40 Respond to claimant's email (.1); communicate with K. Duff and J Wine
                                regarding emails from claimants (.3).

                                Claims Administration & Objections

                 JRW       1.10 Exchange correspondence with vendor regarding claims distribution project
                                (.2); exchange correspondence with K. Duff and K. Pritchard regarding joint
                                status report (.1); review sample reports from vendor and related
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     Date      Indiv Hours Description

                                correspondence with K. Duff (.5); review claimant inquiries and related email
                                exchange with A. Watychowicz (.2); review court order relating to joint status
                                report (.1).

                                Claims Administration & Objections

     5/20/2021 JRW         0.30 Email exchange with K. Duff and A. Watychowicz regarding claimant inquiry
                                (.1); exchange correspondence with vendor and claimants' counsel
                                regarding EquityBuild document project (.2).

                                Claims Administration & Objections

     5/21/2021 AW          0.50 Respond to claimant's email (.1); review claimant's proof of claim and
                                correspond with J. Wine regarding claim (9610 S Woodland Avenue) (.3);
                                revise master claims list (9610 S Woodland Avenue) (.1).

                                Claims Administration & Objections

                 JRW       0.90 Correspondence with claimants' counsel regarding EquityBuild document
                                culling (.2); review correspondence and sample reports from vendor, related
                                telephone conference with vendor and emails regarding scheduling meeting
                                (.6); confer with A. Watychowicz regarding proof of claim regarding property
                                (9610 S Woodlawn Avenue) (.1).

                                Claims Administration & Objections

     5/24/2021 AW          0.80 Attention to emails from claimants, research regarding same, and email K.
                                Duff and J. Wine regarding responses and prior communications (.3); email
                                responses to claimants' inquiries (.3); attention to contact update request,
                                update contact information, and respond to claimant (.2).

                                Claims Administration & Objections

                 JRW       1.10 Conference call with vendor andclaimants' counsel regarding EquityBuild
                                document project (.7); telephone conference with K. Duff regarding
                                EquityBuild document issues (.4).

                                Claims Administration & Objections

     5/25/2021 JRW         1.20 Prepare for and participate in conference call with claims vendors regarding
                                EquityBuild documents (1.0); related telephone conference with A.
                                Watychowicz regarding EquityBuild documents (.1); exchange
                                correspondence with claims vendor regarding database training (.1).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                               Page 35



        Date      Indiv Hours Description

        5/26/2021 AW          0.80 Research regarding domains identified by database vendor and detailed
                                   email regarding EB vendor counsel and broker to J. Wine and K. Duff (.7);
                                   email J. Wine and K. Duff regarding scheduled training (.1).

                                   Claims Administration & Objections

                    JRW       1.40 Confer with A. Watychowicz regarding court's order (.1); correspondence
                                   with claimants' counsel and vendor regarding EquityBuild document
                                   culling (.1); study sender domain and file type summary reports from
                                   vendor and related analysis to and exchange correspondence with K.
                                   Duff and A. Watychowicz (1.2).

                                   Claims Administration & Objections

        5/27/2021 AW          0.80 Follow up with J. Wine regarding responses to claimants (.1); attention to
                                   emails from database vendor (.1); call with K. Duff and J. Wine regarding
                                   database issues (.6).

                                   Claims Administration & Objections

                    JRW       2.30 Email exchange regarding EquityBuild documents (.2); telephone conference
                                   with K. Duff and A. Watychowicz regarding EquityBuild document database
                                   issues (.8); attend database training session (1.1); review activity log from
                                   third-party vendor and related exchange of correspondence with counsel for
                                   claimants and vendor (.2).

                                   Claims Administration & Objections

        5/28/2021 AW          0.60 Respond to claimant's email regarding properties grouping (.1);watch
                                   part of database webinar (.5).

                                   Claims Administration & Objections

                    JRW       0.40 Correspondence with vendor regarding early case assessment database.

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 45.90        11272.00]

Tax Issues

        5/10/2021 KMP         0.20 Exchange email communications with accountant regarding notice from tax
                                   authority relating to property entity (4533-37 S Cornell LLC).

                                   Tax Issues
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   Kevin B. Duff, Receiver                                                                         Page 36



       Date      Indiv Hours Description

       5/19/2021 KMP         0.20 Communicate with accountant regarding notices from tax agency (4533-37
                                  S Calumet LLC; SSDF2 1139 E 79th LLC).

                                  Tax Issues


SUBTOTAL:                                                                             [ 0.40           56.00]




                                                                                     316.40      $78,400.00
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    Kevin B. Duff, Receiver                                                                   Page 37




Other Charges

                                     Description

Asset Disposition

                                     FedEx deliveries to City of Calumet City relating          128.93
                                     to materials and fees for home inspection (417
                                     Oglesby Avenue, Calumet City, IL)


SUBTOTAL:                                                                                [      128.93]

Business Operations

                                     Photocopies for May 2021                                    71.10

                                     Online research for May 2021                              1,238.90

                                     Software license fees for May 2021 (Summit                 269.00
                                     Hosting, $173; Google Suite, $96)


SUBTOTAL:                                                                                [     1,579.00]


Total Other Charges                                                                           $1,707.93




                                    Summary of Activity
                                                                       Hours       Rate
Jodi Wine                                                              59.20     260.00      $15,392.00
Ania Watychowicz                                                       17.20     140.00       $2,408.00
Justyna Rak                                                           107.00     140.00      $14,980.00
Kathleen M. Pritchard                                                  17.00     140.00       $2,380.00
Natalie Gastevich                                                       0.80      95.00          $76.00
Stoja Zjalic                                                            6.30     110.00         $693.00
Andrew E. Porter                                                       93.50     390.00      $36,465.00
Ellen Duff                                                              6.40     390.00       $2,496.00
Michael Rachlis                                                         9.00     390.00       $3,510.00
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 Kevin B. Duff, Receiver                                                     Page 38




                                   SUMMARY


               Legal Services                                  $78,400.00
               Other Charges                                    $1,707.93

                  TOTAL DUE                                    $80,107.93
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                                Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                               Suite 900                                   fax (312) 733-3952
                                         Chicago, Illinois 60605




August 6, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No.6622135
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




 Legal Fees for the period June 2021                                     $45,758.00

 Expenses Disbursed                                                           $383.22


 Due this Invoice                                                        $46,141.22
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    Kevin B. Duff, Receiver                                                                                 Page 2




        Date          Indiv Hours Description

Accounting/Auditing

         6/3/2021     KMP     0.20 Update Receivership account ledgers to reflect recent transactions (7237-43
                                   S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue;
                                   7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S Calumet
                                   Avenue; 1102 Bingham (Houston, TX)).

                                   Accounting/Auditing

         6/9/2021     KMP     0.40 Prepare deposit documentation and transmittal to bank regarding utility
                                   refunds for properties (11117-11119 S Longwood Drive; 7109-10 S
                                   Calumet Avenue; 7026-42 S Cornell Avenue) and related communications
                                   with K. Duff.

                                   Accounting/Auditing

         6/14/2021 KMP        0.60 Update account ledgers to reflect recent transactions and related
                                   communications with K. Duff (7237-45 S Bennett Avenue) (.3); review bank
                                   account related to property to confirm sales proceeds and identify
                                   discrepancy relating to same, and related communication with J. Rak
                                   (7749-59 S Yates Boulevard) (.3).

                                   Accounting/Auditing

         6/21/2021 KMP        0.20 Review online account records to confirm receipt of wire transfer (1422-24 E
                                   68th Street) and related communications with K Duff, A. Porter, and J. Rak.

                                   Accounting/Auditing

         6/24/2021 KMP        1.00 Work with K. Duff to prepare documentation for deposits to receiver's
                                   account and property account (7051 S. Bennett Avenue) (.2); prepare
                                   schedules of receipts and disbursements relating to receiver's accounts for
                                   May 2021 (.8).

                                   Accounting/Auditing

         6/29/2021 KMP        0.20 Review online banking records to confirm deposits to Receiver's account and
                                   property account (7051 S Bennett Avenue) and related communication with
                                   K. Duff.

                                   Accounting/Auditing


SUBTOTAL:                                                                                    [ 2.60           364.00]

Asset Analysis & Recovery

        6/9/2021      KMP     0.80 Follow up on subpoena and telephone conference with post office
                                   representative regarding status of certified mail delivery of same (.2); revise
                                   subpoena and prepare additional service transmittal via certified mail (.4);
                                   communicate with K. Duff, J. Wine, A. Porter, and A. Watychowicz
                                   regarding status and reissuance of subpoena (.2).
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 Kevin B. Duff, Receiver                                                                              Page 3



     Date        Indiv Hours Description


                                Asset Analysis & Recovery

     6/10/2021 JRW         0.60 Telephone conference with counsel for insurer regarding potential
                                interpleader action and related correspondence with K. Duff (.2); telephone
                                conference with K. Duff regarding settlement negotiations (.1); conference
                                call with counsel regarding settlement negotiations (.3).


                                Asset Analysis & Recovery

     6/11/2021 JRW         0.70 Review and comment on draft correspondence to counsel regarding
                                settlement communications (.3); related review of subpoenaed
                                documents (.3); exchange voice messages with counsel for insurance
                                company regarding interpleader (.1).

                                Asset Analysis & Recovery

     6/15/2021 JRW         0.30 Voicemail message from counsel regarding settlement negotiation, and
                                related conference with K. Duff and telephone conference with counsel.


                                Asset Analysis & Recovery

     6/16/2021 KMP         0.20 Follow up on service of subpoena and related communications with K. Duff
                                and A. Porter.

                                Asset Analysis & Recovery

     6/17/2021 JRW         0.20 Telephone conference with K. Duff regarding settlement negotiations (.1);
                                exchange voice messages with counsel for insurer regarding settlement
                                status and potential interpleader action (.1).

                                Asset Analysis & Recovery

                 KMP       0.30 Exchange email correspondence with J. Wine regarding response to
                                subpoena and forward additional information to subpoenaed party.


                                Asset Analysis & Recovery

     6/21/2021 JRW         0.20 Confer with K. Duff and telephone conference with counsel for third-party
                                regarding continued settlement negotiations.

                                Asset Analysis & Recovery

     6/22/2021 JRW         1.60 Exchange correspondence with counsel for insurer regarding potential
                                interpleader action (.1); exchange correspondence with counsel for third-
                                party regarding settlement negotiations and related email exchange with K.
                                Duff (.2); begin drafting settlement agreement (1.0); exchange
                                correspondence with counsel for insurer regarding settlement agreement
                                and requested release (.2); confer with K. Duff regarding settlement
                                provision (.1).
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    Kevin B. Duff, Receiver                                                                               Page 4



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         6/23/2021 JRW        1.80 Attention to drafting of settlement agreement and related
                                   correspondence with K. Duff.

                                   Asset Analysis & Recovery

         6/24/2021 JRW        1.60 Continued preparation of settlement agreement and related
                                   correspondence with K. Duff.

                                   Asset Analysis & Recovery

         6/25/2021 JRW        0.50 Review redline of proposed settlement agreement from K. Duff and
                                   additional revisions to same (.3); correspondence to counsel related to
                                   settlement agreement (.2).

                                   Asset Analysis & Recovery

         6/28/2021 KMP        0.30 Communicate with EB team regarding response to subpoena and forward
                                   related correspondence received from subpoenaed party.

                                   Asset Analysis & Recovery

         6/29/2021 JRW        0.70 Review redline of settlement agreement and related comments to
                                   K. Duff and M. Rachlis (.2); further revise settlement agreement to
                                   incorporate additional comments (.5).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 9.80           2356.00]

Asset Disposition

         6/1/2021   JR        1.90 Review email from J. Wine and respond accordingly regarding collection
                                   notice (7237-43 S Bennett Avenue) (.1); exchange communication with
                                   property management advising of closings and request updated property
                                   reports (7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue) (.1); review
                                   email from buyer requesting ledgers and tenant payment information and
                                   produce same (single family) (.5); exchangecorrespondence with K. Duff,
                                   bank representative, K. Pritchard regarding net sale proceeds from the
                                   single family homes, update allocation spreadsheet with interest and provide
                                   detailed instructions to the bank for single family home allocation related to
                                   each property (single family)(1.2).

                                   Asset Disposition

                    KMP       0.50 Review online banking records to confirm receipt of funds wired in
                                   connection with the sale of the single family homes, calculate pro rata share
                                   of interest earned on sale proceeds, and related communications with K. Duff
                                   and J. Rak (single family).


                                   Asset Dispotision
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 Kevin B. Duff, Receiver                                                                                Page 5



     Date        Indiv Hours Description

     6/2/2021    AEP       0.30 Teleconferences with counsel for defaulted purchaser of property (1422-24
                                East 68th Street) and K. Duff regarding terms of proposed settlement.

                                Asset Disposition

                 JR        1.20 Review email from bank regarding allocation of funds and respond
                                accordingly (single family) (.2); review email from property management,
                                review property reports and save in electronic files (7255-57 S Euclid
                                Avenue; 7237-43 S Bennett Avenue) (.1); exchange correspondence with
                                property management advising of closing (6217-27 S Dorchester Avenue)
                                and request property reports in anticipation for closing (.1); update report to
                                electronic files (6217-27 S Dorchester Avenue) (.1); review email from buyer
                                and property management related to previously closed property and
                                collection of rent (2800-06 E 81st Street), review ledgers and provide
                                requested information regarding rent payments for tenant regarding same
                                (.6); review email from real estate broker requesting property reports (1422-
                                24 E 68th Street) and provide same (.1).


                                Asset Disposition

                 KMP       0.20 Study communications from bank representative regarding transfers of
                                proceeds to property accounts in connection with sale of single-family
                                homes (single family).

                                Asset Disposition

     6/3/2021    JR        0.30 Review email from J. Wine regarding notice of violation and forward to buyer
                                for property (6949-59 S Merrill Avenue).

                                Asset Disposition

                 KMP       0.30 Review and confirm transfers of sale proceeds from sale of single-family
                                homes to individual property accounts and related communication with K.
                                Duff and J. Rak (single family).

                                Asset Disposition

     6/4/2021    JR        3.20 Update closing documents in anticipation for closing regarding property
                                (7255-57 S Euclid Avenue) (1.2); update closing documents in anticipation
                                for closing regarding property (7237-43 S Bennett Avenue) (1.1); update
                                closing documents in preparation for closing regarding property (6217-27 S
                                Dorchester Avenue) (.8); review email from J. Wine regarding an error to
                                master portfolio and make correction to same (7024-32 S Paxton Avenue)
                                (.1).

                                Asset Disposition

     6/7/2021    JR        4.20 Update closing documents for property in anticipation for sale (6217-27 S
                                Dorchester Avenue) (1.0); update closed property spreadsheet with single
                                family home gross and net proceeds, make corrections to normalize property
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 Kevin B. Duff, Receiver                                                                                Page 6



     Date        Indiv Hours Description

                                addresses (single family) (1.2); review property tax delinquencies and update
                                closing checklist (7237-43 S Bennett Avenue) (.2); draft real estate transfer
                                declaration form for properties (7237-43 S Bennett Avenue; 7255-57 S
                                Euclid Avenue; 6217-27 S Dorchester Avenue) (.7); review email from J.
                                Wine relating to production of due diligence documents including code
                                violations shared with buyer upon execution of purchase and sale agreement
                                (7656-58 S Kingston Avenue), research same and further correspond with J.
                                Wine regarding same (.6); update notices to tenants for upcoming closings
                                (7237-43 S Bennett Avenue; 7255-57 S EuclidAvenue; 6217-27 S
                                Dorchester Avenue) (.5).

                                Asset Disposition

     6/7/2021    MR        0.50 Attention to property issues in administrative court and related exchange with
                                J. Wine (7051 S Bennett Avenue) (.3); follow up on additional property issues
                                (7656-58 S Kingston Avenue) (.2).

                                Asset Disposition

     6/8/2021    JR        1.30 Review email from J. Wine regarding code violations and provide requested
                                information for buyer (7600-10 S Kingston Avenue; 6949-59 S Merrill
                                Avenue) (.4); review email from property management and provide
                                requested post-closing payment information related to tenant rent (single
                                family) (.3); review email from the title company regarding water application
                                (7237-42 S Bennett Avenue) and update electronic files (.4); review email
                                from property management requesting information for entity related to
                                closing utility accounts due to transfer of property and provide closing
                                statement from closing (6554 S Rhodes Avenue) (.2).


                                Asset Disposition

     6/9/2021    JR        0.90 Organize master statements for each property (single family).

                                Asset Disposition

     6/11/2021 JR          0.90 Review email from K. Duff related to property tax balance for property (1102
                                Bingham (Houston, TX)), collect further information from the collection firm
                                and county tax office regarding property tax balance and options for
                                repayment arrangements (.8); further correspondence with K. Duff and J.
                                Wine advising of payment options (1102 Bingham (Houston, TX)) (.1).

                                Asset Disposition

     6/12/2021 AEP         6.40 Read title commitment associated with receivership property (1102 Bingham
                                (Houston, TX)), review marketing materials and metrics associated with sale
                                of same, research law pertaining to confirmation of private sale of
                                receivership property, review appraisals, prepare first draft of motion to
                                approve sale, prepare first draft of notice of publication of sale, and prepare
                                first draft of declaration of receivership broker.

                                Asset Disposition
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     Date        Indiv Hours Description

     6/14/2021 AEP         2.80 Teleconference with title agent regarding special exceptions on title
                                commitment associated with prospective conveyance of receivership
                                property (1102 Bingham (Houston, TX)) (.2); review and analyze purchase
                                and sale contract and title commitment associated with prospective
                                conveyance of receivership property (1102 Bingham (Houston, TX)) and
                                prepare comprehensive e-mail memorandum to title underwriter identifying
                                every title exception potentially requiring deletion and seeking response
                                regarding proposed basis for securing deletion of same (2.4); review form
                                notice of sale received from K. Duff and revise notice of sale of receivership
                                property (1102 Bingham (Houston, TX)) accordingly (.2).

                                Asset Disposition

                 JR        2.30 Exchange communication with the county tax office regarding payment
                                options related to delinquent property taxes (1102 Bingham (Houston, TX))
                                (.7); exchange correspondence with K. Duff and K. Pritchard regarding
                                options for payment of property taxes (1102 Bingham (Houston, TX)) (.2);
                                review information related to property sales and proceed amounts and
                                confer with K. Pritchard and K. Duff regarding discrepancy related to net
                                proceeds (7749-59 S Yates Boulevard) (1.4).

                                Asset Disposition

     6/15/2021 AEP         0.50 Teleconference with K. Duff and receivership broker regarding options for
                                remarketing receivership property (1422-24 East 68th Street) regarding
                                default by original prospective purchaser.

                                Asset Disposition

                 JR        0.70 Review email from county regarding payment plan agreement for property
                                tax balance (1102 Bingham (Houston, TX)) (.2); exchange correspondence
                                with county and K. Duff regarding payment plan agreement (1102 Bingham
                                (Houston, TX)) (.2); communication with J. Wine regarding building code
                                violations, save code violations in electronic files (7110 S Cornell Avenue;
                                7109-19 S Calumet Avenue; 6250 S Mozart Avenue; 6949-59 S Merrill
                                Avenue; 7656-58 S Kingston Avenue; 6554-58 SVernon Avenue; 7600-10
                                S Kingston Avenue; 4520-26 S Drexel Boulevard; 7109-19 S Calumet
                                Avenue) (.3).

                                Asset Disposition

                 JRW       0.30 Prepare notice of public sale (1422-24 East 68th Street) and related email
                                exchange with publication.

                                Asset Disposition

     6/16/2021 JR          0.70 Review email from buyer's property management regarding tenant rent
                                payment (8104 S Kingston Avenue) and respond accordingly (.2); further
                                correspondence with property management requesting transfer of funds to
                                buyer (8104 S Kingston Avenue) (.1); review email from K. Duff requesting
                                post-closing reconciliation update for closed property spreadsheet and
                                provide same (single family; 7749-59 S Yates Avenue; 8201 S Kingston
                                Avenue; 7051 S Bennett Avenue) (.4).


                                Asset Disposition
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     Date        Indiv Hours Description

     6/16/2021 JRW         0.40 Exchange correspondence with broker regarding publication of sale (1422-
                                24 East 68th Street) (.1); revise publication notice and related email and
                                telephone conference regarding placement of same (.3).


                                Asset Disposition

                 KMP       0.60 Review property accounts to update spreadsheets relating to post-sale
                                reconciliation by property managers and related communications with K. Duff
                                and J. Rak (single family; 4750-52 S Indiana Avenue; 7024-32 S Paxton
                                Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street; 4611-17 Drexel
                                Boulevard).

                                Asset Disposition

     6/17/2021 AEP         1.20 Teleconference with K. Duff and receivership broker regarding potential
                                settlement of default with original purchaser of receivership property
                                (1422-24 East 68th Street), terms of potential settlement, and implication on
                                continued marketing efforts (.3); prepare e-mail to counsel for defaulted
                                purchaser of receivership property (1422-24 East 68th Street) proposing
                                terms of settlement (.1); prepare formal settlement letter in connection with
                                contemplated withdrawal of invocation of default, prepare SJO release form,
                                prepare new SJO deposit form, prepare buyer certification letter, and
                                transmit same to counsel for prospective purchaser of receivership property
                                (1422-24 East 68th Street) (.8).

                                Asset Disposition

                 JRW       0.30 Confer with K. Duff regarding publication notice (1422-24 East 68th Street)
                                and related email exchange with Legal Notices Department (.2); exchange
                                correspondence with K. Duff and A. Porter regarding publication (1102
                                Bingham (Houston, TX)) (.1).

                                Asset Disposition

                 KMP       0.20 Communicate with A. Porter and J. Rak to provide wiring instructions for
                                deposit to property account (1422-24 E 68th Street).

                                Asset Disposition

     6/18/2021 AEP         0.40 Teleconference with receivership broker regarding marketing efforts
                                associated with receivership property (1102 Bingham (Houston, TX)) and
                                appraised values and sales price in connection with preparation of
                                declaration in support of motion to confirm sale.


                                Asset Disposition

                 JR        0.50 Review email from K. Duff and further exchange correspondence with K. Duff
                                and A. Porter regarding closing (1422-24 East 68th Street).


                                Asset Disposition
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     Date      Indiv Hours Description



     6/19/2021 AEP         0.80 Read and respond to correspondence from counsel for prospective
                                purchaser of receivership property (1422-24 East 68th Street) regarding
                                finalization of documentation associated with revocation of default, prepare
                                correspondence to title company regarding confirmation of receipt of new
                                earnest money, release of original earnest money, and scheduling of closing,
                                and prepare correspondence to K. Duff and J. Rak regarding preparation for
                                closing (.4); review closing calendar, review status of closing document
                                preparation for receivership properties (7237-43 S Bennett Avenue; 6217-27
                                S Dorchester Avenue; 7255-57 S Euclid Avenue), and prepare e-mail to K.
                                Duff and J. Rak regarding preparation for closings (.2); review property
                                disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet
                                unpaid survey invoices and providing estimated dates of final payment
                                (single family) (.2).

                                Asset Disposition

                 JR        0.40 Review email from A. Porter and deliver closing documents to A. Porter for
                                review in preparation for closing (1422-24 East 68th Street).

                                Asset Disposition

     6/21/2021 AEP         2.30 Teleconference with title underwriters regarding background of receivership
                                litigation, clouds on title to be removed through judicial order, and
                                encumbrances to be released at closing in connection with conveyance of
                                receivership property (1102 Bingham (Houson, TX)) (.3); review closing
                                checklist for receivership property (1422-24 East 68th Street), update title
                                documents, update closing figures, and communicate with escrow agent
                                regarding title indemnity associated with lack of water certification and
                                necessity of updating title commitment (.6); review title underwriter answers
                                to e-mail memorandum regarding final form of title policy associated with
                                conveyance of receivership property (1102 Bingham (Houston, TX)) and
                                prepare follow-up questions thereto (.3); prepare all closing documents for
                                conveyance of receivership property (7237-43 S Bennett Avenue), including
                                preliminary seller's figures, and transmit drafts of same to counsel for
                                purchaser (1.1).

                                Asset Disposition

                 JR        4.10 Exchange correspondence with property management regarding closing
                                (1422-24 E 68th Street) and request property reports (.4); prepare closing
                                documents in anticipation of closing (1422-24 East 68th Street) (3.2);
                                exchange correspondence with the title company water department
                                requesting to resubmit water applications in preparation for closings due to
                                expiration of same (1422-24 E 68th Street; 7255-57 S Euclid Avenue; 6217-
                                27 S Dorchester Avenue) (.2); follow up communication with buyer and
                                buyer's counsel requesting updates to notices to tenants in preparation for
                                closing (7255-57 S Euclid Avenue; 6217-27 S Dorchester Avenue) (.2);
                                follow up correspondence with buyer requesting updates to notices to
                                tenants in preparation for closing (7237-43 S Bennett Avenue) (.1).


                                Asset Disposition
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     6/22/2021 AEP         2.80 Review all closing documents associated with receivership property (6217-27
                                S Dorchester Avenue), prepare seller's closing figures, request closing
                                confirmation, and forward same to counsel for purchaser along with draft
                                closing documents (1.1); review all closing documents associated with
                                receivership property (7255-57 S Euclid Avenue), prepare seller's closing
                                figures, request closing confirmation, and forward same to counsel for
                                purchaser along with draft closing documents (1.1); review and re-draft deed
                                and money escrow instructions for receivership property (1422-24 East 68th
                                Street) (.2); review and re-draft deed and money escrow instructions for
                                receivership property (6217-27 S Dorchester Avenue) (.2); review and
                                re-draft deed and money escrow instructions for receivership property
                                (7255-57 S Euclid Avenue) (.2).

                                Asset Disposition

                 JR        1.30 Exchange correspondence with A. Porter requesting review of closing
                                documents in preparation for closing (7237-43 S Bennett; 7255-57 S Euclid
                                Avenue) (.1); meeting with S. Zjalic requesting notary for closing documents
                                in preparation for closings (1422-24 East 68th Street; 6217-27 S Dorchester
                                Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue) (1.2).

                                Asset Disposition

                 SZ        0.30 Meeting with J. Rak to notarize closing documents (1422-24 E 68th Street;
                                6217-27 S Dorchester Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid
                                Avenue).

                                Asset Disposition

     6/23/2021 AEP         3.80 Oversee finalization and execution of closing documents for receivership
                                properties (1422-24 East 68th Street; 7327-43 S Bennett Avenue; 6217-27 S
                                Dorchester Avenue; 7255-57 S Euclid Avenue) (1.8); attend closing of
                                receivership property (1422-24 East 68th Street) (1.6); correspondence and
                                communications with property management firm regarding potential
                                payment of post-receivership management fees and necessity of lien waiver
                                (6217-27 S Dorchester Avenue) (.2); prepare authorization to release
                                escrowed funds in connection with transfer of earnest money to newtitle
                                company in connection with prospective conveyance of receivership
                                property (7237-43 S Bennett Avenue) and communications with buyer's
                                counsel regarding same (.2).

                                Asset Disposition

                 JR        7.40 Draft, update and review closing documents for closing (1422-24 East 68th
                                Street) (3.3); exchange correspondence with property management
                                regarding closing (1422-24 East 68th Street) and advising on property key
                                release protocol to the buyer upon closing (.1); review email from the title
                                company requesting pictures of water meters related to water application
                                in anticipation of closing (6217-27 S Dorchester Avenue) and respond
                                accordingly (.2); further communicate with property management
                                requesting water meter pictures for processing of final water bill for
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                                closing (6217-27 S Dorchester) (.1); follow up correspondence with buyer
                                requesting confirmation of notices to tenants related to upcoming closings
                                (6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue) (.1); exchange
                                correspondence with property management requesting execution of lien
                                waiver and notices to tenants in anticipation of closing (6217-27 S
                                Dorchester Avenue) (.2); meeting with A. Porter and K. Duff regarding
                                closing document execution in anticipation for closing (1422-24 East 68th
                                Street; 6217-27 S Dorchester Avenue; 7237-43 SBennett Avenue; 7255-57
                                S Euclid Avenue) (1.4); attend closing (1422-24 East 68th Street) (1.9);
                                exchange correspondence with K. Duff, K. Pritchard, property management
                                and real estate broker advising of closing (1422-24 East 68th Street) (.1).


                                Asset Disposition

     6/23/2021 KMP         0.20 Review online account information to verify receipt of proceeds for sale of
                                property and related communications with K. Duff and J. Rak (1422-24 East
                                68th Street).

                                Asset Disposition

     6/24/2021 AEP         0.50 Numerous teleconferences with counsel for purchaser of receivership
                                properties (6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue), title
                                schedulers, and J. Rak regarding potential rescheduling of closings.

                                Asset Disposition

                 JR        2.80 Follow up correspondence with buyer requesting a copy of the rent roll from
                                closing (1422-24 East 68th Street) (.1); review requested water meter
                                pictures and forward to the title company in anticipation of closing (6217-27 S
                                Dorchester Avenue) (.2); provide due diligence documents to buyer's
                                counsel in preparation for closing (7237-43 S Bennett Avenue) (.2);
                                exchange communication with A. Porter regarding closing of property and
                                preparation of same (7255-57 SEuclid Avenue; 6217-27 S Dorchester
                                Avenue) (.2); further communication with the property managers regarding
                                preparation of possible closing of property (7255-57 S Euclid Avenue; 6217-
                                27 S Dorchester Avenue) (.9); provide requested due diligence documents to
                                buyer and buyer's counsel regarding upcoming closings (7255-57 S Euclid
                                Avenue; 6217-27 S Dorchester Avenue) (.3); review email from buyer's
                                counsel requesting updated to notices to tenants and update same in
                                preparation for closing (6217-27 S. Dorchester Avenue; 7255-57 S Euclid
                                Avenue) (.8); forward notices to tenants and lien waivers to property
                                management for execution (7255-57 S Euclid Avenue; 7237-43 S Bennett
                                Avenue) (.1).


                                Asset Disposition

     6/28/2021 AEP         0.60 Revise prorations in closing figures associated with conveyance of
                                receivership property (7255-57 S Euclid Avenue), submit to escrow agent,
                                and reconcile three ensuing drafts of settlement statement (.4);
                                communications with title underwriter regarding compliance with conditions to
                                sale of receivership property (7237-43 S Bennett Avenue) absent production
                                of property manager lien waiver (.2).
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                                Asset Disposition

     6/28/2021 JR          0.20 Review email from property management regarding closing confirmation for
                                property (6217-27 S Dorchester Avenue) and respond accordingly (.1);
                                review email from the title company requesting a survey for closing and
                                provide same (7255-57 S Euclid Avenue) (.1).

                                Asset Disposition

     6/29/2021 AEP         1.70 Read and analyze latest metrics sent by receivership broker regarding
                                marketing of receivership property (1102 Bingham (Houston, TX)) and
                                revise draft declaration accordingly (.2); prepare e-mail to newspaper
                                regarding need for affidavit of publication (1102 Bingham (Houston, TX))
                                (.1); teleconference with receivership broker regarding marketing metrics,
                                other requested changes to declaration, and lack of responsiveness from
                                title company, amend declaration as necessary, and transmit same for
                                signature (1102 Bingham (Houston, TX)) (.5); communications with escrow
                                agent, counsel for purchaser, and purchaser's lender regarding lack of full
                                payment water certificate associated with scheduled conveyance of
                                receivership property (7255-57 S Euclid Avenue) (.3); communications with
                                escrow agent and J. Rak regarding finalization of settlement statement and
                                other issues associated with closing of conveyance of receivership property
                                (7255-57 S Euclid Avenue) (.3); communications with escrow agent and
                                buyer's counselregarding preparation for closing of conveyance of
                                receivership property (7237-43 S Bennett Avenue) (.3).

                                Asset Disposition

                 JR        6.40 Exchange correspondence with property management requesting property
                                reports for closing (7255-57 S Euclid Avenue) (.1); review reports and
                                update closing documents for property (7255-57 S Euclid Avenue) (1.6);
                                exchange correspondence with A. Porter requesting confirmation of
                                proration credits to buyer related to closing (7255-57 S Euclid Avenue) (.1);
                                review email from closer requesting recent water bills for property (7255-57
                                S Euclid Avenue) (.1); exchange communication with property management
                                requesting recent water bills required for closing (7255-57 S Euclid Avenue)
                                (.1); attend closing of property (7255-57 S Euclid Avenue) (4.1); exchange
                                correspondence with K.Duff, K. Pritchard, property management and real
                                estate broker advising of closing (7255-57 S Euclid Avenue) (.1); further
                                correspondence with account analysts advising of closing of property (7255-
                                57 S. Euclid Avenue) (.1); communicate with K. Duff regarding wire
                                instructions for upcoming closing (7237-43 S Bennett Avenue) (.1).

                                Asset Disposition
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        6/29/2021 KMP         0.20 Review online bank records and communicate with K. Duff and J. Rak
                                   regarding receipt of proceeds from sale of property (7255-57 S Euclid
                                   Avenue).

                                   Asset Disposition

        6/30/2021 AEP         6.80 Review all EquityBuild e-mails, spreadsheets, and electronic files, assemble
                                   all information pertaining to debt investments in receivership property (1102
                                   Bingham (Houston, TX)), and create spreadsheet to track allinvestments,
                                   redemptions, buyouts, conversions to equity, and rollovers intounsecured
                                   promissory notes to title insurer in connection with planned conveyance
                                   (6.2); review and reconcile draft settlement statements, communications
                                   with J. Rak and escrow agent regarding final closing issues, and prepare
                                   waived title for buyer in connection with conveyance of receivership
                                   property (7237-43 S Bennett Avenue) (.6).

                                   Asset Disposition

                      JR      4.80 Exchange correspondence with property management requesting property
                                   reports in anticipation for closing (7237-43 S Bennett Avenue) (.1); review
                                   email from buyer's counsel requesting survey and provide same (7237-43 S
                                   Bennett Avenue) (.1); review email from J. Wine regarding violation notices
                                   related to sold property, respond accordingly and forward to buyer (K.
                                   Nugent) (6554-58 S Vernon Avenue) (.2); attend closing of property(7237-43
                                   S Bennett Avenue) (4.1); exchange correspondence with K. Duff, K.
                                   Pritchard, property management and real estate broker advising of closed
                                   property (7237-43 S Bennett Avenue) (.1); review notice of violation for
                                   closed property and forward to buyer and buyer's counsel (2736-44 W 64th
                                   Street) (.1); review violation notices and forward to buyer for previously
                                   closed property (4750-52 S Indiana Avenue) (.1).

                                   Asset Disposition

                      KMP     0.20 Review online bank records and communicate with K. Duff and J. Rak
                                   regarding receipt of proceeds from sale of property (7237-43 S Bennett
                                   Avenue).

                                   Asset Disposition


SUBTOTAL:                                                                                  [80.60         19245.00]

Business Operations

        6/1/2021      ED      0.90 Update list of insurance policy endorsements needed to complete
                                   reconciliation of costs for properties sold in 2020 and email correspondence
                                   with insurance agent to request additional backup (8407-55 S Manistee
                                   Avenue; 7749-59 S Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S
                                   Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue;
                                   4520-26 S Drexel Boulevard; 8326-32 S Ellis Avenue; 8334-40 S Ellis
                                   Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52 S
                                   Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles Avenue;
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                                8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16S Ingleside
                                Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S
                                St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                                7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street;
                                5618-20 S Martin Luther King Drive; 6356 S California Avenue; 6355-59 S
                                Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon Avenue;
                                1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                                Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                                Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                                Calumet Avenue; 4315-19 S MichiganAvenue; 7600-10 S Kingston Avenue;
                                7656-58 S Kingston Avenue; 1131-41E 79th Place; 6250 S Mozart Street).

                                Business Operations

     6/1/2021    JRW       0.30 Exchange correspondence with J. Rak regarding collection notices (7051 S
                                Bennett Avenue; 7656-58 S Kingston Avenue) (.1); confer with K. Pritchard
                                regarding payment of judgment from property account (431 E 42nd Place)
                                and update records accordingly (.2).

                                Business Operations

                 KMP       0.90 Effectuate payment of administrative judgment against property and related
                                communications with K. Duff and J. Wine (431 E 42nd Place) (.3); prepare
                                request form for transfer of funds for payment of property insurance renewal
                                premiums and related communications with K. Duff and bank representative
                                (7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40N Avers
                                Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 7109-19 S
                                Calumet Avenue; 1102 Bingham (Houston, TX)) (.4); communicate with
                                bank representative regarding online bank records (.2).

                                Business Operations

     6/3/2021    ED        0.30 Email correspondence with lender's counsel and property manager
                                regarding request for rent rolls and financial reporting for property (7109-19
                                S Calumet Avenue) (.2); email correspondence with insurance agent
                                regarding insurance refunds for sold properties (8047-55 S Manistee
                                Avenue; 7749-59 S Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S
                                Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue;
                                4520-26 S Drexel Boulevard; 8326-32 S Ellis Avenue; 8334-40 S Ellis
                                Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52 S
                                Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles Avenue;
                                8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside
                                Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S St
                                Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                                7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street;
                                5618-20 S Martin Luther King Drive; 6356 S California Avenue; 6355-59 S
                                Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon Avenue;
                                1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                                Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                                Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                                Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue;
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                                7656-58 S Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street)
                                (.1).

                                Business Operations

     6/3/2021    JRW       1.60 Exchange correspondence with property manager regarding upcoming hearing
                                (6250 S Mozart Street) (.1); review new notice of violation (6949-59 S Merrill
                                Avenue) and related correspondence to city attorney and ownership dispute
                                division (.4); correspondence with city attorney regarding notice of violation
                                (7024-32 S Paxton Avenue) (.1); review order nonsuiting matter (4520-26 S
                                Drexel Boulevard) and related correspondence to K. Duff and A. Porter (.1);
                                exchange multiple correspondence with city attorney regarding hearings on
                                motions to set aside default judgments (7210 S Vernon Avenue; 7051 S
                                Bennett Avenue) and related email to Department of Administrative Hearings
                                regarding dismissing or advancing matter (.7); exchange correspondence with
                                A. Porter regarding purchaser's responsibility for pending administrative
                                matters (7656-58 S Kingston Avenue; 7051 S Bennett Avenue) (.2).


                                Business Operations

     6/4/2021    JRW       0.90 Exchange correspondence with corporation counsel regarding motion to set
                                aside hearings (7051 S Bennett Avenue; 7210 S Vernon Avenue) and prepare
                                for hearings (.5); correspondence from ownership unit regarding nonsuit
                                (6949-59 S Merrill Avenue) and related email exchange with corporation
                                counsel (.1); draft correspondence to ownership unit regarding new notice of
                                violation (7024-32 S Paxton Avenue) and relatedcorrespondence to J. Rak
                                and corporation counsel regarding sale date (.3).


                                Business Operations

     6/7/2021    JRW       1.80 Exchange correspondence with A. Porter and M. Rachlis regarding pending
                                administrative matters and effect of property sales (7051 S Bennett Avenue;
                                7656-58 S Kingston Avenue) (.2); appearance in administrative hearing (7051
                                S Bennett Avenue) (.8); exchange correspondence with J. Rak regarding sale
                                documents (7656-58 S Kingston Avenue) (.2); prepare summary of city's
                                position regarding pending matters (7051 S Bennett Avenue; 7210 S Vernon
                                Avenue) and related analysis of order appointing receiver (.6).

                                Business Operations

     6/8/2021    JRW       1.00 Exchange correspondence with city property inspector regarding transfer of
                                property (2527-29 E 76th Street) (.1); review notice of violation (6949-59 S
                                Merrill Avenue) and related email exchange with J. Rak (.1); email exchange
                                regarding property manager account balance (1401 W 109th Place) (.1); email
                                exchange with K. Pritchard and ownership unit regarding Department of
                                Sanitation matter (6949-59 S Merrill Avenue) (.1); analysis to K. Duff regarding
                                pending administrative matters and judgments (7109-19 S CalumetAvenue;
                                7110 S Cornell Avenue; 6250 S Mozart Street; 6949-59 S Merrill Avenue;
                                6554-58 S Vernon Avenue; 7600-10 S Kingston Avenue; 4520-26 S Drexel
                                Boulevard; 2129 W 71st Street; 7957-59 S Marquette Road; 7024-32 S Paxton
                                Avenue; 4750-52 S Indiana Avenue; 7051 S Bennett Avenue; 7210 S Vernon
                                Avenue) (.4); exchange correspondence with A. Porter and K. Duff
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     Date        Indiv Hours Description

                                regarding property manager communication regarding single family
                                properties (310 E 50th Street; 1401 W 109th Place; 6807 S Indiana Avenue)
                                (.2).

                                Business Operations

     6/8/2021    KMP       0.20 Attention to communications with property manager regarding request for
                                funds for outstanding invoices on sold property (1401 W 109th Place).

                                Business Operations

     6/9/2021    JRW       0.30 Confer with J. Rak regarding due diligence and disclosure of pending
                                administrative matter (7656-58 S Kingston Avenue) (.1); exchange
                                correspondence with K. Duff and A. Porter regarding judgment (7656-58 S
                                Kingston Avenue) (.2).

                                Business Operations

     6/10/2021 JR          0.10 Review email from K. Duff related to insurance renewal for properties and
                                respond accordingly (638-40 N Avers Avenue; 7237-43 S Bennett Avenue;
                                7255-57 S Euclid Avenue; 7109-19 S Calumet Avenue; 6217-27 S
                                Dorchester Avenue; 1422-24 East 68th Street).

                                Business Operations

                 KMP       0.30 Review application for property insurance renewal and related
                                communications with K. Duff and J. Rak (638-40 N Avers Avenue; 7237-43 S
                                Bennett Avenue; 7255-57 S Euclid Avenue; 7109-19 S Calumet Avenue;
                                6217-27 S Dorchester Avenue; 1422-24 East 68th Street).
                                Business Operations

     6/11/2021 JR          0.70 Exchange correspondence with the account analyst and request additional
                                information related to property insurance renewals (638-40 N Avers Avenue;
                                7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7109-19 S Calumet
                                Avenue; 6217-27 S Dorchester Avenue; 1422-24 East 68th Street) (.3);
                                review further correspondence with account analyst and K. Duff regarding
                                property insurance renewal applications (638-40 N Avers Avenue; 7237-43
                                S Bennett Avenue; 7255-57 S Euclid Avenue; 7109-19 S Calumet Avenue;
                                6217-27 S Dorchester Avenue; 1422-24 East 68th Street) (.2); further
                                correspondence with property management requesting information for
                                properties related to renewal insurance applications (638-40 N Avers
                                Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7109-19 S
                                Calumet Avenue; 6217-27 S Dorchester Avenue; 1422-24 East 68th Street)
                                (.2).


                                Business Operations

                 JRW       0.50 Email exchange with K. Duff and A. Porter regarding administrative matter
                                (7656-58 S Kingston Avenue) and related search of records (.3); email
                                exchanges with J. Rak and K. Duff regarding property tax agreement (1102
                                Bingham (Houston, TX)) (.2).

                                Business Operations
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     6/14/2021 KMP         0.50 Exchange email correspondence with S. Zjalic regarding backup
                                documentation for spreadsheet relating to property expenses and review
                                spreadsheet and related receipts.

                                Business Operations

                 SZ        4.70 Review of building supply receipts and emailcommunication with
                                property manager about same.

                                Business Operations

     6/15/2021 ED          0.20 Email correspondence with K. Duff and K. Pritchard regarding insurance
                                expenses for property (1102 Bingham (Houston TX)).

                                Business Operations

                 JR        1.40 Review email from account analyst relating to request for property insurance
                                applications (638-40 N Avers Avenue; 1102 Bingham (Houston, TX)),
                                complete applications and forward remaining request to property
                                management and real estate broker (.5); review fire code notices relating to
                                property insurance applications (638-40 N Avers Avenue; 7237-43 S Bennett
                                Avenue; 7255-57 S EuclidAvenue; 7109-19 S Calumet Avenue; 6217-27 S
                                Dorchester Avenue; 1422-24 East 68th Street) (.7); exchange
                                correspondence with J. Wine regarding fire code notices pertaining to
                                property insurance (638-40 N Avers Avenue; 7237-43 S Bennett Avenue;
                                7255-57 S Euclid Avenue; 7109-19 S Calumet Avenue; 6217-27 S
                                Dorchester Avenue; 1422-24 East 68th Street) (.2).

                                Business Operations

                 JRW       4.00 Appearance in court for hearings on two administrative matters (7051 S
                                Bennett Avenue; 7210 S Vernon Avenue) (1.7); correspond with J. Rak
                                regarding insurance applications and related research regarding fire code
                                (.8); prepare update regarding administrative matters (7051 S Bennett
                                Avenue; 7210 S Vernon Avenue) and related exchange of correspondence
                                with K. Duff and A. Porter (.6); review nonsuit orders from City of Chicago
                                (7109-19 S Calumet Avenue; 7110 S Cornell Avenue; 6250 S Mozart Street;
                                6949-59 S Merrill Avenue; 6554-58 S Vernon Avenue; 7600-10 S Kingston
                                Avenue; 4520-26 S Drexel Boulevard) and related correspondence with J.
                                Rak, K. Duff and A. Porter (.3); prepare summary of pending administrative
                                matters (7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 6949-59 S
                                Merrill Avenue) and related email to A. Watychowicz regarding docketing of
                                hearings (.3); exchange correspondence with K. Duff and A. Porter regarding
                                housing and administrative matters involving current portfolio (7237-43 S
                                Bennett Avenue; 6217-27 S Dorchester Avenue; 7109-19 S Calumet
                                Avenue; 638-40 N Avers Avenue) (.3).

                                Business Operations

                 KMP       0.40 Attention to correspondence with insurance broker relating to renewal of
                                property insurance policies (7237-43 S Bennett Avenue; 6217-27 S
                                Dorchester Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue;
                                1422-24 East 68th Street; 7109-19 S Calumet Avenue; 1102 Bingham
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                                (Houston, TX)) (.2); communications with S. Zjalic and property manager
                                regarding documentation for building management expenses (.2).

                                Business Operations

     6/15/2021 SZ          1.30 Continue to review building supply invoices and communicated with property
                                manager about same.

                                Business Operations

     6/17/2021 JR          0.60 Exchange correspondence with real estate broker and property management
                                requesting assistance on insurance application for properties (1102 Bingham
                                (Houston, TX); 1422-24 East 68th Street) (.1); review email from property
                                management regarding completed property insurance applications, review
                                applications, save in electronic files and forward to account analyst and K.
                                Duff for execution (638-40 N Avers Avenue; 7237-43 S Bennett Avenue;
                                7255-57 S Euclid Avenue; 1422-24 East 68th Street) (.5).


                                Business Operations

                 KMP       0.20 Forward citation notice to A. Porter and J. Rak and related telephone
                                conference with K. Duff (1102 Bingham (Houston, TX)).

                                Business Operations

     6/18/2021 JR          2.20 Review email from K. Duff regarding telephone message from property
                                insurance inspector (.2); further communication with inspector regarding
                                scheduling property inspections required for property insurance renewal
                                (7109-19 S Calumet Avenue; 7255-57 S Euclid Avenue; 6217-27 S
                                Dorchester Avenue) (.4); further correspondence with property management
                                and K. Duff requesting scheduling of property inspections (.5); review email
                                from K. Duff regarding property tax balance and update property taxes (638-
                                40 N Avers Avenue; 6217-27 S Dorchester Avenue; 7109-19 S Calumet
                                Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue (.5);
                                exchange correspondence with K. Pritchard and K. Duff regarding payment
                                of citation related to property in Houston (1102 Bingham ((Houston, TX))
                                (.5); exchange correspondence with account analyst regarding inquiry into
                                inspection requirements (7109-19 S Calumet Avenue; 7255-57 S Euclid
                                Avenue; 6217-27 S Dorchester Avenue) (.1); follow up correspondence with
                                K. Duff regarding follow up correspondence with real estate broker related to
                                citation notice and property maintenance (1102 Bingham (Houston, TX)) (.2).

                                Business Operations

                 JRW       0.20 Email exchange with City of Chicago ownership unit and property manager
                                regarding payment of fine (6949-59 S Merrill Avenue).

                                Business Operations
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     Date        Indiv Hours Description

     6/18/2021 KMP         0.30 Communications with K. Duff and J. Rak regarding payment arrangements
                                for housing violation issue (1102 Bingham (Houston, TX)) (.1); further
                                communications with S. Zjalic regarding spreadsheet and backup
                                documentation for property management expenses (.2).

                                Business Operations

     6/21/2021 JR          0.50 Review mail related to various properties (3030-32 E 79th Street; 1102
                                Bingham (Houston, TX)) (.2); further communicate with buyer's counsel on
                                the purchase of certain property (3030-32 E 79th Street) regarding
                                property tax balances (.1); exchange correspondence with K. Pritchard
                                regarding payment for property citation matter (1102 Bingham (Houston,
                                TX)) (.2).

                                Business Operations

                 JRW       0.50 Exchange additional correspondence with City's ownership unit regarding
                                code violation (6949-59 S Merrill Avenue) (.1); correspondence to
                                corporation counsel regarding pending administrative matters (7024-32 S
                                Paxton Avenue; 4750-52 S Indiana Avenue) (.2); correspondence with
                                property manager regarding dismissal order (6250 S Mozart Street) (.1);
                                update records regarding code violations and orders (.1).


                                Business Operations

                 KMP       0.40 Work with J. Rak regarding payment arrangements for housing violation
                                issue (1102 Bingham (Houston, TX)) (.2); conference with S. Zjalic regarding
                                spreadsheet and backup documentation for property management expenses
                                (.2).

                                Business Operations

     6/22/2021 ED          0.20 Email correspondence to insurance agent following up on missing
                                documentation regarding refunds for prepaid premium amounts relating
                                to properties sold in 2020 (8047-55 S Manistee Avenue; 7749-59 S Yates
                                Boulevard; 6749-59 S Merrill Avenue;7450 S Luella Avenue; 7546-48 S
                                Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S Drexel Boulevard;
                                8326-32 S Ellis Avenue; 8334-40 SEllis Avenue; 8342-50 S Ellis Avenue;
                                8352-58 S Ellis Avenue; 5450-52 SIndiana Avenue; 6437-41 S Kenwood
                                Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis
                                Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119
                                S Longwood Drive; 7300-04 S StLawrence Avenue; 7110 S Cornell
                                Avenue; 7957-59 S Marquette Road; 7051 S Bennett Avenue; 3074 E
                                Cheltenham Place; 2736-44 W 64th Street; 5618-20 S Martin Luther King
                                Drive; 6356 S California Avenue; 6355-59 S Talman Avenue; 7201 S
                                Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                                Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 431 E
                                42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-
                                22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet
                                Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-
                                58 S Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street).
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                                Business Operations

     6/22/2021 JR          1.70 Exchange correspondence with accounting executive providing requested
                                insurance application regarding property (1102 Bingham (Houston, TX))
                                (.1); review email from K. Duff and send follow up email to K. Duff related to
                                review of property insurance applications and confirm accuracy of content
                                (1422-24 East 68th Street; 6217-27 S Dorchester Avenue; 7237-43 S
                                Bennett Avenue; 7255-57 S Euclid Avenue; 638-40 N Avers Avenue; 7109-
                                19 S Calumet Avenue) (1.4); follow up communication with property
                                management requesting information related to property insurance renewal
                                (638-40 N Avers Avenue) (.1); confer with J. Wine regarding pending
                                administrative matter regarding property and property insurance renewal
                                (638-40 N Avers Avenue) (.1).

                                Business Operations

                 KMP       0.30 Compile templates for settlement agreement and related communications
                                with K. Duff and J. Wine.

                                Business Operations

                 SZ        0.20 Attention to email communication with property manager about
                                outstanding invoices.

                                Business Operations

     6/23/2021 JRW         0.50 Exchange voice message and correspondence with corporation counsel
                                regarding requests for dismissal of pending administrative matters (7024-32
                                S Paxton Avenue; 4750-52 S Indiana Avenue) (.3); confer with K. Duff and A.
                                Porter regarding approach to handling new notices of code violations
                                regarding sold properties (.2).

                                Business Operations

                 KMP       0.40 Prepare form for transfer of funds to services provider and related
                                communications with K. Duff, bank representative, and services provider
                                (1102 Bingham (Houston, TX)).

                                Business Operations

     6/24/2021 JR          1.60 Review renewal insurance applications and update with proposed insured
                                parties (638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7255-57 S
                                Euclid Avenue; 1422-24 East 68th Street; 1102 Bingham (Houston, TX);
                                7109-19 S Calumet Avenue; 6217-27 S Dorchester Avenue; 1422-24 East
                                68th Street) (.9); exchange correspondence with account analyst providing
                                applications (638-40 N Avers Avenue; 7237-43S Bennett Avenue; 7255-57
                                S Euclid Avenue; 1422-24 East 68th Street; 1102 Bingham (Houston, TX);
                                7109-19 S Calumet Avenue; 6217-27 S Dorchester Avenue; 1422-24 East
                                68th Street) (.2); exchange correspondence with E. Duff regarding property
                                insurance renewal status (638-40 N Avers Avenue; 7237-43 S Bennett
                                Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th Street; 1102 Bingham
                                (Houston, TX); 7109-19 S Calumet Avenue; 6217-27 S Dorchester Avenue;
                                1422-24 East 68th Street) (.1); review email from account analyst and
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                                provide requested settlement statements on closed properties (7110 S
                                Cornell Avenue; 5618-20 S Martin Luther King Drive; 6356 S California
                                Avenue; 7201 S Constance Avenue; 6949-59 S Merrill Avenue; 7656-58 S
                                Kingston Avenue; 7600-10 S Kingston Avenue; 7701-03 S Essex Avenue)
                                (.4).

                                Business Operations

     6/24/2021 KMP         0.20 Exchange email correspondence with K. Duff and insurance broker
                                regarding refund check for insurance premium (6250 S. MozartStreet;
                                6355-59 S Talman Avenue).

                                Business Operations

     6/25/2021 AW          0.30 Attention to notices received from the State regarding entities statuses
                                (SSDF4 6217 S. Dorchester LLC; 4611 - 17 S Drexel LLC; 6437 S Kenwood,
                                LLC), research regarding same, and email communication with counsel.

                                Business Operations

                 ED        1.30 Review additional documentation regarding sold properties received from
                                insurance agent and forward to accountant for use in preparation of reports
                                (.5); update analysis of insurance expense allocation for sold properties
                                (3074 E Cheltenham Place; 6437-41 S Kenwood Avenue; 5450-52 S Indiana
                                Avenue; 8000-02 S Justine Street; 7760 S Coles Avenue; 8214-16 S
                                Ingleside Avenue; 8107-09 S Ellis Avenue; 8209 S Ellis Avenue) (.4); review
                                request from insurance agent and email correspondence to K. Duff and J.
                                Rak regarding termination of insurance coverage for two sold properties
                                (7201 S Constance Avenue; 7110 S Cornell Avenue) (.2); email
                                correspondence to J. Rak regarding review and analysis of additional
                                insurance documentation as received (7749-59 S Yates Boulevard; 6749-59
                                S Merrill Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 8201
                                S Kingston Avenue; 4520-26 S Drexel Boulevard; 11117-11119 S Longwood
                                Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                                Marquette Road; 7051 S Bennett Avenue; 2736-44 W 64th Street; 5618-20
                                S Martin Luther King Drive; 6356 S California Avenue; 6355-59 S Talman
                                Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 431 E
                                42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-22
                                E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue;
                                4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                                Kingston Avenue;1131-41 E 79th Place) (.2).

                                Business Operations

                 JRW       0.70 Email exchange regarding notices regarding involuntary dissolutions of LLCs
                                (.1); review new notice of code violation (6554-58 S Vernon Avenue) and
                                related correspondence with K. Duff (.2); email exchange with K. Duff
                                regarding process for responding to notices of code violations regarding sold
                                properties (.1); correspondence to City of Chicago ownership division
                                regarding new administrative matter (6554-58 S Vernon Avenue) and related
                                records update (.3).


                                Business Operations
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        6/25/2021 KMP         0.30 Research communications with insurance broker regarding requests to
                                   cancel property insurance for sold properties and related communications
                                   with K. Duff, E. Duff, and J. Rak (7201 S Constance Avenue; 7026-42 S
                                   Cornell Avenue).

                                   Business Operations

        6/28/2021 JRW         1.10 Review new notices of violation (2736-44 W 64th Street; 6250 S Mozart
                                   Street; 4750-52 S Indiana Avenue) and service copies of orders (6949-59 S
                                   Merrill Avenue; 2514-2520 East 77th Street; 6554-58 S Vernon Avenue;
                                   4520-26 S Drexel Boulevard) and related correspondence to K. Duff, A.
                                   Porter and A. Watychowicz (.7); correspondence to City of Chicago's
                                   Ownership Unit regarding administrative matters (2736-44 W 64th Street;
                                   6250 S Mozart Street) (.4).

                                   Business Operations

        6/29/2021 JRW         0.20 Review notices from City's ownership unit regarding nonsuits of
                                   administrative matters (6554-58 S Vernon Avenue; 2736-44 W 64th Street;
                                   6250 S Mozart Street) and update records.

                                   Business Operations

        6/30/2021 ED          0.30 Review emails from lender's counsel requesting access to property (7109-
                                   19 S Calumet Avenue) for appraisal (.1), review of details regarding prior
                                   inspections and property manager's requirements for notice (7109-19 S
                                   Calumet Avenue) (.1); draft and send reply to counsel (7109-19 S Calumet
                                   Avenue) (.1).

                                   Business Operations

                      JR      0.20 Review emails from account analyst related to property insurance
                                   endorsements and update property files (1422-24 East 68th Street).


                                   Business Operations

                      JRW     0.20 Correspondence with J. Rak regarding notice to purchasers of new
                                   administrative matters (6554-58 S Vernon Avenue; 2736-44 W 64th Street;
                                   6250 S Mozart Street).

                                   Business Operations


SUBTOTAL:                                                                                 [36.90         7436.00]

Case Administration

        6/11/2021 JRW         0.40 Conference call with database vendors and claimants' counsel regarding
                                   promotion of data and naming of database files (.4).


                                   Case Administration
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         6/15/2021 AW         0.20 Attention to notices from administrative court (7110 S Cornell Avenue;
                                   7109-19 S Calumet Avenue; 6250 S Mozart Street; 6949-59 A Merrill
                                   Avenue; 7656-58 S Kingston Avenue; 416-24 E 66th Street; 7600-10 S
                                   Kingston Avenue; 4520-26 S Drexel Boulevard) and related email to J. Wine.

                                   Case Administration

         6/25/2021 AW         0.30 Prepare update to Receivership webpage.

                                   Case Administration


SUBTOTAL:                                                                                  [ 0.90           174.00]

Claims Administration & Objections

         6/1/2021    AW       1.40 Email K. Duff and J. Wine regarding response to follow up from claimants
                                   (.1); communicate with J. Wine regarding email from claimant requesting
                                   access to claims links (.1); complete webinar on database review (.5);
                                   attention to email from database vendor regarding completion of project and
                                   communicate with K. Duff and J. Wine regarding next steps (.3); attention to
                                   information regarding EquityBuild email records, exchanges with K. Duff and
                                   J. Wine regarding same, and reach out to IT vendor regarding expertise (.3);
                                   correspond with K. Duff and J. Wine regarding online software and terms of
                                   agreement (.1).

                                   Claims Administration & Objections

                     JRW      3.40 Confer with documents vendor and A. Watychowicz regarding database
                                   access and transfer of files (.2); confer with A. Watychowicz and K. Duff
                                   regarding process for handling claimant requests for files going forward (.4);
                                   exchange correspondence with database vendor regarding expansion size
                                   and filtering and related review and discussion with K. Duff and A.
                                   Watychowicz of analysis from same (.5); review records in Explore database
                                   and preliminary searches related to culling of same (1.9); review sample
                                   reports from vendor and related correspondence with claimants' counsel (.2);
                                   exchange correspondence with A. Watychowicz and K. Duff regarding
                                   invoice (.2).

                                   Claims Administration & Objections

         6/2/2021    AW       0.50 Respond to claimant's inquiry regarding sold property (8326-32 S Ellis
                                   Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis
                                   Avenue) (.1); update claimant's contact information and response regarding
                                   claims (.2); follow up with K. Duff regarding response to claimant regarding
                                   theory of liability (.1); update to claims sheet (.1).


                                   Claims Administration & Objections
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     6/2/2021    JRW       1.70 Exchange emails with claimants' counsel regarding EquityBuild document
                                issues (.2); telephone conference with vendor and claimants' counsel
                                regarding outstanding database issues (.5); review vendor invoice and
                                related analysis to K. Duff (.3); review reports from vendor and related
                                email to vendor regarding same (.7).

                                Claims Administration & Objections

     6/3/2021    AW        1.10 Attention to J. Wine's email regarding discovery issues (.1); call with J. Wine
                                regarding discovery issues (.6); communicate with database vendor
                                regarding transfer of updated files to Receiver (.2); review files from online
                                software and communicate with J. Wine regarding acceptable format (.1);
                                communicate with J. Wine regarding framing report and docket deadline for
                                same (.1).

                                Claims Administration & Objections

                 JRW       1.40 Exchange correspondence with vendor regarding format of EquityBuild
                                documents and related review of documents and conference with A.
                                Watychowicz (.7); telephone conference with A. Watychowicz regarding
                                procedures for claims process and discovery(.6); exchange correspondence
                                with claimant's counsel regarding standard discovery (.1).


                                Claims Administration & Objections

                 KMP       0.40 Prepare form for transfer of funds to service provider for work related to
                                claims repository and related communication with provider, K. Duff and bank
                                representative.

                                Claims Administration & Objections

     6/4/2021    JRW       0.70 Exchange emails with claimants' counsel regarding standard discovery
                                requests (.1); confer with A. Watychowicz regarding EquityBuild records
                                (.1); review draft correspondence and exchange emails with claimants'
                                counsel regarding vendor pricing, culling of records in EquityBuild
                                database, and format of reports (.5).

                                Claims Administration & Objections

     6/6/2021    AW        0.20 Attention to email from J. Wine regarding review of emails, look up available
                                accounts, and response email regarding same.

                                Claims Administration & Objections

     6/8/2021    AW        1.20 Prepare schedule for based on Judge Lee's order and email K. Duff
                                regarding same (Group 1) (.6); follow up regarding response to claimant
                                and request for recording of loss (.1); attention to drive containing claims
                                files and communicate with database vendor regarding issues with access
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 Kevin B. Duff, Receiver                                                                                  Page 25



     Date        Indiv Hours Description

                                (.3); attention to invoice from online vendor and increase in price and
                                attention to communication regarding same (.2).

                                Claims Administration & Objections

     6/8/2021    JRW       0.20 Exchange correspondence with K. Duff and vendor regarding software
                                service.

                                Claims Administration & Objections

     6/9/2021    AW        0.30 Work with IT vendor and claims vendor to access updated claims files.


                                Claims Administration & Objections

                 JRW       2.30 Attention to responding to claimant inquiries (.2); exchange correspondence
                                with claimant's counsel regarding document database and related exchange
                                of draft response with K. Duff (.4); telephone conference with claimants'
                                counsel regarding claims documentation and related follow-up with A.
                                Watychowicz (.2); multiple correspondence with database vendor regarding
                                progress and procedures for claimant access to database (.8); correspond
                                with counsel for claimants regarding EquityBuild document database and
                                budget (.2); confer with A. Watychowicz regarding post-receivership email
                                records (.1); confer with database vendor regarding software license (.1);
                                correspondence with counsel for claimant regarding former EquityBuild
                                property and related communication with M. Rachlis (.3).


                                Claims Administration & Objections

                 MR        0.40 Follow up on communications regarding claims process with claimant's
                                counsel (.2); follow up regarding claims associated with former EB
                                properties (.2).

                                Claims Administration & Objections

     6/10/2021 AW          1.60 Attention to email from claimants' counsel and communicate with J. Wine
                                regarding same (.1); communicate with K. Duff regarding response to
                                claimants' counsel regarding contact info and draft email (.4); research
                                regarding post receivership email records and detailed related email to J.
                                Wine (.9); respond to claimants' emails regarding claims issues (.2).


                                Claims Administration & Objections

                 JRW       0.80 Telephone conference with counsel for claimant regarding claims against
                                non-receivership properties (.1); email exchanges with database vendor
                                regarding document format (.1); email exchange with claimant's counsel
                                regarding database issues(.1); telephone conference with K. Duff regarding
                                settlement strategy, subpoenas and notices of receivership (.3); review
                                reports from vendor (.1); email exchange regarding agenda and scheduling
                                for conference with vendor (.1).


                                Claims Administration & Objections
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     Date        Indiv Hours Description

     6/11/2021 AW          0.50 Communicate with claims vendor regarding claims files delivery (.2); respond
                                to claimants' emails (.3).


                                Claims Administration & Objections

     6/14/2021 AW          0.30 Communicate with K. Duff regarding response to claimant and respond to
                                same (.1); attention to delivered flash drive, access files, and follow up
                                with vendor regarding same (.2).

                                Claims Administration & Objections

                 JRW       1.50 Confer with K. Duff and A. Watychowicz regarding claimant inquiries and
                                responses (.2); study revised process for single claim properties (1017 W
                                102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                                7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street;
                                2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue;
                                7925 S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue;
                                6825 S Indiana Avenue; 406 E 87th Place;6554 S Rhodes Avenue; 7712 S
                                Euclid Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S
                                Kingston Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue;
                                9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue)
                                and related analysis to K. Duff and M. Rachlis (1.3).


                                Claims Administration & Objections

     6/15/2021 AW          0.60 Prepare claims files and email claimants with instructions on how to
                                access (.4); search for claims against property (3074 E Cheltenham Place)
                                and email J. Wine requested files (.2).


                                Claims Administration & Objections

                 JRW       0.40 Confer with A. Watychowicz regarding transfer of claims documentation to
                                claimant (.1); review draft motion for leave to file subpoena and related
                                email exchange with K. Duff (.2); correspondence with counsel for
                                claimants regarding claims documentation (.1).


                                Claims Administration & Objections

     6/16/2021 AW          1.20 Follow up emails to claimant regarding password to access claims files (.1);
                                respond to voice message from claimant regarding question relating to
                                claims (.1); research and communicate with J. Wine regarding updates to
                                claims files and tracking of same (.2); attention to request from claimant's
                                counsel to re-send claims documents, prepare files, and respond to same
                                (.4); research proof of claims and supporting documentation and confirm with
                                J. Wine accuracy of received claims (.3); review claims and spreadsheets
                                with updates (.1);


                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                             Page 27



     Date        Indiv Hours Description

     6/16/2021 JRW         2.00 Exchange correspondence with claimants' counsel and A. Watychowicz
                                regarding claims documentation (.2); telephone conference with claimant's
                                counsel regarding claims process (.2); correspondence to database vendors
                                regarding status of project (.2); exchange correspondence with claimants'
                                counsel regarding joint status report, review draft and related email to K.
                                Duff regarding potential additions to same (.4); study proposed motion and
                                subpoena in preparation for telephone call with claimants' counsel and
                                prepare comments for K. Duff and M. Rachlis (1.0).


                                Claims Administration & Objections

                 MR        1.00 Review motion regarding claimants' records requests and related follow-up.

                                Claims Administration & Objections

     6/17/2021 AW          2.60 Updates to claims files and communicate with J. Wine regarding same (.8);
                                start draft of framing report and exhibits and email J. Wine regarding same
                                (1.8).

                                Claims Administration & Objections

                 JRW       2.80 Email correspondence with claimants' counsel regarding joint status report
                                (.5); review and revise joint status report (.3); related email exchange with
                                database vendors regarding terminology (.3); confer with K. Duff regarding
                                correspondence from claimants' counsel regarding third party discovery and
                                respond to same (.2); exchange correspondence with M. Rachlis regarding
                                draft motion for leave to serve subpoena (.1); exchange correspondence with
                                counsel for claimants' regarding property groupings for claims process (.3);
                                telephone conference with M. Rachlis and K. Duff regarding third-party
                                subpoenas and motion for leave to serve subpoena on Receiver (.5);
                                telephone conference with counsel for claimants regarding motion to use
                                discovery in other litigation (.3); confer with A. Watychowicz regarding
                                framing report and schedule (7625-33 S East End Avenue; 7635-43 S East
                                End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.3).
                                Claims Administration & Objections

                 MR        1.00 Conferences on claims issues and responses to claimants' counsel
                                communications.

                                Claims Administration & Objections

     6/18/2021 AW          0.60 Review joint status report on claims and email J. Wine regarding revisions
                                (.4); finalize and file joint status report (.2).


                                Claims Administration & Objections
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     Date        Indiv Hours Description

     6/18/2021 JRW         1.50 Correspondence with database vendors regarding process for signing up
                                claimants and required agreements (.3); additional revisions and finalization
                                of joint status report (.4); related email exchange with claimants' counsel (.2);
                                confer with A. Watychowicz regarding confidentiality order
                                acknowledgements from claimants (.1); conference call with database
                                vendors and claimant's counsel regarding procedures for database access
                                (.5).


                                Claims Administration & Objections

                 MR        0.20 Follow up on joint status report.

                                Claims Administration & Objections

     6/19/2021 AW          0.30 Prepare service email and email claimants joint status report.

                                Claims Administration & Objections

     6/21/2021 AW          0.60 Call with J. Wine regarding claims process (.3); communicate with K. Duff
                                and J. Wine regarding responses to claimants (.2); communicate with
                                claims vendor regarding response to claimant (.1).


                                Claims Administration & Objections

                 JRW       0.90 Attention to claimant inquiries (.3); confer with database vendor regarding
                                claimant emails (.1); exchange correspondence with database vendor
                                regarding status of EquityBuild document database project (.2); telephone
                                conference with A. Watychowicz regarding institution of claims process and
                                related filings (.3).


                                Claims Administration & Objections

     6/22/2021 AW          2.90 Prepare link and respond to claimant's request regarding claims documents
                                (7546-48 S Saginaw Avenue) (.2); respond to claimants requesting update
                                to mailing address and update same (.2); draft response to emails
                                regarding database (.2); prepare conformed names files and list of
                                acknowledgments received to date (2.1); communicate with K. Duff
                                regarding claimant's email (.1); communicate with J. Wine regarding
                                service list containing email addresses of claimants and counsel and timing
                                to prepare (.1).


                                Claims Administration & Objections

                 JRW       2.50 Exchange correspondence with database vendor regarding database
                                project (.1); attention to responses to claimant inquiries and related email
                                to all claimants regarding document database (.7); further revision of
                                proposed motion for leave to serve subpoena and related correspondence
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     Date      Indiv Hours Description

                                with M. Rachlis (.9); confer with A. Watychowicz regarding list of claimant
                                email addresses for vendor, confidentiality order acknowledgments and
                                related review of spreadsheet (.3); correspondence to SEC and related
                                exchange with K. Duff (.2); correspondence to counsel regarding suggested
                                revision of proposed motion (.1); review and comment on proposed vendor
                                service agreement for claimants (.2).

                                Claims Administration & Objections

     6/23/2021 AW          5.00 Work on service list containing email addresses of claimants and counsel
                                (4.1); respond to claimant's email requesting return of investment (.1); call
                                with J. Wine regarding email to claimants regarding database (.2); review
                                and comment on draft email to claimants regarding EquityBuild documents
                                (.6).

                                Claims Administration & Objections

                 JRW       2.50 Continue working with A. Watychowicz on draft email to claimants regarding
                                EquityBuild documents (1.0); exchange drafts of notice to claimants with K.
                                Duff and SEC (.4); confer with database vendor regarding logistics for
                                execution of confidentiality order acknowledgement (.1); review and revise
                                database checkbox language (.2); related correspondence with claimants'
                                counsel (.1); confer with A Watychowicz regarding updates to standard
                                discovery requests for and related review of drafts (.3); confer with database
                                vendors regarding EquityBuild document project status (.2); confer with K.
                                Duff and database vendor regarding documents in database (.2).

                                Claims Administration & Objections

                 MR        0.40 Review draft communications regarding claims process issues, and related
                                follow up and exchange of emails.

                                Claims Administration & Objections

     6/24/2021 AW          2.50 Communicate with K. Duff regarding deadlines related to claims process
                                (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.1);
                                continue updates to claimants emailing list (1.3); work on revisions to letter
                                to claimants and related email exchanges with J. Wine (.4); call with J. Wine
                                regarding email to claimants (.2); finalize email and send email to all
                                claimants and counsel (.5).

                                Claims Administration & Objections

                 JRW       1.60 Exchange correspondence with counsel and K. Duff regarding motion to
                                serve subpoena and documents in database (.4); circulate draft
                                communication to claimants regarding EquityBuild documents to claimants'
                                counsel, SEC, and database vendor and related correspondence and
                                revisions to same (.8); confer with database vendor regarding files sizes
                                and records included in database and related correspondence with K. Duff
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     Date        Indiv Hours Description

                                (.3); confer with A. Watychowiczregarding service issues (.1).

                                Claims Administration & Objections

     6/24/2021 KMP         0.20 Communicate with A. Watychowicz and S. Zjalic regarding draft email to claimants
                                regarding availability and terms for access to document database.

                                Claims Administration & Objections

     6/25/2021 AW          1.60 Update mailing info and notify claimant of same(.2); communicate with J. Wine
                                regarding email issue and proposition to post notice regarding EquityBuild
                                documents to Receivership webpage (.2); review framing report and email
                                correspondence with J. Wine regarding comments (3074 Cheltenham Place; 7625-
                                33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue;
                                7201 S Constance Avenue) (.2); call with J. Wine regarding exhibits to framing
                                report, updatede mail list, and claims process (3074 Cheltenham Place; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 7201
                                S Constance Avenue) (.2); start revisions to claimants' email list (.8).
                                Claims Administration & Objections

                 JRW       2.90 Email exchange with database vendor regarding records (.2); correspondence with
                                counsel for claimants regarding EquityBuild documents, and related exchange of
                                drafts with M. Rachlis and K. Duff and correspondence with counsel for SEC (.6);
                                review and revise draft framing report and related email to A Watcyhowicz regarding
                                exhibits to same (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S
                                East End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.8);
                                attention to claimant inquiry and related review of emails in receiver email accounts
                                (.6); telephone conference with A. Watychowicz regarding updated counsel of
                                record listing (.2); review and comment on database landing page and related
                                correspondence with database vendor regarding procedures and instructions (.2);
                                exchange correspondence with database vendor regarding status of project (.1);
                                exchange voice messages with counsel regarding demand and related telephone
                                conference with insurer (7110 S Cornell Avenue) (.2).
                                Claims Administration & Objections

                 MR        0.30 Attention to issues with subpoena from claimants.

                                Claims Administration & Objections
     6/28/2021 AW          3.10 Continue work on revisions to framing report and preparation of exhibits to framing
                                report (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (2.6); email
                                exchanges with counsel regarding revised framing report (3074 Cheltenham Place;
                                7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue) (.1); attention to emails regarding standard
                                discovery requests and revise current drafts accordingly (.4).
                                Claims Administration & Objections

                 JRW       2.10 Exchange emails with SEC, K. Duff and M. Rachlis regarding proposed motion to
                                serve subpoena, revise same and send redline to counsel for claimants (.6); review
                                draft framing report and exhibits and communicate with A. Watychowicz regarding
                                revisions to same (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43
                                S East End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.7);
                                work with A. Watychowicz on discovery procedures and related investor
                                communications (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S
                                East End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.4);
                                attention to claimant inquiry and related correspondence with K. Duff and A.
                                Watychowicz (.3); exchange emails with A. Porter regarding correspondence from
                                claimant regarding Receiver's deed (7442-54 S Calumet Avenue) (.1).
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 Kevin B. Duff, Receiver                                                                                  Page 31



     Date        Indiv Hours Description




                                Claims Administration & Objections

     6/28/2021 MR          0.20 Further attention to issues on motion related to claimants' request for
                                records.

                                Claims Administration & Objections

     6/29/2021 AEP         0.40 Read e-mail from investor-lender regarding effect of typographical error
                                associated with conveyance of receivership property (7442-54 S Calumet
                                Avenue), consult closing documents and underlying court order, and prepare
                                response.

                                Claims Administration & Objections

                 AW        3.30 Work on responses and respond to claimants' emails regarding EquityBuild
                                document database and other inquiries (2.8); attention to emails regarding
                                EB database and instructions and relatedcall with J. Wine (.3); attention to
                                draft framing report and draft exhibits (3074 Cheltenham Place; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue) (.2).
                                Claims Administration & Objections

                 JRW       1.90 Attention to investigating and responding to claimant inquiries (1.1);
                                telephone conference with A. Watychowicz regarding claims process and
                                exhibits to framing report (3074 Cheltenham Place; 7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 7201
                                S Constance Avenue) (.4); exchange correspondence to database vendors
                                (.2); exchange correspondence with K. Duff and M. Rachlis regarding draft
                                framing report and claims procedures (3074 Cheltenham Place; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue) (.2).
                                Claims Administration & Objections

                 MR        0.60 Review and follow up on framing reports (3074 Cheltenham Place; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue).
                                Claims Administration & Objections

     6/30/2021 AW          1.50 Work on responses and respond to claimants' emails regarding EquityBuild
                                document database (.5); redraft proposed schedule for framing report (3074
                                Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (.6);
                                email J. Wine comments and suggested revisions to database instructions
                                (.4).
                                Claims Administration & Objections

                 JRW       3.60 Correspondence to court clerk regarding procedures for claims process (.3);
                                work with A. Watychowicz on revisions to framing report and exhibits (3074
                                Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End
                                Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue) (2);
                                review and suggest revisions to database vendor's instructions to claimants,
                                related conference with A. Watychowicz (.8); correspondence with vendor
                                regarding database instructions to claimants (.4); test database and related
                                communication with database vendor (.3); draft response to
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        Date       Indiv Hours Description

                                   claimant inquiries (.6); reviewrevisions to single claims process, related
                                   research and correspondence with K. Duff (1017 W 102nd Street; 1516 E
                                   85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                   Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W
                                   71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                                   Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                                   Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                                   Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                                   Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                                   Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (1.0).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                 [74.70         15987.00]

Tax Issues

        6/1/2021    KMP       0.40 Review documentation in connection with tax notice for entity and related
                                   communications with K. Duff, A. Porter, and accountant (1516E 85th Place
                                   Associates) (1516 E 85th Place) (.2); forward forms to tax administrator for
                                   recently sold properties (4750-52 S Indiana Avenue; 2800-06 E 81st Street;
                                   7840-42 S Yates Avenue) (.2).

                                   Tax Issues

        6/2/2021    KMP       0.20 Exchange correspondence with accountant regarding tax notice for entity
                                   and forward tax notice to tax administrator (SSDF2 1139 E 79th LLC).


                                   Tax Issues

        6/9/2021    KMP       0.20 Briefly review and forward tax form (SSDF1 4611 S Drexel LLC) to tax
                                   administrator.

                                   Tax Issues

        6/14/2021 KMP         0.20 Communications with K. Duff, J. Wine, and J. Rak regarding installment
                                   contract for payment of past due real estate taxes (1102 Bingham (Houston,
                                   TX)).

                                   Tax Issues

        6/15/2021 KMP         0.20 Communications with K. Duff and J. Rak regarding contract for payment of
                                   property taxes (1102 Bingham (Houston, TX)).

                                   Tax Issues

        6/17/2021 KMP         0.20 Effect online payment of delinquent property taxes (1102 Bingham (Houston,
                                   TX)) and related communication with J. Rak.


                                   Tax Issues
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       Date      Indiv Hours Description




SUBTOTAL:                                                            [ 1.40       196.00]




                                                                    206.90    $45,758.00
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Other Charges

                                      Description

Asset Analysis & Recovery

                                      Witness fee for subpoena to third party                41.00


SUBTOTAL:                                                                           [        41.00]

Business Operations

                                      Postage for June 2021                                  13.26

                                      FedEx charges for June 2021 (1102 Bingham              35.96
                                      (Houston, TX))


                                      Photocopies for June 2021                              24.00

                                      Software license fees for June 2021 (Summit           269.00
                                      Hosting, $173; Google Suite, $96)



SUBTOTAL:                                                                           [       342.22]



Total Other Charges                                                                        $383.22




                                    Summary of Activity
                                                                       Hours      Rate
Jodi Wine                                                              60.10    260.00   $15,626.00
Ania Watychowicz                                                       33.70    140.00    $4,718.00
Justyna Rak                                                            54.50    140.00    $7,630.00
Kathleen M. Pritchard                                                  13.00    140.00    $1,820.00
Stoja Zjalic                                                            6.50    110.00      $715.00
Andrew E. Porter                                                       31.30    390.00   $12,207.00
Ellen Duff                                                              3.20    390.00    $1,248.00
Michael Rachlis                                                         4.60    390.00    $1,794.00
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                                   SUMMARY


               Legal Services                                  $45,758.00
               Other Charges                                      $383.22

                  TOTAL DUE                                    $46,141.22
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Key

(A) Insurance Renewal 5/1/21

10012 S LaSalle Avenue; 1017 W 102nd Street; 1102 Bingham (Houston, TX); 11318 S Church
Street; 1401 W 109th Place; 1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street;
2136 W 83rd Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby
Avenue; 4611-17 S. Drexel Boulevard; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 638-40
N Avers Avenue; 7024 S Paxton Avenue; 7109-7119 S Calumet Avenue; 7201 S Constance
Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S
Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue;
8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
Constance Avenue; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue;
8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue;
2800-06 E 81st Street; 6759 S Indiana Avenue; 5437 S Laflin Street; 7210 S Vernon Avenue;
6825 S Indiana Avenue; 6554 S Rhodes Avenue; 7110 S Cornell Avenue; 310 E 50th Street;
6807 S Indiana Avenue

(B) All unsold Properties in the Estate

638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 7109-19 S Calumet Avenue, 1102
Bingham (Houston, TX); 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
Drexel Boulevard, 1422-24 East 68th Street and SFH

(C) Properties closed since entry date of 1/14/21

7500-06 S Eggleston Avenue; 7549-59 S Essex Avenue; 8100 S Essex Avenue; 6160-6212 S
Martin Luther King Drive; 7927-29 S Essex Avenue; 7933-35 S Essex Avenue; 7937-39 S Essex
Avenue; 7943-45 S Essex Avenue; 7947-49 S Essex Avenue; 5001 S Drexel Boulevard;
7301-09 S Stewart Avenue; 7834-44 S Ellis Avenue; 5955 S Sacramento Avenue; 6001-05 S
Sacramento Avenue; 7026-42 S Cornell Avenue; 3030-32 E 79th Street; 2909-19 E 78th Street;
7750-58 S Muskegon Avenue; 7748-52 S Essex Avenue; 7625-33 S East End Avenue; 7635-43
S East End Avenue; 8047-55 S Manistee Avenue; 701-13 S 5th Avenue; 7749-59 S Yates
Boulevard; 1050 8th Avenue N (Naples, FL); 6749-59 S Merrill Avenue; 7450 S Luella Avenue;
7546-48 S Saginaw Avenue; 4520-26 S Drexel Boulevard; 8201 S Kingston Avenue; 8326-32 S
Ellis Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-
52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine
Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-
11119 S Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street;
6355-59 S Talman Avenue; 6356 S California Avenue; 5618-20 S Martin Luther King Drive;
7201 S Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S
Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7442-54 S Calumet Avenue;
7701-03 S Essex Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
Calumet Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 4315-19 S
Michigan Avenue; 1131-41 E 79th Place; 6250 S Mozart Street;
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(D) All Properties closed as of 7/6/21

7500-06 S Eggleston Avenue; 7549-59 S Essex Avenue; 8100 S Essex Avenue; 6160-6212 S
Martin Luther King Drive; 7927-29 S Essex Avenue; 7933-35 S Essex Avenue; 7937-39 S Essex
Avenue; 7943-45 S Essex Avenue; 7947-49 S Essex Avenue; 5001 S Drexel Boulevard;
7301-09 S Stewart Avenue; 7834-44 S Ellis Avenue; 5955 S Sacramento Avenue; 6001-05 S
Sacramento Avenue; 7026-42 S Cornell Avenue; 3030-32 E 79th Street; 2909-19 E 78th Street;
7750-58 S Muskegon Avenue; 7748-52 S Essex Avenue; 7625-33 S East End Avenue; 7635-43
S East End Avenue; 8047-55 S Manistee Avenue; 701-13 S 5th Avenue; 7749-59 S Yates
Boulevard; 1050 8th Avenue N (Naples, FL); 6749-59 S Merrill Avenue; 7450 S Luella Avenue;
7546-48 S Saginaw Avenue; 4520-26 S Drexel Boulevard; 8201 S Kingston Avenue; 8326-32 S
Ellis Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-
52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine
Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-
11119 S Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street;
6355-59 S Talman Avenue; 6356 S California Avenue; 5618-20 S Martin Luther King Drive;
7201 S Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S
Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7442-54 S Calumet Avenue;
7701-03 S Essex Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
Calumet Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 4315-19 S
Michigan Avenue; 1131-41 E 79th Place; 6250 S Mozart Street; 4750-52 S Indiana Avenue;
7024-32 S Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Avenue; 4611-17 S Drexel
Boulevard; 1414-18 East 62nd Place; 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd
Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405 S
Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 10012 S
LaSalle Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
Woodlawn Avenue; 5437 S Laflin Street; 6759 S Indiana Avenue; 1401 W 109th Place; 310 E
50th Street; 6807 S Indiana Avenue; 1422-24 East 68th Street; 7255-57 S Euclid Avenue; 7237-
43 S Bennett Avenue; 6217-27 S Dorchester Avenue.
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                Exhibit H
Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 195 of 202 PageID #:33110


                               BrookWeiner L.L.C.
                              125 South Wacker Drive, 10th Floor
                                   Chicago, IL 60606-4497
                                        312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                     Invoice No.209770
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                               Date 07/13/2021
                                                                Client No.BW10753




Services rendered in the month of April, 2021 per attached detail.

G. Castaldi       1.75 hours @ $110                                                  $    192.50

D. Arce          19.25 hours @ $ 68                                                      1,309.00

                                                             Current Amount Due      $   1,501.50




                                              Thank you.
                               We appreciate the opportunity to serve you.
                                       Referrals are welcome.



                                    PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #209770 for#: 1026 Filed:
                                            EQUITYBUILD INC 08/16/21  Page
                                                            RECEIVERSHIP     196 of 202
                                                                         ( BW10753.001 ) PageID #:33111
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                     HOURS           BILLED       ADJUSTED

001   4/29/2021   Arce       ACCTG   CWU       4200      monthly reports            0.75            51.00           0.00
001   4/30/2021   Arce       ACCTG   CWU       4200      Monthly reports            0.75            51.00           0.00
001   4/1/2021    Arce       ACCTG   CWU       4200      Monthly reports            2.50           170.00           0.00
001   4/2/2021    Arce       ACCTG   CWU       4200      Monthly reports            4.50           306.00           0.00
001   4/16/2021   Arce       ACCTG   CWU       4200      Monthly reports            2.75           187.00           0.00
001   4/22/2021   Arce       ACCTG   CWU       4200      Monthly reports            3.75           255.00           0.00
001   4/30/2021   Castaldi   ACCTG   CWU       4235      December statements        1.25           137.50           0.00
001   4/28/2021   Castaldi   ACCTG   CWU       4235      phone call regarding       0.50            55.00           0.00
                                                         insurance refunds and
                                                         expenses.
001   4/9/2021    Arce       ACCTG   CWU       4200      Monthly reports            4.25           289.00           0.00


                                                                                   21.00        1,501.50            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                              1,501.50
                                                         Adjusted                                      0.00
                                                         Progress Amount                               0.00
                                                                                           -----------------
                                                         Gross Amount                            1,501.50
                                                         (Apply Prior Progress)                        0.00
                                                         Sales Tax                                     0.00
                                                         (Sales Tax Applied)                           0.00
                                                                                           -----------------
                                                         Net Invoice                             1,501.50
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                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                   Invoice No.209771
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                             Date 07/13/2021
                                                              Client No.BW10753




Services rendered in the month of May, 2021 per attached detail.

G. Castaldi     10.75 hours @ $110                                                 $   1,182.50

D. Arce          2.75 hours @ $ 68                                                      187.00


                                                           Current Amount Due      $   1,369.50




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.



                                   PAYMENT DUE UPON RECEIPT
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                        Invoice #209771 for#: 1026 Filed:
                                            EQUITYBUILD INC 08/16/21  Page
                                                            RECEIVERSHIP     198 of 202
                                                                         ( BW10753.001 ) PageID #:33113
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                       HOURS           BILLED       ADJUSTED

001   5/4/2021    Arce       ACCTG   CWU       4200      Reports                      2.75           187.00           0.00
001   5/4/2021    Castaldi   ACCTG   CWU       4235      December reports             3.00           330.00           0.00
001   5/6/2021    Castaldi   ACCTG   CWU       4235      December reports             1.50           165.00           0.00
001   5/17/2021   Castaldi   ACCTG   CWU       4235      Insurance portion of the     1.50           165.00           0.00
                                                         reports
001   5/10/2021   Castaldi   ACCTG   CWU       4235      December reports             0.50            55.00           0.00
001   5/7/2021    Castaldi   ACCTG   CWU       4235      December reports             3.50           385.00           0.00
001   5/25/2021   Castaldi   ACCTG   CWU       4235      Insurance reports.           0.75            82.50           0.00


                                                                                     13.50        1,369.50            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                1,369.50
                                                         Adjusted                                        0.00
                                                         Progress Amount                                 0.00
                                                                                             -----------------
                                                         Gross Amount                              1,369.50
                                                         (Apply Prior Progress)                          0.00
                                                         Sales Tax                                       0.00
                                                         (Sales Tax Applied)                             0.00
                                                                                             -----------------
                                                         Net Invoice                               1,369.50
Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 199 of 202 PageID #:33114


                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.209772
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 07/13/2021
                                                               Client No.BW10753




Services rendered in the month of June, 2021 per attached detail.

B. Fish         4.00 hours @ $110                                                       $   440.00

G. Castaldi       .25 hour @ $110                                                            27.50

D. Arce         2.00 hours @ $ 68                                                           136.00

                                                            Current Amount Due      $       603.50




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.



                                   PAYMENT DUE UPON RECEIPT
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                        Invoice #209772 for#: 1026 Filed:
                                            EQUITYBUILD INC 08/16/21  Page
                                                            RECEIVERSHIP     200 of 202
                                                                         ( BW10753.001 ) PageID #:33115
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                       HOURS           BILLED       ADJUSTED

001   6/7/2021    Castaldi   ACCTG   CWU       4235      meetting regarding           0.25            27.50           0.00
                                                         insurance
001   6/3/2021    Fish       ACCTG   CWU       4200      consolidating the            2.50           275.00           0.00
                                                         insurnace adustments for
                                                         2020
001   6/8/2021    Fish       ACCTG   CWU       4200      work on Insurance            1.50           165.00           0.00
                                                         adjustment for sold
                                                         properties for 2020
001   6/10/2021   Arce       ACCTG   CWU       4200      2021 Statements              0.25            17.00           0.00
001   6/8/2021    Arce       ACCTG   CWU       4200      Working with 2021 PS         1.75           119.00           0.00
                                                         statements.


                                                                                      6.25           603.50           0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                   603.50
                                                         Adjusted                                        0.00
                                                         Progress Amount                                 0.00
                                                                                             -----------------
                                                         Gross Amount                                 603.50
                                                         (Apply Prior Progress)                          0.00
                                                         Sales Tax                                       0.00
                                                         (Sales Tax Applied)                             0.00
                                                                                             -----------------
                                                         Net Invoice                                  603.50
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                Exhibit I
            Case: 1:18-cv-05587 Document #: 1026 Filed: 08/16/21 Page 202 of 202 PageID #:33117




                                                                                                                                         Invoice
        BILL TO
                                                                                                                            DATE                 INVOICE #
      EquityBuild
      Kevin Duff                                                                                                           7/15/2021               13065




                                                                     TERMS                                          PROJECT




QUANTITY SERVICED                                                       DESCRIPTION                                                    RATE       AMOUNT

           1 4/5/2021          Justyna called and said she needed the Well Fargo folder into EB 8TB hard drive. I got on to remote     110.00         110.00
                               machine and with her information was able to get that folder from Dropbox and place it on the 8TB
                               hard drive.
        0.25   4/14/2021       Connected mailboxes to Outlook for Ania so they can do searches on EB computer.                         110.00          27.50
           1   4/22/2021       Updated website with info for EquityBuild.                                                              110.00         110.00
        0.25   4/28/2021       Updated website for EquityBuild.                                                                        110.00          27.50
         0.5   4/30/2021       Updated website for EquityBuild.                                                                        110.00          55.00
         0.5   5/4/2021        Updated EquityBuild website for Ania.                                                                   110.00          55.00
         0.5   6/4/2021        Ania send me metrics on various account. Research and cross reference to our tasks done during          110.00          55.00
                               that time period. We did do most of our export during the time period so that may be the reason for
                               metrics.
         0.5 6/25/2021         Added entries to EquityBuild website for Ania.                                                           110.00         55.00
                               Illinois Sales Tax                                                                                     10.25%            0.00




Thank you for your business.
                                                                                                                                     Total           $495.00
